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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

x

ROBYN KRAVITZ, et al., : Case No. 18-cv-01041
Plaintiffs, : Hon. George Hazel

v. : DECLARATION OF

KIMBALL W. BRACE
UNITED STATES DEPARTMENT OF COMMERCE,
et al.,

Defendants. x

 

Pursuant to 28 U.S.C. § 1746, I, Kimball W. Brace, hereby declare and state as follows:

1. I am over the age of eighteen years. I have personal knowledge of the facts set
forth herein or believe them to be true based on my experience or upon personal information
provided to me by others, and I am competent to testify thereto.

2. I have been retained as an expert for Plaintiffs in Kravitz et al v. United States
Department of Commerce, et al., Case No. 18-cv-01041-GJH.

3. In my capacity as an expert witness, I prepared two reports in this litigation. True
and correct copies of these reports are attached hereto.

4, These reports contain my expert opinions on the topics I was asked to examine.

a If asked to testify at trial in this action, I would testify to the opinions and the
bases therefor set forth more fully in the attached reports.

6. I am being compensated at the hourly rate of $275 for my work on this matter,

payment of which is not contingent on the substance of my testimony.

 

 
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1 declare under penalty of perjury that the foregoing is true and correct.

 

Kimball W. Brace

Executed on November Ko 2018 in Manne SAE, Va

 
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EXHIBIT A
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

ROBYN KRAVITZ, et al.

Plaintiffs,

Vv.

U.S. DEPARTMENT OF COMMERCE, er
al.

Defendants.

 

LA UNION DEL PUEBLO ENTERO; et al.

Plaintiffs,
v.

WILBUR L. ROSS, sued in his official
capacity as U.S. Secretary of Commerce; e/
al.

Defendants.

 

 

Civil Action No. 8:18-cv-01041-GJH

Hon. George J. Hazel

Civil Action No. 8:18-cv-01570-GJH

Hon. George J. Hazel

RULE 26(A)(2)(B) EXPERT REPORT AND DECLARATION OF KIMBALL W. BRACE
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EXPERT REPORT AND DECLARATION OF KIMBALL W. BRACE
OCTOBER 5, 2018

i INTRODUCTION

I am the president of Election Data Services, Inc. (E.D.S. Inc.), a Manassas, Virginia-
based consulting firm whose specialty is reapportionment, redistricting matters, election
administration issues, and the census.

[| have been retained by the plaintiffs in Kravitz, et al. v. United States Department of
Commerce, et al., Case No. 8:18-cv-01041 (D. Md.) and La Union del Pueblo Entero et al. v.
Wilbur L. Ross et al., Case No. 8:18-cv-01570 (D. Md.). I have been asked to assess the
impact ofa differential undercount of certain demographic groups in the 2020 decennial
census (the “2020 Census”) on (i) the apportionment of Congressional seats following the
2020 Census, and (ii) the dilution of the votes of people living in certain counties as a result
of intrastate redistricting. I have also been asked to make certain quantitative projections
for purposes of evaluating the impact of such an undercount on the allocation of federal
funding.

All the materials considered in forming the opinions contained herein are identified
in this report. | am being compensated for my work on this matter at an hourly rate of
$275.

II. BACKGROUND AND QUALIFICATIONS

I attended American University in Washington, D.C., from 1969 through 1974
(having taken a year off for the 1972 campaign), where | earned a B.A. degree in Political
Science. I started E.D.S. Inc. in 1977, and have been with the company since that time.
Prior to 1977, I was a journalist and employed by companies like NBC News, Congressional
Quarterly, and Plus Publications. While | was with NBC News, I was a researcher, advance
man, and, during the 1972 election year, an election analyst for the NBC News Elections
Unit. One of my responsibilities was to follow the redistricting process that occurred after
the 1970 census. At Congressional Quarterly, | was in charge of congressional voting
studies. At Plus Publications, I was Associate Editor of a newsletter called Election
Administration Reports, a bi-weekly publication for state and county election
administrators and registrars of voters. A copy of my curriculum vitae is attached as
Exhibit 1.

As president of E.D.S. Inc., | supervise and direct all major projects in which the

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company is involved.

E.D.S. Inc. has been viewed by clients, the press, academics, and the general public as
a research facility and consulting firm dealing with many aspects of the electoral process.
The company and its staff have been hired by state and local governments across the nation
to provide software, database development services, and consulting services for the
creation of districting plans and the analysis of many aspects of the apportionment and
redistricting process.

Since 1979, I, individually and with E.D.S. Inc., have been actively involved in many
aspects of the redistricting and reapportionment process, having gone through four full
census and redistricting cycles. We have already been retained by several states for the
planning and database activities associated with the 2020 redistricting process. I have
been a consultant to many state and local governmental organizations around the nation,
providing strategic advice and consulting on redistricting matters, coordinating the
development of the databases used in the redistricting process, creating and assisting
others with the creation of districting plans, and analyzing many aspects of districts and
district configurations. Over the past 39 years, E.D.S. Inc.’s clients for redistricting services
have come from more than half the states in the nation. Most notable have been our efforts
to calculate compactness measures for both congressional and state legislative districts in
all 50 states. We were also retained by the U.S. Department of Justice, Civil Rights Division,
to assist with the building of a massive database of election returns and geography for
evaluating racial bloc voting and redistricting plans in the State of South Carolina. In
addition, over the past three decades, I have been called upon to provide reports, expert
witness testimony, and assistance to attorneys in more than 70 different court cases.

Further, I frequently give speeches to groups and organizations and participate in
numerous conferences and panels on various aspects of apportionment, redistricting, and
the census. Since the early 1980s, I have been a regular participant and speaker at annual
and bi-annual meetings of the Task Force on Redistricting of the National Conference of
State Legislatures. I was also appointed by the U.S. Secretary of Commerce to the 2010
Census Advisory Committee, a 20-person advisory board to the Director of the Census
Bureau and served for two terms. Further, I was sent by the U.S. State Department and the
International Foundation for Electoral Systems (IFES) to Kazakstan to present a three-day
workshop on redistricting. I am regularly called upon by members of the press with
questions on redistricting, reapportionment, the census, election administration issues, and
politics in general.

In addition to its redistricting work, E.D.S. Inc. provides assistance in the election
administration field to state and local jurisdictions in such areas as precinct management,
voter registration systems, and voting equipment evaluation. E.D.S. Inc. regularly collects

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election returns for each state in the nation. In 1992, the company published a 500-page
volume of county-level voter registration and voter turnout data, and election returns for
the entire nation (The Election Data Book: A Statistical Portrait of Voting in America, 1992
(Bernan Press, 1993)). While we only published the single volume, we have continued to
compile an electronic county-level database for each general election since that time, which
we Sell to numerous institutions and organizations.

I personally have been involved in the election administration field for over 40
years. I have worked for federal government clients (Federal Election Commission,
Election Administration Commission, GAO, Library of Congress) along with a number of
state governments on different aspects of election administration. These include studies on
voter registration systems as well as voting equipment. Since 2008, I have been a poll
worker in Prince William County, VA where I live. Because the state holds elections every
year and due to my interest in all aspects of election administration, I have graduated to
now being “chief judge” in the precincts that I have been assigned to work. In 2012, the
county experienced long lines at the polls on Election Day, and I was then appointed to a
20-person task force by the County Board of Supervisors to investigate the cause of the
problems. Because of my data background, I compiled and analyzed all the data used by
the task force, presenting updates at our bi-weekly meetings over the 5-month life of the
task force. With the retirement of the County’s General Registrar (director of elections for
the county), I was asked to take over the 11-person office. While I declined the full time job
offer, I did agree to be the Acting General Registrar for four months while the county
conducted a search for a full time replacement. I have continued to be actively involved in
election administration issues within the county since that time.

Initially, E.D.S. Inc. conducted redistricting activities the old-fashioned way, using
paper maps, lots of acetate, and plenty of color pencils. In order to see where different
racial, ethnic origin, and political groups were located in a jurisdiction, we colored thematic
maps by hand. Unfortunately, that meant careful planning for what colors would show
what percentage range. It was too time consuming to try one set of ranges, then change,
and make another map.

However, with the advent of personal computers in the early 1980s, we began using
some of the earliest mapping software packages, usually to produce color maps for exhibits
in court cases. This ultimately led us to more extensive geographic information system
(GIS) software packages and our own development of redistricting software that was used
in numerous state and local redistricting projects in the 1990 round. We continued
developing GIS software applications to help state governments compile precinct
configurations for submission to the Census Bureau under P.L. 94-171 (whereby, census
data was compiled by precinct for use in redistricting). We developed analysis software for
use during the 2000 and 2010 redistricting process, and have utilized both major

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redistricting software packages over the past two decades.

Over the past nearly 40 years, we have compiled extensive databases for use in
redistricting and court cases in a number of different states and localities.

Il. U.S. CONGRESSIONAL REAPPORTIONMENT: BASELINE PROJECTIONS FOR
2020

In the mid-1980s, E.D.S. Inc. developed software to calculate the distribution of
congressional districts to the states based on population or other data. Initially developed
in the Basic programming language, in the early 1990s, we reprogrammed it as macros for
Excel spreadsheets. The program implemented the “method of equal proportions” formula
that was adopted by the U.S. Congress in 1941 as the official manner to divide seats in the
US House of Representatives among the states. As the Constitution stipulates, each state is
provided at least one initial seat in the House of Representatives. The formula is actually
used to apportion the remaining 385 districts. The formula works as follows:

The rest of the seats are handed out based on statistical “priority values”
assigned to each additional seat that a state might get. In as close to plain
English as the formula will allow, these priority values are calculated ina
two-step process that requires dividing a state’s population by the square
root of the product of the number of seats it’s already been assigned and that
number plus one. The priority numbers are then rank ordered: “State A” will
get an additional seat ifits priority value for that seat is greater than any
other state’s. The seats are disbursed to states based on these rankings until
all 435 have been awarded.!

Our reapportionment program calculates not only how many seats each state would
receive based on the population or other numbers put into the formula, but it also
calculates and reports the number of people a state gained its last seat by or lost the next
seat by. It reports the last seat number that is given to a state, as well as what number seat
the next district would be if the calculations continued past the 435 seat cut-off. The
program also allows the user to change the maximum number of seats to be calculated.
Finally, the program calculates the ideal district size for each state, by taking the state’s
total population and dividing it by the number of seats that the state has been awarded.

On at least a yearly basis, we have utilized the apportionment program to analyze
the Census Bureau’s annual state population estimates, which are usually released in late

 

1 Greg Giroux, “Before Redistricting, That Other ‘R’ Word,” CQ Weekly (Nov. 30, 2009); see also
Kristin D. Burnett, “Congressional Apportionment: 2010 Census Briefs,” U.S. Census Bureau (Nov.
2011), https: //www.census.gov/prod/cen2010/briefs/c2010br-08.pdf.

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December each year. Our resulting studies and press releases have been consistently
referenced by the media and scholars. Our studies are usually released the same day the
Census Bureau estimates are unveiled and can be found on our website
(www.electiondataservices.com). All of our historical studies (back to when we started
them in 1994) and press releases are also kept on our website, available for all to see. The
same tables have also been generated from the final decennial population numbers each
decade back to 1940. Our website also has a historical table, that we have continued to
update, showing the number of seats given to each state each decade back to the nation’s
founding in 1789.

We can utilize the annual estimates from the Bureau to create reliable projections of
what the population, by state, might be at the time of the next decennial census (April 1 of
the year ending in “O”) and test those estimates on the anticipated deviations that will
result. We do this projection each year and report the results in our press releases. A copy
of our most recent study, released December 26, 2017, is attached to this report as Exhibit
Z. For the purposes of studying the 2017 population estimates released by the Census
Bureau in December 2017, E.D.S. Inc. created a series of estimates for possible 2020
population projections based upon various amounts of change that were apparent in the
Bureau's data. The three trend models used various time factors that the change would be
calculated upon.

First, there is a “long-term” trend model that reflects the overall change that has
occurred so far in the decade - for this decade that is from 2010 to 2017 — and projects it
forward to correspond to census day on April 1, in the year ending in “O” - at this point in
this decade that would be two years and nine months to correspond to census day on April
1,2020. Second, we utilize a “mid-term” trend model that uses the population change
from a three to four year period before the Census estimates were released - for our study
noted as Exhibit 2 - that occurred from 2014 to 2017 and projects that level of change
forward to 2020. Finally, we create a “short-term” trend model that incorporates the
change that occurred in just the past year — at this point for Exhibit 2 - from 2016 to 2017,
and carries that rate of change forward to 2020.

For 2020, I believe the mid-term model provides the most reliable projection of
population estimates. The long-term model incorporates demographic factors that may
have been significant early in the decade but are no long operative, while the short-term
model may overstate the significance of a single year of demographic change. Furthermore,
the projections based on the mid-term model are similar to the nationwide population

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projection that the Census Bureau has provided for 2020.2

Using the 2017 population estimates, | am able to calculate a projected allocation of
seats in the House of Representatives. I calculate the number of seats to be apportioned to
each State based upon the so-called “method of equal proportions.” As discussed above,
under this formula, the population of each state is multiplied by a constant that is
mathematically determined to test the priority of each state for an additional seat in the
House. The only variable entered into the formula is the population of the states, as
reported in the decennial Census. Any variation in the population will modify the priority
ranking of the states and can cause a state to lose, or to fail to gain, an additional seat.
Using the 2014-2017 mid-term model to project the population of the states in 2020, I have
estimated the apportionment of seats in the House of Representatives after the 2020
Census. These projections are at Table 1 in Exhibit 3 to this report.

IV. U.S. CONGRESSIONAL REAPPORTIONMENT: EFFECT OF CENSUS CITIZENSHIP
QUESTION IN 2020

I understand that it is expected that the inclusion of a citizenship question on the
2020 Census questionnaire will result in a differential undercount of Hispanics? and non-
citizens relative to the rest of the population. I was asked to assess the effect on
reapportionment of a differential undercount of 2, 5.8, and 8.09 percentage points for these
affected populations.*

 

2 As noted in the press release report, the 2017 population estimates have not been statistically
adjusted for any known undercount, nor were there estimates provided for U.S. military personnel
overseas. This latter component has in the past been counted by the Department of Defense and
the Census Bureau and allocated to the states. The Bureau and the administration announced
earlier this year a potential change in the way the military and citizens living abroad will be
counted in the Census for 2020, and this will likely also impact the apportionment process.

3] use the term “Hispanic” as shorthand for the “Hispanic or Latino” population. According to the
Census Bureau, “Hispanic or Latino” is a person of Cuban, Mexican, Puerto Rican, South or Central
American, or other Spanish culture or origin regardless of race. See “Hispanic Origin,” U.S. Census
Bureau, https://www.census.gov/topics/population/hispanic-origin/about.html.

*] understand that Nancy Mathiowetz, another expert witness retained by the plaintiffs, has
estimated that the differential undercount for Hispanics and non-citizens will be at least 2%. The
Census Bureau has estimated a 5.8% differential self-response for households that contain a
noncitizen. And I understand that Matthew Barreto, another retained expert, conducted a phone
survey that suggested a possible 8.09% differential undercount for Hispanics.

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To evaluate this effect, | undertook the following analysis:

First, for each state, I projected the percentage of the total 2020 statewide
population that will be (i) Hispanic individuals, (ii) non-citizens, and (iii) non-Hispanic non-
citizens (the “Affected Groups”). (I calculated the percentage of non-Hispanic non-citizens
to avoid double-counting, in the following steps, the undercount effect for individuals who
are both Hispanic and non-citizens.) To do this, I used a linear trend based on 1-year ACS
data from 2014 to 2017.

Second, | applied the undercount rates of 2%, 5.8% and 8.09% to the projected
Hispanic and non-Hispanic non-citizen percentage of the statewide population and
multiplied this by the total projected population for the state (derived from Table 1) to
calculate the total number of individuals in the state who will not be counted due to the
citizenship question.® | then deducted this number from the baseline population
projections in Table 1 to project 2020 Census population counts for each state.

Third, using the same methodology described in the previous section, I calculated
the projected number of Congressional seats apportioned to each state based on the
projected 2020 Census population counts. I then compared this projected apportionment
to the baseline projections set forth in Table 1 above.

The results of my analysis are presented in Table 2A (2% undercount), 2B (5.8%
undercount), and 2C (8.09% undercount) in the attached Exhibit 3. As this shows, a 2%
differential undercount of Hispanics and non-citizens will cause California to lose a
Congressional seat. A 5.8% undercount will cause California and Texas to lose a seat. And
a 8.09% differential undercount will cause Arizona, California, and Texas to lose a seat.
Because those states have higher percentages of both Hispanics and non-citizens than the
nation as a whole, if the differential undercount for these groups is larger, they may lose
additional seats. In addition, because Florida, Nevada, and New Jersey also have higher
percentages of both Hispanics and non-citizens than the nation as a whole, a larger
differential undercount among those groups increases the risk that these states will lose a
Congressional seat as well.

V. CONGRESSIONAL AND STATE LEGISLATIVE REDISTRICTING: EFFECT OF
CENSUS CITIZENSHIP QUESTION IN 2020

I have been asked to calculate the extent to which differential undercounts of the

 

5 |] assumed that for the rest of the population, the undercount due to the citizenship question would
be 0%. This assumption does not affect my overall conclusion, because if the overall undercount
rate is higher but the differential undercount for Hispanics and non-citizens remains the same, that
will only exacerbate the effect of the undercount.

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Hispanic and non-citizen populations of 2%, 5.8%, and 8.09% will dilute the votes of
individuals residing in the following counties: Clark (NV), Dallas (TX), El Paso (TX), Harris
(TX), Hidalgo (TX), Hudson (NJ), King (WA), Los Angeles (CA), Maricopa (AZ), Miami-Dade
(FL), Prince George’s (MD), Santa Cruz (AZ), Todd (SD), Webb (TX), and Yuma (AZ)
Counties. I understand that all of the states in which these counties are located use Census
data to draw congressional and state legislative districts of equal size.

To evaluate this, I undertook the following analysis, as reflected in Tables 3A (2%
undercount), 3B (5.8% undercount), and 3C (8.09% undercount) in the attached Exhibit 3:

First, as a baseline, | projected the population for each county and the rest of the
state in 2020. | then calculated the county’s projected share of the projected statewide
population in 2020. Because the Census does not provide annual population estimates for
all counties, I used a trendline based on 5-year ACS data from 2013-2016.

Second, for each county and the rest of the state, I projected the percentage of the
total 2020 population that will be (i) Hispanic individuals, (ii) non-citizens, and (iii) non-
Hispanic non-citizens. To do this, | used a trendline based on 5-year ACS data from 2013-
2016.

Third, for Hispanics and non-Hispanic non-citizens, I applied undercount rates to
their projected percentage of the population for each county (and the rest of the state)® to
calculate the total number of individuals residing in the county (and the rest of the state)
who would not be counted in the 2020 Census as a result of the citizenship question. | then
deducted this number from the baseline population projection for 2020 for the county to
project Census population counts for each county (and the rest of the state) and each
county's projected share of the statewide Census population count.

Fourth, to assess whether the undercount would cause the county’s residents to
suffer vote dilution, I calculated the absolute and percentage change between (i) the
county’s share of the statewide population based on the baseline population projections,
and (ii) the county’s share of the statewide Census population count.

My results show that for individuals residing in each of the counties listed in the

 

6 | assume that there will be no undercount for the rest of the population. However, this is a
conservative assumption because if the differential undercount is assessed relative to a higher
undercount rate for the rest of the population, the effect of the undercount will be even stronger.

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table, the undercount resulting from the addition of a citizenship question will have the
effect of diluting their vote. Because each of the states in question uses Census population
counts to draw legislative districts of equal size, a reduction in the share of the statewide
population for a given county will shift political representation from the county to the rest
of the state.’

Although I have estimated the effect of a differential undercount of 2%, 5.8%, and
8.09% among Hispanics and non-citizens, an undercount of Hispanics and non-citizens of
any magnitude will produce this effect for the counties in question because they all have
higher percentages of Hispanics and non-ciitzens than the rest of the state.

VI. FEDERAL FUNDING STREAMS: EFFECT OF CENSUS CITIZENSHIP QUESTION

Medicaid Funding

For purposes of evaluating the effect of an undercount on Medicaid funding, I was
asked to project for July 1 of 2020, 2021, and 2022 the following: (i) statewide population
totals, (ii) the percentage of each state that will be composed of Hispanics, (iii) the
percentage of each state that will be non-Hispanic non-citizens, and (iv) statewide
population totals assuming a differential undercount of the Hispanic and non-citizen
populations of 2 percent, relative to the rest of the population.

I undertook the following analysis to make these projections:

e lused the same methodology detailed above in Section IV to project
statewide population totals for July 1 of each year.

e lused the same methodology detailed above in Section IV to project the
relevant statewide demographic percentages for July 1 of each year.

e [used the same methodology detailed above in Section IV to project
statewide population totals with an undercount for July 1 of each year.

 

7 | note that with respect to the dilution of one’s vote, it is irrelevant which baseline population
projections are used. No matter what the actual population of the geographic areas in question, as
long as the undercounted groups are a higher percentage of the county than the state as a whole,
the votes of the individuals living in the county will be diluted.

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The results of my projections are set forth in Tables 4A, 4B, and 4C in Exhibit 3.
Transportation Funding

For purposes of evaluating the effect of an undercount on transportation funding, I
was asked to project for April 1, 2020 the following: (i) population totals for certain
urbanized areas,® (ii) the percentage of each urbanized area that will be composed of
Hispanics, (iii) the percentage of each urbanized area that will be non-Hispanic non-
citizens, and (iv) population totals for certain urbanized areas assuming a differential
undercount of the Hispanic and non-citizen populations of 2 percent, relative to the rest of
the population. I was also asked to make these projections for the states in which these
urbanized areas are located.

| undertook the following analysis to make these projections:

e To project population totals for April 1, 2020 for urbanized areas that do not
cross state boundaries, | used a trendline based on 1-year ACS data from
2014-2017. I used the same methodology for the corresponding states,? as I
understand that the transportation funding allocated to a particular
urbanized area depends on the urbanized area’s population relative to that of
the state as a whole. For urbanized areas that cross state boundaries, I used
a trendline based on 5-year ACS data from 2014-2016 to project the
population total for the relevant state’s portion of the urbanized area,?° as 1-
year ACS data are not available for portions of urbanized areas. I used the
same methdology for the corresponding states. !!

e To project the relevant demographic percentages for April 1, 2020 for
urbanized areas that do not cross state boundaries, I used a trendline based
on 1-year ACS data from 2014-2017. I used the same methodology for the
corresponding states. For urbanized areas that cross state boundaries, I used
a treadline based on 5-year ACS data from 2014-2016 to project the relevant
demographic percentages for the relevant state’s portion of the urbanized

 

8 For purposes of the Surface Transportation Block Grant Program funding formula, an “urbanized
area” is an area that meets both of the following criteria: (1) it was designated as an “urban area” by
the Census Bureau on the most recent decennial census; and (2) it has a population over 200,000.

° These states are: Arizona, California, Florida, Georgia, Nevada, and Texas.

10 These urbanized areas are the Maryland portion of Washington, DC-VA-MD; the New Jersey
portion of New York - Newark, NY - NJ - CT; and the Texas portion of El Paso, TX-NM.

11 These states are: Maryland and New Jersey.

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area. I used the same methdology for the corresponding states.

e For all urbanized areas, to project population totals with an undercount for
April 1, 2020, I applied a differential undercount rate of 2 percent to the
projected Hispanics and non-Hispanic non-citizen shares of the urbanized
area population to determine the percentage of the overall urbanized area
population that will not be counted in the 2020 Census as a result of the
citizenship question (“Urbanized Area Undercount Rate”). | then applied the
Urbanized Area Undercount Rate to the baseline population projections in
Table 5 to project 2020 Census population counts for each urbanized area.

e For all states, to project population totals with an undercount for April 1,
2020, I applied a differential undercount rate of 2 percent to the projected
Hispanics and non-Hispanic non-citizen shares of the state population to
determine the percentage of the overall state population that will not be
counted in the 2020 Census as a result of the citizenship question (“State
Undercount Rate”). I then applied the State Undercount Rate to the baseline
population projections in Table 6 to project 2020 Census population counts
for each state.

The results of my projections are set forth in Table 5 (urbanized areas) and Table 6
(states).

I reserve the right to supplement this report if 1 become aware of additional
information or documentation that would require further analysis and any modification or
addition to my opinions as stated herein.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is
true and correct.

ibe Wace

Kimball William Brace

 

Executed on October 5, 2018 in San Jose, California.

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Kimball Brace is the president of Election Data Services Inc., a consulting firm that specializes
in redistricting, election administration, and the analysis and presentation of census and political
data. Mr. Brace graduated from the American University in Washington, D.C., (B.A., Political
Science) in 1974 and founded Election Data Services in 1977.

Redistricting Consulting

 

Activities include software development; construction of geographic, demographic, or election
databases; development and analysis of alternative redistricting plans; general consulting, and
onsite technical assistance with redistricting operations.

Congressional and Legislative Redistricting

 

Arizona Independent Redistricting Commission: Election database, 2001
Arizona Legislature, Legislative Council: Election database, 2001

Colorado General Assembly, Legislative Council: Geographic, demographic, and election
databases, 1990-91]

Connecticut General Assembly
+ Joint Committee on Legislative Management: Election database, 2001; and software,
databases, general consulting, and onsite technical assistance, 1990-9]
e Senate and House Democratic Caucuses: Demographic database and consulting, 2001

Florida Legislature, House of Rep.: Geographic, demographic, and election databases, 1989-92

Illinois General Assembly
» Speaker of House and Senate Minority Leader: Software, databases, general consulting,
and onsite technical assistance, 2000-02,
« Speaker of House and President of Senate: Software, databases, general consulting, and
onsite technical assistance, 2018-current, 2009-2012, 1990-92, and 1981-82

Iowa General Assembly, Legislative Service Bureau and Legislative Council: Software,
databases, general consulting, and onsite technical assistance, 2000-01 and 1990-91

Kansas Legislature: Databases and plan development (state senate and house districts), 1989

Massachusetts General Court
+ Senate Democratic caucus: Election database and general consulting, 2001—02
¢ Joint Reapportionment Committees: Databases and plan development (cong,, state
senate, and state house districts), 1991—93, 2010-2012
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(Redistricting Consulting, cont.)

Michigan Legislature: Geographic, demographic, and election databases, 1990—92; databases and
plan development (cong., state senate, and state house districts), 1981-82

Missouri Redistricting Commission: General consulting, 1991-92
Commonwealth of Pennsylvania: General consulting, 1992

Rhode Island General Assembly and Reapportionment Commissions
- Software, databases, plan development, and onsite assistance (cong., state senate, and
state house districts), 2016- current, 2010-2012, 2001—02 and 1991-92
« Databases and plan development (state senate districts), 1982-83

State of South Carolina: Plan development and analysis (senate), U.S. Dept. of Justice, 1983-84

Local Government Redistricting

 

Orange County, Calif.: Plan development (county board), 1991—92

City of Bridgeport, Conn.: Databases and plan development (city council), 2011-2012 and 2002—
03

Cook County, Ill.: Software, databases, and general consulting (county board), 2010-2012,
2001-02, 1992-1993, and 1989

Lake County, Ill.: Databases and plan development (county board), 2011 and 1981

City of Chicago, Ill.: Software, databases, general consulting, and onsite technical assistance
(city wards), 2010-2012, 2001-02 and 1991-92

City of North Chicago, IIl.: Databases and plan development (city council), 1991 and 1983
City of Annapolis, Md.: Databases and plan development (city council), 1984

City of Boston, Mass.: Databases and plan development (city council), 2011-2012, 2001-2002,
and 1993

City of New Rochelle, N.Y.: Databases and plan development (city council), 1991—92
City of New York, N.Y.: Databases and plan development (city council), 1990-91

Cities of Pawtucket, Providence, East Providence, and Warwick, and town of North Providence,
R.I.: Databases and plan development (city wards and voting districts), 2011-2012, 2002

City of Woonsocket and towns of Charlestown, Johnston, Lincoln, Scituate and Westerly, R.L:
Databases and plan development (voting districts), 2011-2012, 2002; also Westerly 1993

City of Houston, Tex.: Databases and plan development (city council), 1979 — recommended by
U.S. Department of Justice

City of Norfolk, Va.: Databases and plan development (city council), 1983-84 — for Lawyers’
Committee for Civil Rights

Virginia Beach, Va.: Databases and plan development (city council), 2011-2012, 2001-02, 1995,
and 1993
Other Activities

International Foundation for Electoral Systems (IFES) and U.S. Department of State:
redistricting seminar, Almaty, Kazakhstan, 1995
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Library of Congress, Congressional Research Service: Consulting on reapportionment,
redistricting, voting behavior and election administration

National Conference of State Legislatures (NCSL): Numerous presentations on variety of
redistricting and election administration topics, 1980 - current

Election Administration Consulting

Activities include seminars on election administration topics and studies on voting behavior,
voting equipment, and voter registration systems.

Prince William County, VA:
2013 — Appointed by Board of County Supervisors to 15 member Task Force on Long Lines
following 2012 election. Asked and appointed by County’s Electoral Board to be Acting
General Registrar for 5-month period between full-time Registrars.
2008 - current — poll worker and now chief judge for various precincts in county

U.S. Election Assistance Commission (EAC): Served as subcontractor to prime contractors who
compiled survey results from 2008 and 2010 Election Administration and Voting Survey.

U.S. Election Assistance Commission (EAC): Compile, analyze, and report the results of a
survey distributed to state election directors during FY—2007. Survey results were presented
in the following reports of the EAC: The Impact of the National Voter Registration Act of
1993 on the Administration of Elections for Federal Office, 2005—2006, A Report to the
110th Congress, June 30, 2007; Uniformed and Overseas Citizens Absentee Voting Act
(UOCAVA), Survey Report Findings, September, 2007; and The 2006 Election
Administration and Voting Survey, A Summary of Key Findings, December, 2007.

U.S. Election Assistance Commission (EAC): Compile, analyze, and report the results of three
surveys distributed to state election directors during FY—2005: Election Day, Military and
Overseas Absentee Ballot (UOCAVA), and Voter Registration (NVRA) Surveys. Survey
results were presented in the following reports: final Report of the 2004 Election Day
Survey, by Kimball W. Brace and Dr. Michael P. McDonald, September 27, 2005; and
Impact of the National Voter Registration Act of 1993 on the Administration of Elections for
Federal Office, 2003—2004, A Report to the 109th Congress, June 30, 2005.

Rhode Island Secretary of State: Verification of precinct and district assignment codes in
municipal registered voter files and production of street files for a statewide voter registration
database, on-going maintenance of street file, 2004-2006, 2008-2014, 2016-2017.

Rhode Island Secretary of State, State Board of Elections & all cities & towns: production of
precinct maps statewide, 2012, 2002, 1992

District of Columbia, Board of Elections and Ethics (DCBOEE): Verification of election ward,
Advisory Neighborhood Commission (ANC), and Single-Member District (SMD)
boundaries and production of a new street locator, 2003. Similar project, 1993.

Harris County, Tex.: Analysis of census demographics to identify precincts with language
minority populations requiring bilingual assistance, 2002—03
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(Election Administration Consulting, cont.)

Cook County, IIl., Election Department and Chicago Board of Election Commissioners:
- Analysis of census demographics to identify precincts with language minority
populations requiring bilingual assistance, 2010-2013, 2002-03
« Study on voting equipment usage and evaluation of punch card voting system, 1997

Chicago Board of Election Commissioners: Worked with Executive Director & staff in
Mapping Dept. to redraw citywide precincts, eliminate over 600 to save costs, 2011-12

Library of Congress, Congressional Research Service: Nationwide, biannual studies on voter
registration and turnout rates, 1978-2002

U.S. General Accounting Office (GAO), U.S. Dept. of Justice, and numerous voting equipment
vendors and media: Data on voting equipment usage throughout the United States, 1980—
present

Needs assessments and systems requirement analyses for the development of statewide voter
registration systems:
« Illinois State Board of Elections: 1997
« North Carolina State Board of Elections, 1995
« Secretary of Commonwealth of Pennsylvania, 1996

Federal Election Commission, Office of Election Administration:
+ Study on integrating local voter registration databases into statewide systems, 1995
+ Nationwide workshops on election administration topics, 1979-80
« Study on use of statistics by local election offices, 1978-79

Cuyahoga County, Ohio, Board of Elections: Feasibility study on voting equipment, 1979

Winograd Commission, Democratic National Committee: Analysis of voting patterns, voter
registration and turnout rates, and campaign expenditures from 1976 primary elections

Mapping and GIS

 

Activities include mapping and GIS software development (geographic information systems) for
election administration and updating TIGER/Line files for the decennial census.

2000 Census Transportation Planning Package (CTPP), 1998-99: GIS software for the U.S.
Department of Transportation to distribute to 400 metropolitan planning organizations
(MPOs) and state transportation departments for mapping traffic analysis zones (TAZs) for
the 2000 census; provided technical software support to MPOs

Census 2000, 2010 and 2020 Redistricting Data Program, Block Boundary Suggestion Project
(Phase 1) and Voting District Project (Phase 2), 1995-99: GIS software and provided soft-
ware, databases, and technical software support to the following program participants:

« Alaska Department of Labor

« Connecticut Joint Committee on Legislative Management
- Illinois State Board of Elections

- Indiana Legislative Services Agency

+ Iowa Legislative Service Bureau
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(Mapping & GIS Support, cont.)

+ New Mexico Legislative Council Service
« Rhode Island General Assembly
+ Virginia Division of Legislative Services

Developed PRECIS” Precinct Information System—GIS software to delineate voting precinct
boundaries—and delivered software, databases, and technical software support to the
following state and local election organizations (with date of installation):

« Cook County, IIl., Department of Elections (1993)

+ Marion County, Fla., Supervisor of Elections (1995)

« Berks County Clerk, Penn. (1995)

+ Hamilton County, Ohio, Board of Elections (1997)

+ Brevard County, Fla., Supervisor of Elections (1999)

« Osceola County, Fla., Supervisor of Elections (1999)

«+ Multnomah County, Ore, Elections Division (1999)

+ Chatham County, Ga., Board of Elections (2000)

+ City of Chicago, IIl., Board of Election Commissioners (2000)

« Mahoning County, Ohio, Board of Elections (2000)

« lowa Secretary of State, Election and Voter Registrations Divisions (2001)
« Woodbury County, lowa, Elections Department (2001)

« Franklin County, Ohio, Board of Elections (2001)

« Cobb County, Ga., Board of Elections and Voter Registration (2002)

Illinois State Board of Elections, Chicago Board of Election Commissioners, and Cook County
Election Department: Detailed maps of congressional, legislative, judicial districts, 1992

Associated Press: Development of election night mapping system, 1994

Litigation Support

 

Activities include data analysis, preparation of court documents and expert witness testimony.
Areas of expertise include the census, demographic databases, district compactness and
contiguity, racial bloc voting, communities of interest, and voting systems. Redistricting
litigation activities also include database construction and the preparation of substitute plans.

Davidson, et al & ACLU of Rhode Island vs. City of Cranston, RI (2014-16), city council &
school committee redistricting with prisoner populations.

Navaho Nation v. San Juan County, UT (2014-17) county commissioner & school board
districts.

Michael Puyana vs. State of Rhode Island (2012) state legislature redistricting

United States of America v. Osceola County, Florida, (2006), county commissioner districts.
Deeds vs McDonnell (2005), Va. Attorney General Recount

Indiana Democratic Party, et al., v. Todd Rokita, et al. (2005), voter identification.

Linda Shade v. Maryland State Board of Elections (2004), electronic voting systems
Gongaley v. City of Aurora, III. (2003), city council districts

State of Indiana v. Sadler (2003), ballot design (city of Indianapolis-Marion County, Ind.)
Case 8:18-cv-01041-GJH Document 70-2 Filed 11/27/18 Page 22 of 92

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(Litigation Support, cont.)
Peterson v. Borst (2002-03), city-council districts (city of Indianapolis-Marion County, Ind.)

New Rochelle Voter Defense Fund v. City of New Rochelle, City Council of New Rochelle, and
Westchester County Board Of Elections (2003), city council districts (New York)

Charles Daniels and Eric Torres vy. City of Milwaukee Common Council (2003), council
districts (Wisconsin)

The Louisiana House of Representatives v. Ashcroft (2002-03), state house districts

Camacho v. Galvin and Black Political Caucus v. Galvin (2002-03), state house districts
(Massachusetts)

Latino Voting Rights Committee of Rhode Island, et al., v. Edward S. Inman, If, et al.
(2002-03), state senate districts

Metts, v. Harmon, Almond, and Harwood, et al. (2002-03), state senate districts (Rhode Island)
Joseph F. Parella, et al. v. William Irons, et al. (2002-03), state senate districts (Rhode Island)
Jackson v. County of Kankakee (2001-02), county commissioner districts (Illinois)

Corbett, et al., v. Sullivan, et al. (2002), commissioner districts (St Louis County, Missouri)
Harold Frank, et al., v. Forest County, et al. (2001-02), county commissioner districts (Wisc.)

Albert Gore, Jr., et al., v. Katherine Harris as Secretary of State, State of Florida, et al., and The
Miami Dade County Canvassing Board, et al., and The Nassau County Canvassing Board, et
al., and The Palm Beach County Canvassing Board, et al., and George W. Bush, et al (2000),
voting equipment design — Leon County, Fla., Circuit Court hearing, December 2, 2000, on
disputed ballots in Broward, Volusia, Miami-Dade, and Palm Beach counties from the
November 7, 2000, presidential election.

Barnett v. Daley/PACI v. Daley/Bonilla v. Chicago City Council (1992-98), city wards

Donald Moon, et al. v. M. Bruce Meadows, etc and Curtis W. Harris, et al. (1996-98),
congressional districts (Virginia)

Melvin R. Simpson, et al. v. City of Hampton, et al. (1996-97), city council districts (Va.)
Vera vs. Bush (1996), Texas redistricting

In the Matter of the Redistricting of Shawnee County Kansas and Kingman, et al. v. Board of
County Commissioners of Shawnee County, Kansas (1996), commissioner districts

Vecinos de Barrio Uno vy. City of Holyoke (1992-96), city council districts (Massachusetts)
Torres v. Cuomo (1992-95), congressional districts (New York)

DeGrandy v. Wetherell (1992-94), congressional, senate, and house districts (Florida)
Johnson v. Miller (1994), congressional districts (Georgia)

Jackson, et al v Nassau County Board of Supervisors (1993), form of government (N.Y.)

Gonzalez v. Monterey County, California (1992), county board districts
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(Litigation Support, cont.)

LaPaille v. Illinois Legislative Redistricting Commission (1992), senate and house districts
Black Political Task Force v. Connolly (1992), senate and house districts (Massachusetts)
Nash y. Blunt (1992), house districts (Missouri)

Fund for Accurate and Informed Representation v. Weprin (1992), assembly districts (N.Y.)
Mellow vy. Mitchell (1992), congressional districts (Pennsylvania)

Phillip Langsdon v. Milsaps (1992), house districts (Tennessee)

Smith v, Board of Supervisors of Brunswick County (1992), supervisor districts (Virginia)
People of the State of Illinois ex. rel. Burris v. Ryan (1991-92), senate and house districts
Good vy. Austin (1991-92), congressional districts (Michigan)

Neff v. Austin (1991-92), senate and house districts (Michigan)

Hastert v. Illinois State Board of Elections (1991), congressional districts

Republican Party of Virginia et al. v. Wilder (1991), senate and house districts

Jamerson et al. v. Anderson (1991), senate districts (Virginia)

Ralph Brown y. Iowa Legislative Services Bureau (1991), redistricting database access
Williams, et al. v. State Board of Election (1989), judicial districts (Cook County, III.)

Fifth Ward Precinct 1A Coalition and Progressive Association v. Jefferson Parish School
Board (1988-89), school board districts (Louisiana)

Michael V. Roberts v. Jerry Wamser (1987-89), St. Louis, Mo., voting equipment

Brown v. Board of Commissioners of the City of Chattanooga, Tenn. (1988), county
commissioner districts

Business Records Corporation v. Ransom F.. Shoup & Co., Inc. (1988), voting equip. patent

East Jefferson Coalition for Leadership v. The Parish of Jefferson (1987-88), parish council
districts (Louisiana)

Buckanaga v. Sisseton School District (1987-88), school board districts (South Dakota)
Griffin v. City of Providence (1986-87), city council districts (Rhode Island)

United States of America v. City of Los Angeles (1986), city council districts

Latino Political Action Committee v. City of Boston (1984-85), city council districts
Ketchum v. Byrne (1982-85), city council districts (Chicago, III.)

State of South Carolina v. United States (1983-84), senate districts — U.S. Dept. of Justice

Collins v. City of Norfolk (1983-84), city council districts (Virginia) — for Lawyers'
Committee for Civil Rights

Rybicki v. State Board of Elections (1981-83), senate and house districts (Illinois)
Licht v. State of Rhode Island (1982-83), senate districts (Rhode Island)
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Kimball W. Brace, Vita, page 8

(Litigation Support, cont.)
Agerstrand y. Austin (1982), congressional districts (Michigan)
Farnum v. State of Rhode Island (1982), senate districts (Rhode Island)

In Re Illinois Congressional District Reapportionment Cases (1981), congressional districts

Publications

 

"EAC Survey Sheds Light on Election Administration", Ro// Call, October 27, 2005 (with
Michael McDonald)

Developing a Statewide Voter Registration Database: Procedures, Alternatives, and General
Models, by Kimball W. Brace and M. Glenn Newkirk, edited by William Kimberling,
(Washington, D.C.: Federal Election Commission, Office of Election Administration,
Autumn 1997).

The Election Data Book: A Statistical Portrait of Voting in America, 1992, Kimball W. Brace,
ed., (Bernan Press, 1993)

"Geographic Compactness and Redistricting: Have We Gone Too Far?", presented to
Midwestern Political Science Association, April 1993 (with D. Chapin and R. Niemi)

"Whose Data is it Anyway: Conflicts between Freedom of Information and Trade Secret
Protection in Redistricting", Stetson University Law Review, Spring 1992 (with D. Chapin
and W. Arden)

"Numbers, Colors, and Shapes in Redistricting," State Government News, December 1991
(with D. Chapin)

"Redistricting Roulette," Campaigns and Elections, March 1991 (with D. Chapin)

"Redistricting Guidelines: A Summary", presented to the Reapportionment Task Force,
National Conference on State Legislatures, November 9, 1990 (with D. Chapin and J.
Waliszewski)

"The 65 Percent Rule in Legislative Districting for Racial Minorities: The Mathematics of
Minority Voting Equality," Law and Policy, January 1988 (with B. Grofman, L. Handley,
and R. Niemi)

"Does Redistricting Aimed to Help Blacks Necessarily Help Republicans?" Journal of Politics,
February 1987 (with B. Grofman and L. Handley)

"New Census Tools," American Demographics, July/August 1980

Professional Activities
Member, Task Force on Long Lines in 2012 Election, Prince William County, VA

Member, 2010 Census Advisory Committee, a 20-member panel advising the Director of the
Census on the planning and administration of the 2010 census.
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(Professional Activities, cont.)

Delegate, Second Trilateral Conference on Electoral Systems (Canada, Mexico, and United
States), Ontario, Canada, 1995; and Third Trilateral Conference on Electoral Systems,
Washington, D.C., 1996

Member, American Association of Political Consultants

Member, American Association for Public Opinion Research

Member, American Political Science Association

Member, Association of American Geographers, Census Advisory Committee

Member Board of Directors, Association of Public Data Users

Member, National Center for Policy Alternatives, Voter Participation Advisory Committee

Member, Urban and Regional Information Systems Association

Historical Activities
Member, Manassas Battlefield Trust Board Member, 2018 -- current

Member, Historical Commission, Prince William County, VA., 2015 — current. Elected
Chairman in 2017, re-elected 2018

Member of Executive Committee & head of GIS Committee, Bull Run Civil War Round
Table, Centerville, VA. 2015 — current

Member, Washington Capitals Fan Club, Executive Board 2017 -- current

January - 2018
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202 789.2004 tel. or
703 580.7267
FOR IMMEDIATE RELEASE eid as com
Date: December 26, 2017 ~ -
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Website: www.electiondataservices.com

NOTE: An inadvertent error in the trend line methodology calculations caused population projections for 2020 to be too high in the
study released December 20, 2017. As a result, this caused changes in two seats affecting four states using the short-term methodolo-
gy (2016-2017) and one seat affecting two states using the middle-term methodology. There were no changes in seat allocations using
the long-term methodology, although seat positioning (seen in “last seat given” and “next seat at” columns) were affected in all three
methodologies. The below press release, tables, and maps have been updated to reflect these corrections, We regret the error but
pleasantly acknowledge the contribution of one reader who found the issue.

Some Change in Apportionment Allocations
With New 2017 Census Estimates;
But Greater Change Likely by 2020

New Census Bureau population estimates for 2017 released today shows a change of two more
seats between four states from last year’s study generated by Election Data Services, Inc. on
which states would gain or lose congressional seats if the current numbers were used for appor-
tionment in 2017. But projecting these numbers to 2020, using several different methods, leads
to more states being impacted by the decennial census scheduled to take place in just three years.

The Bureau’s 2017 total population estimates shows that now 12 states will be impacted by
changes in their congressional delegation if these new numbers were used for apportionment to-
day. The state of Colorado joins the previously indicated states of Florida, North Carolina, and
Oregon to each gain a single seat while the state of Texas is now shown to gain a second seat
with the new data. The states of New York and West Virginia joins the states of Illinois,
Michigan, Minnesota and Pennsylvania to lose a seat in Congress using the new data.

The new numbers, however, reflect subtle changes taking place across the nation in birth and
death rates and resulting total population numbers that become magnified when the information
is projected forward to coincide with the taking of the 2020 Census on April | that year. Elec-
tion Data Services created three different methodologies to project the 2017 data forward nearly
three years to 2020 (a short-term projection method for the trend occurring in 2016-2017, a mid-
dle term methodology using the 2014-2017 trend, and a long-term projection for 2010-2017).

All three methodologies added the state of Arizona, along with a second seat for Florida and
maybe a third seat for Texas, to the list of states noted above that will gain one or more seats by
2020. The list of losing states will expand to also include Alabama, Ohio, and Rhode Island by
the time the Census is taken in 2020.

2)
“Experts in Elections ee Redistricting & GIS”
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Election Data Services, “2017 Reapportionment Analysis”
December 26, 2017
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The three methodologies diverge at one important point, whether Montana will gain a second
seat and keep Texas from obtaining a third additional seat. The long-term and mid-term meth-
odologies show Texas would gain three seats by 2020 and Montana would stay at a single at-
large seat. But the short-term methodology points towards Texas having only two additional
seats and the state of Montana securing seat #434 (its second seat) by just 2,493 people to spare.

The projections show that the state of California is very close to actually losing a congressional
seat in 2020, the first time that state will have lost a seat in its nearly 160-year history. For the
last several decades California’s population growth has been relatively flat when compared to
other states. While the state gained seven congressional districts between 1980 and 1990, it
gained only one district the following decade and no additional seats between 2000 and 2010.
All three projection methodologies for 2020 found California receiving seat #435 or #434, just
before the cut-off, with the short-term methodology (2016-2017) finding the state kept its 53™
seat with just 75,770 people to spare. The most recent destructive fires in Napa and Ventura
counties occurred after the date associated with the Census estimates, so their impact won’t be
felt until the 2018 estimates are released.

All three projection methodologies show the state of Illinois as losing a single district by 2020.
But the state is dangerously close to losing a second seat, which it currently keeps by obtaining
seat #432 or #433 with between 103,000 and 191,000 people to spare depending on the method-
ology utilized.

For much of this decade the state of Minnesota is shown to be on the losing side of congression-
al representation. The 2017 population estimates confirm this, when the state comes up 30,477
short of keeping its 8" seat, and on the wrong side of the magic 435 mark at seat #437. All three
projection methodologies also finds the state losing a seat, but the short-term methodology pro-
jection puts Minnesota at seat #436 and only 10,801 away from obtaining that seat. It is likely
the state will continue to be on the representation bubble.

Using either methodology the population projections points toward an eight (8) to ten (10) seat
change over 15 to 16 states across the nation come 2020. States that will gain single seats include
Arizona, Colorado, North Carolina, and Oregon and maybe Montana, while Florida is set to
gain two congressional districts and Texas could gain two or three seats. Single seat losses will
again occur in the Midwest and Northeast sections of the nation, where Alabama, Illinois,
Michigan, New York, Ohio, Pennsylvania, Rhode Island and West Virginia, as well as pos-
sibly Minnesota would each lose a seat. All other states would keep the same number of
representatives they were awarded in December 2010 when the official 2010 Census numbers
were released.

Using the new sets of projected 2020 data, the apportionment calculations show that 15 to 16
states could gain or lose 8 to 10 districts by the time the Census is taken in 2020. The gainers
and losers are:
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Election Data Services, “2017 Reapportionment Analysis”
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States Gaining Districts (7) States Losing Districts (8 or 9)
Arizona +1 (from 9 to 10) Alabama -1 (from 7 to 6)
Colorado +1 (from 7 to 8) Illinois -1 (from 18 to 17)
Florida +2 (from 27 to 29) Michigan -1 (from 14 to 13)
Montana even or +1 (from At-large to 2) Minnesota -1 or even (from 8 to 7 or no change)
North Carolina +1 (from 13 to 14) New York -1 (from 27 to 26)
Oregon +1 (from 5 to 6) Ohio -1 (from 16 to 15)
Texas +2 or +3 (from 36 to 38 or 39) Pennsylvania -| (from 18 to 17)

Rhode Island -1 (from 2 to 1)
West Virginia -1 (from 3 to 2)

The Census Bureau’s press release accompanying the December 20", 2017 release of the popula-
tion estimates notes that Idaho is the nation’s fastest growing state in the past year, followed by
Nevada and Utah. But this population growth has not impacted these state’s congressional allo-
cation, at least not yet. The 2017 numbers show Idaho would stay at two seats, and miss gaining
an additional seat by 118,406 people. But projecting the numbers forward to 2020 using the
short-term methodology shows Idaho only 55,054 away from gaining a third seat. All the popu-
lation projection methodologies keep the state of Nevada at four seats and sufficiently away
from any margins of a fifth possible seat. Utah is similar in that it would take more than 161,000
extra people for the state to gain a fifth district.

Since 1941, by law the number of seats in the U.S. House of Representatives has been capped at
435. Asa result, there has always been interest in finding which states are close to that magic
bubble, either just gaining their last seat, or just missing their next seat. The following table
shows the results of the 2017 population estimates, as well as the short-term trend methodology
calculations for the seats within five positions of the 435 cut off.

2017 Reapportionment Analysis

2017 Population Estimates 2020 Projections

(using 2016-2017 short-term trend)
Last Five Seats Margin of Gain Last Five Seats Margin of Gain
431 California (53rd) 207,155 431 Arizona (10th) 65,805
432 Ohio (16th) 52,560 432 Illinois (17") 103,961
433 Alabama(7th) 19,589 433 Florida (29th) 120,188
434 Colorado (8") 900 434 Montana (2nd) 2,493
435 Rhode Island (2nd) 157 435 California (53rd) 75,770
Next Seats Margin of Loss Next Seats Margin of Loss
436 New York (27") 2,932 436 Minnesota (8th) 10,801
437 Minnesota (8th) 30,477 437 Texas (39th) 60,103
438 Montana (2%) ? 438 Ohio (16th) 105,213
439 West Virginia (3rd) 19,492 439 Alabama (7th) 48,850

440 Arizona (10th) 92,005 440 Rhode Island (2nd) 2
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Election Data Services, Inc. “2017 Reapportionment Analysis”
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Kimball Brace, President of Election Data Services, Inc. cautioned users to take the projections
as very preliminary and subject to change. “The change in administration and the lack of a Cen-
sus Director could have a profound impact on how well the 2020 Census is conducted, and
therefore the counts that are available for apportionment,” Brace noted. “Having worked with
Census data and estimates since the 1970s, it is important to remember that major events like
Katrina and the 2008 recession each changed population growth patterns and that impacted and
changed the next apportionment,” he said.

Brace also noted that major changes in the counting process are in the works for 2020 and that
reduced budget funding could impact those plans. “History can also be a guide, recalling that the
1920 apportionment was cancelled because the numbers showed for the first time that more peo-
ple resided in urban areas than rural areas” said Brace.

The new 2017 estimates also point to how close a number of states stand to gain or lose a district.
Most notable are the states of:

Rhode Island — While keeping their two congressional districts with the 2017 numbers,
the new data shows the state is now only 157 people away from dropping to a single dis-
trict state. This has steadily decreased over the decade so far. Last year the state was
5,569 people away from losing its’ second seat, and in 2015 the margin was 16,130 and
in 2014 they kept the second seat by only 21,389 in population The 2010 Census gave
Rhode Island their second seat but with only 52,481 people to spare. At this rate, they
will be down to just one district in the next several years, the first time this has occurred
to Rhode Island since 1789 when the nation was formed. This is confirmed in the 2020
study data. They would join six or seven other states that also just have a single repre-
sentative in the US House (Alaska, Delaware, Montana, North Dakota, South Dakota,
Vermont and Wyoming). Note that one projection method shows Montana gaining a
second seat.

Montana — The state is at the cusp of possibly gaining back its second seat in Congress,
something it held from 1910 through 1980. The state dropped to a single seat in the
House of Representatives from 1990 to the current time. The long-term (2010-2017) and
mid-change methodology (2014-2017) showed the state at seat #436, just missing an ad-
ditional seat. But, the short-term methodology (2016-2017) gives Montana it’s second
seat with just 2,493 people to spare.

Because congressional apportionment also impacts the Electoral College and the vote for Presi-
dent, Election Data Services took the 2020 projections for each state and applied the Presidential
election results from the past five Presidential contests to determine the Electoral College out-
comes in the past 16 years. The study shows that none of the presidential contests would have
elected a different presidential candidate using the new apportionment counts but they would
have been more Republican in nature. For example, in 2016 President Trump would have gained
an additional electoral college vote under the new apportionment projections. In 2012 President
Obama would still have won the Electoral College, but with four less votes (328 vs 332) that he
won at the time of the voting. The biggest change would have occurred in the 2000 presidential
election where George Bush would have gained an additional 19 electoral votes had the new
2020 apportionment projections determined the number of congressional seats in each state.
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Election Data Services, Inc. “2017 Reapportionment Analysis”
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The 2016 Electoral College was muddled because 7 electors voted for a different candidate than
what they had pledged based on the vote totals. Asa result, the overall change in candidate votes
based on the new apportionment numbers shows just one vote difference in the bottom line re-
sults. President elect Trump’s ability to carry states that will be losing congressional seats in
2020 also contributed to a reversal of the pattern depicted in previous elections.

It should be noted that the 2020 Presidential election and resulting electoral college will occur
before the results of the 2020 Census are released by December 31, 2020. Therefore, the elec-
toral college results in 2020 will be governed by the state’s apportionment allocation as they
exist today, having been first determined in 2011. The first time the new 2020 apportionment
results will be utilized will be the 2024 Presidential election. Election Data Services, Inc. has
also worked with the website 270ToWin, who has built an interactive map of the these new ap-
portionment results where users can adjusts state outcomes to discover electoral college
outcomes for the presidential elections back to 2000.

Major weather events have also affected apportionment. The Census Bureau’s estimated popula-
tions released for 2005 showed Louisiana would keep all their congressional districts that
decade. Even the Bureau’s own projections for 2010 released that same year showed Louisiana
staying the same. Then hurricane Katrina hit Louisiana at the end of August 2005 (after the date
of the population estimates). Devastation and population loss impacted New Orleans in a major
way, and when the Bureau’s 2006 population estimates were released Louisiana was looking at
losing a congressional seat. That was ultimately confirmed when the 2010 Census was taken,
and state data was released at the end of that year.

The year of 2017 saw 18 hurricanes and tropical storms, three of which have the potential of im-
pacting population movements in the US. However, all three significant storms (Harvey
(affecting Houston area), Irma (impacting Miami and the Florida Gulf Coast), and Maria (which
devastated Puerto Rico)) occurred in August and September 2017, after the date of coverage for
the Census Bureau’s population estimates released today. “It won’t be until next year when we
see whether population lost in Houston was enough to keep Texas at gaining only two districts
instead of three.” noted Brace. “And while Irma may have cut down some population in Florida,
Maria’s wide-spread and on-going impact in Puerto Rico has reportedly led to more than a quar-
ter million American citizens to move to Florida, mainly in the center of the state.” Brace said.
The 2017 study released today showed Florida missed gaining a 29th seat by only 366,735 peo-
ple. It won’t be until the 2018 estimates are released next year that the storm’s impact will be
seen in the numbers.

The 2017 population estimates have not been statistically adjusted for any known undercount. In
addition, no estimates were provided for U.S. military personnel overseas. This component has
in the past been counted by the Census Bureau and allocated to the states. Overseas military per-
sonnel have been a factor in the apportionment formula for the past several decades, including
the switching of the final district in 2000 that went from Utah to North Carolina. Observers
are also awaiting the Census Bureau’s and/or Trump administration’s release of the “residency
rules” that will dictate where college students, the military, and prisoners will be counted in the
2020 census, which in turn could impact the apportionment process. The lack of a Census Direc-
tor could also have an impact on how well the Census is conducted, and therefore the quality of
the apportionment numbers.
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Past apportionment studies by Election Data Services, Inc. can be found at
https://www.electiondataservices.com/reapportionment-studies/. A historical chart on the num-
ber of districts each state received each decade from 1789 to current is also available at this web
address and linkable at https://www.electiondataservices.com/wp-content/uploads/2014/10/CD-
apportionment-1789-2010.pdf.

Election Data Services Inc. is a political consulting firm that specializes in redistricting, election
administration, and the analysis of census and political data. Election Data Services, Inc. con-
ducts the congressional apportionment analyses with each annual release of the census
population estimates. For more information about the reapportionment analysis, contact Kimball
Brace (703-580-7267 or 202-789-2004 or kbrace@electiondataservices.com).
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apportionment2017CBEstimatesC1.xls

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Election Data Services, Inc. Confidential 12/23/2017 Page 1
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Election Data Services, Inc. Confidential 12/24/2017 Page 1
 

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2016 Presidential Election

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elector voted for John Kasich for President
e elector voted for Ron Paul for President
Three electors voted for Colin Powell for
elector voted for Faith
elector voted for Bernie Sanders

 

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2012 Presidential Election 2008 Presidential Election

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:Apportionment: Electoral | Electoral 2012} For :VotesFor: For For : For For For
Count (2010- ? College : College | College Obama | Romney | Obama McCain | Obama: McCain
2017 Trend) } Count | Count } Count Victor (Rep) (D)

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2000 Presidential Election

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EXHIBIT 3
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Table 1; Baseline Reapportionment Projections for 2020

Population Congressional
Projection Seats

State

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ka 742 1
na 7,313,40 10
sas 3,040 4
California 1 53
Colorado 5,861 8
necticut 3,577,21 5
Delaware 987
Florida 29
Geor 10,756,96
Hawaii 1,436,
Idaho 1,800,4
Illinois 7
Indiana 6,735
lowa 3,182
Kansas 2,925
4,494,71
Louisiana 4,717,15
Maine 1,342,36
6
Massachusetts 6,954,6
Mich 18
Minnesota §,692,81
Mississi 2
Missouri 6,164
Montana 1,079
Nebraska 1,956,71
Nevada 159,44
New 1,355,
New 5 46
New Mexico 2,092,5
New York 19,919,1
North Carolina 10,588,16
North Dakota 771
Ohio 1
Oklahoma 3,982
Or 4,317
ia 12,819,
Rhode Island 1 1
Carolina 5,214,911
Dakota
ennessee 6,881,6
exas 29,604
Utah 3,259,
ermont 621
inia 8,612
7,751
1,787,2
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DC 725
United States 332,480,28

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Table 2A: Reapportionment Projections for 2020 With 2% Undercount Due to Citizenship Question

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State Projected Percent Percent sGaskcasic Statewide Projected Census Congressional
Population Hispanic Non-Citizen er Undercount Count Seats
Non-Citizen

Alabama 4,906,793 431% 207% 0 89% 5,108 4,901,685 6
Alaska 742,589 7 28% 405% 3.73% 1,635 740,954 1
Arizona 7,313,407 32.18% 6.76% 237% 50,529 7,262,878 10
Arkansas 3,040,950 7 95% 3 04% 130% 5,628 3,035,322 4
California 40,318,943 39.63% 12.36% 5 03% 360,090 39,958,853 52
Colorado 5,861,962 21.83% 5 30% 2 38% 28,380 5,833,582 8
Connecticut 3,577,217 17.20% 7 23% 402% 15,182 3,562,035 5
Delaware 987,534 9.69% 6.67% 302% 2,511 985,023 1
Florida 22,034,897 27.08% 9.44% 3.66% 135,493 21,899,404 29
Georgia 10,756,967 10.06% 5.75% 2 06% 28,211 10,728,756 14
Hawaii 1,436,609 10.92% 7 08% 6.61% 5,039 1,431,571 2
Idaho 1,800,494 12.82% 3 33% 1.18% 5,042 1,795,452 2
Illinois 12,728,769 17.75% 7 22% 3.48% 54,043 12,674,726 17
Indiana 6,735,072 7 39% 352% 202% 12,673 6,722,398 9
lowa 3,182,989 6 30% 325% 205% 9,313 3,177,677 4
Kansas 2,925,620 12.37% 3 86% 1.70% 8,236 2,917,385 4
Kentucky 4,494,713 3.67% 2.12% 131% 4,480 4,490,234 6
Louisiana 4,717,157 5 58% 2 50% 099% 6,204 4,710,953 6
Maine 1,342,361 1.79% 120% 1.14% 785 1,341,576 is
Maryland 6,128,312 10.94% 6 98% 3.85% 18,122 6,110,190 8
Massachusetts 6,954,630 12.83% 852% 651% 26,911 6,927,719 9
Michigan 10,006,187 5 32% 3 84% 3.03% 16,708 9,989,480 13
Minnesota 5,692,816 5 56% 439% 3 28% 10,071 5,682,746 7
Mississippi 2,980,001 307% 1.15% 054% 2,154 2,977,847 4
Missouri 6,164,890 452% 2 34% 159% 7,535 6,157,355 8
Montana 1,079,348 403% 091% 056% 990 1,078,358 2
Nebraska 1,956,716 11.75% 4.73% 2 09% 5,413 1,951,303 3
Nevada 3,159,442 29.81% 9.63% 3.16% 20,834 3,138,608 4
New Hampshire 1,355,867 435% 3.18% 2.74% 1,923 1,353,945 2
New Jersey 9,063,461 21.49% 10.39% 5.68% 49,249 9,014,212 12
New Mexico 2,092,538 49.80% 488% 0.99% 21,258 2,071,280 3
New York 19,919,166 19.79% 9.67% 5.75% 101,714 19,817,453 26
North Carolina 10,588,169 9.76% 495% 2.40% 25,754 10,562,415 14
North Dakota 771,081 433% 3.14% 2 55% 1,062 770,019 1
Ohio 11,718,404 405% 2 34% 1 83% 13,795 11,704,609 15
Oklahoma 3,982,803 11.48% 3.43% 129% 10,176 3,972,628 5
Oregon 4,317,379 13.58% 496% 258% 13,954 4,303,425 6
Pennsylvania 12,819,483 8.13% 3.46% 247% 27,165 12,792,319 17
Rhode Island 1,064,112 16.81% 6 36% 353% 4,327 1,059,785 1
South Carolina 5,214,916 6 05% 259% 1.17% 7,529 5,207,387 7
South Dakota 888,634 382% 2 35% 085% 830 887,804 1
Tennessee 6,881,637 5 84% 335% 1.68% 10,348 6,871,289 9
Texas 29,604,237 40,19% 10.59% 3.01% 255,745 29,348,492 39
Utah 3,259,702 14.49% 5 32% 2 06% 10,785 3,248,917 4
Vermont 621,822 2.11% 2.11% 194% 504 621,319

Virginia 8,612,962 9 86% 5 89% 3 36% 22,785 8,590,177 11
Washington 7,751,401 13.22% 7.73% 4.71% 27,810 7,723,591 10
West Virginia 1,787,238 120% 089% 0.76% 701 1,786,537 2
Wisconsin 5,836,321 7 28% 2.61% 157% 10,332 5,825,989 8
Wyoming 575,656 10.28% 2.11% 083% 1,279 574,377 1
Washington DC 725,909 11.70% 9.60% 5 83% 2,544 723,365

United States 332,480,287 18.77% 6.86% 3.25% 1,464,886 331,015,401 435

 

 
Table 2B: Reapportionment Projections for 2020 With 5.8% Undercount Due to Citizenship Question

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State Projected Percent Percent sidnsdcac Statewide Projected Census Congressional
Population Hispanic Non-Citizen or Undercount Count Seats
Non-Citizen

Alabama 4,906,793 431% 2 07% 0 89% 14,812 4,891,981 6
Alaska 742,589 7 28% 405% 3.73% 4,742 737,847 1
Arizona 7,313,407 32.18% 6.76% 2 37% 146,534 7,166,873 10
Arkansas 3,040,950 795% 3.04% 130% 16,320 3,024,630 4
California 40,318,943 39.63% 12.36% 5 03% 1,044,261 39,274,682 52
Colorado 5,861,962 21.83% 5 30% 2 38% 82,302 5,779,660 8
Connecticut 3,577,217 17.20% 7 23% 402% 44,029 3,533,188 5
Delaware 987,534 9.69% 6.67% 3.02% 7,282 980,252 1
Florida 22,034,897 27.08% 9.44% 3.66% 392,930 21,641,967 29
Georgia 10,756,967 10.06% 5,75% 2 06% 81,811 10,675,156 14
Hawaii 1,436,609 10.92% 7 08% 6.61% 14,613 1,421,997 2
Idaho 1,800,494 12.82% 3 33% 1.18% 14,622 1,785,873 2
Illinois 12,728,769 17.75% 7 22% 3.48% 156,726 12,572,044 17
Indiana 6,735,072 7 39% 352% 202% 36,752 6,698,319 9
lowa 3,182,989 6 30% 3 25% 205% 15,406 3,167,583 4
Kansas 2,925,620 12.37% 3 86% 1.70% 23,884 2,901,736 4
Kentucky 4,494,713 3.67% 2.12% 131% 12,991 4,481,723 6
Louisiana 4,717,157 5 58% 2 50% 0.99% 17,992 4,699,165 6
Maine 1,342,361 1.79% 120% 1.14% 2,277 1,340,084 2
Maryland 6,128,312 10.94% 6 98% 3 85% 52,554 6,075,758 8
Massachusetts 6,954,630 12.83% 852% 651% 78,042 6,876,588 9
Michigan 10,006,187 5 32% 3 84% 3.03% 48,452 9,957,735 13
Minnesota 5,692,816 5 56% 4 39% 3 28% 29,204 5,663,612 8
Mississippi 2,980,001 3.07% 1.15% 054% 6,247 2,973,754 4
Missouri 6,164,890 452% 2 34% 159% 21,851 6,143,039 8
Montana 1,079,348 403% 091% 0 56% 2,870 1,076,477 2
Nebraska 1,956,716 11.75% 4.73% 209% 15,698 1,941,018 3
Nevada 3,159,442 29.81% 9.63% 3.16% 60,419 3,099,023 4
New Hampshire 1,355,867 435% 3.18% 2.74% 5,377 1,350,291 2
New Jersey 9,063,461 21.49% 10.39% 5.68% 142,821 8,920,639 12
New Mexico 2,092,538 49.80% 488% 099% 61,647 2,030,891 3
New York 19,919,166 19.79% 9.67% 5.75% 294,969 19,624,197 26
North Carolina 10,588,169 9.76% 495% 2.40% 74,688 10,513,481 14
North Dakota 771,081 433% 3.14% 2 55% 3,080 768,001 1
Ohio 11,718,404 405% 2 34% 1 83% 40,005 11,678,399 15
Oklahoma 3,982,803 11.48% 3.43% 129% 29,509 3,953,294 5
Oregon 4,317,379 13.58% 496% 2 58% 40,466 4,276,913 6
Pennsylvania 12,819,483 8.13% 3.46% 247% 78,778 12,740,706 17
Rhode Island 1,064,112 16.81% 6 36% 353% 12,548 1,051,564 1
South Carolina 5,214,916 6 05% 259% 1.17% 21,833 5,193,083 a
South Dakota 888,634 3 82% 2 35% 085% 2,406 886,227 1
Tennessee 6,881,637 5 84% 335% 1.68% 30,010 6,851,627 9
Texas 29,604,237 40.19% 10.59% 301% 741,661 28,862,576 38
Utah 3,259,702 14.49% 5 32% 2 06% 31,278 3,228,425 4
Vermont 621,822 2.11% 2.11% 194% 1,461 620,362

Virginia 8,612,962 9 86% 5 89% 3 36% 66,078 8,546,884 11
Washington 7,751,401 13.22% 7.73% 4.71% 80,649 7,670,752 10
West Virginia 1,787,238 120% 089% 0.76% 2,033 1,785,205 2
Wisconsin 5,836,321 7 28% 2.61% 157% 29,963 5,806,358 8
Wyoming 575,656 10.28% 2.11% 0 83% 3,709 571,947 1
Washington DC 725,909 11.70% 9.60% 5 83% 7,378 718,531

United States 332,480,287 18.77% 6.86% 3.25% 4,248,169 328,232,119 435

 

 
Table 2C: Reapportionment Projections for 2020 With 8.09% Undercount Due to Citizenship Question

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State Projected Percent Percent susdsaic Statewide Projected Census Congressional
Population Hispanic Non-Citizen or Undercount Count Seats
Non-Citizen

Alabama 4,906,793 431% 2 07% 0 89% 20,660 4,886,133 7
Alaska 742,589 7 28% 405% 3.73% 6,614 735,975 1
Arizona 7,313,407 32.18% 6.76% 2 37% 204,330 7,109,017 9
Arkansas 3,040,950 795% 3.04% 130% 22,763 3,018,187 4
California 40,318,943 39.63% 12.36% 5 03% 1,456,564 38,862,379 52
Colorado 5,861,962 21.83% 5 30% 2 38% 114,797 5,747,165 8
Connecticut 3,577,217 17.20% 7 23% 402% 61,413 3,515,804 5
Delaware 987,534 9.69% 6.67% 3.02% 10,157 377,377 1
Florida 22,034,897 27.08% 9.44% 3.66% 548,070 21,486,828 29
Georgia 10,756,967 10.06% 5.75% 3 06% 114,112 10,642,855 14
Hawaii 1,436,609 10.92% 7 08% 6.61% 20,382 1,416,227 2
Idaho 1,800,494 12.82% 3 33% 1.18% 20,395 1,780,100 2
Illinois 12,728,769 17.75% 7 22% 3.48% 218,605 12,510,164 17
Indiana 6,735,072 7 39% 352% 202% 51,263 6,683,809 9
lowa 3,182,989 6 30% 325% 205% 21,489 3,161,500 4
Kansas 2,925,620 12.37% 3 86% 1.70% 33,314 2,892,306 4
Kentucky 4,494,713 3.67% 2.12% 131% 18,120 4,476,594 6
Louisiana 4,717,157 5 58% 2 50% 099% 25,095 4,692,062 6
Maine 1,342,361 1.79% 120% 1.14% 3,176 1,339,185 2
Maryland 6,128,312 10.94% 6 98% 3 85% 73,303 6,055,009 8
Massachusetts 6,954,630 12.83% 852% 651% 108,856 6,845,774 9
Michigan 10,006,187 5 32% 3 84% 3.03% 67,582 9,938,605 13
Minnesota 5,692,816 5 56% 4 39% 3 28% 40,735 5,652,081 8
Mississippi 2,980,001 3 07% 1.15% 0 54% 8,713 2,971,288 4
Missouri 6,164,890 452% 2 34% 159% 30,478 6,134,412 8
Montana 1,079,348 403% 091% 0 56% 4,004 1,075,344 2
Nebraska 1,956,716 11.75% 4.73% 209% 21,897 1,934,820 3
Nevada 3,159,442 29.81% 9.63% 3.16% 84,274 3,075,168 4
New Hampshire 1,355,867 435% 3.18% 2.74% 7778 1,348,089 2
New Jersey 9,063,461 21.49% 10.39% 5.68% 199,211 8,864,250 12
New Mexico 2,092,538 49.80% 488% 099% 85,987 2,006,551 3
New York 19,919,166 19.79% 9.67% 5.75% 411,431 19,507,735 26
North Carolina 10,588,169 9.76% 495% 2.40% 104,177 10,483,993 14
North Dakota 771,081 433% 3.14% 255% 4,296 766,785 i
Ohio 11,718,404 405% 234% 183% 25,800 11,662,604 15
Oklahoma 3,982,803 11.48% 3.43% 129% 41,161 3,941,643 5
Oregon 4,317,379 13.58% 496% 2 58% 56,443 4,260,936 6
Pennsylvania 12,819,483 8.13% 3.46% 2.47% 109,881 12,709,602 17
Rhode Island 1,064,112 16.81% 6 36% 353% 17,502 1,046,610 1
South Carolina 5,214,916 6 05% 259% 1.17% 30,454 5,184,462 a
South Dakota 888,634 3 82% 2 35% 085% 3,357 885,277 1
Tennessee 6,881,637 5 84% 335% 1.68% 41,858 6,839,778 9
Texas 29,604,237 40.19% 10.59% 3 01% 1,034,489 28,569,748 38
Utah 3,259,702 14.49% 5 32% 2 06% 43,627 3,216,075 4
Vermont 621,822 2.11% 2.11% 194% 2,037 619,785

Virginia 8,612,962 9 86% 5 89% 3 36% 92,167 8,520,795 11
Washington 7,751,401 13.22% 7.73% 4.71% 112,492 7,638,909 10
West Virginia 1,787,238 120% 089% 0.76% 2,835 1,784,403 2
Wisconsin 5,836,321 7 28% 2.61% 157% 41,793 5,794,528 8
Wyoming 575,656 10.28% 2.11% 0 83% 5,174 570,482 1
Washington DC 725,909 11.70% 9.60% 5 83% 10,291 715,618

United States 332,480,287 18.77% 6.86% 3.25% 5,925,463 326,554,824 435

 

 
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% LO" L- %LLO'O- %896'0 %LLB'L 71¢'SlZ %6E'0 %LLLT %S1'S6 %86'0 06S‘08Z Ayuno> qqa
% BLO L- %LE0'O- %8Z0'E SPSS | pIp'T9s %SEO %PT'6T %LEZE %90°E 069248 Ayuno) o3jepiHq ser
%zOL'O- %LL0°0- %PO9 OL %9P6'O 6L0'EZL'v %0S'P %T6'9T %I8 CP %Z9'OL B6L'89L'b AUuNOD sue}
%Leg'O- %SZ0'0- WEBS %BS9' | 00L'St8 %T6'0 %SO'PT %E0'78 %00°E 796'658 Ayuno) ose [3
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%£00'0 %£00'0 %9E8' 86 %SLL'O 690°€Z8 %LL'T METZ %SO0'P %E8'86 S40'vZ8 a1eis 40 }s0y ejoyeq yAnas
%BPZO- %€00'0- %PIL'L %99EO €8z‘OT %SZ'ET CL ET %S0°9 MLE Tz€'0T Ajuno> ppoL
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%8S0'0- %EPO'O- %96P'EL %869'0 pL8'9LT'2 %BE'E %T8'OT %ZS'TE PS ed v8T'Z6T'Z Ajuno) 44e|3
%ZEON'O %£20'°0 %LS8 PB %SS2'0 TS2Z'SL1'S %S6'E %er'9 %08°8 %ZO' Pe 68r'T6T'S B}EIS 40 Jsay sueieR
%BLb'O- %£Z0'0- %6rL'SL %99r'O ELb'bZ6 %89't %66° ZT %09°8T %EL'SL L6L'826 Ayuno9 s,a810a9 adulid
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%P6L'O- %0S0°0- %LS9'SZ %GLO'L 08'tST ‘OT %88'7 %P8'ST %98'8r %lLL SZ ZET‘S9Z'OT Ajuno> sajasuy so] "ae
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%€60'0 %620°0 %P06' PB %6EL'0 OOT'EST'S %56°E Mero %08'8 %c8' PS 68b'T6T'S S1e}s JO 159y
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%68E 0 %LEEO %PS6'98 %60€' | TLS'TS6°T SPE %EL'D %TT'6T %29'98 cT0'0¢2'8T aqeis JO 1s8y epuol4
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Lee %6L0°0 WELL PE EEL L 980'rOr'z “POT %b0'S YPC BC %69'PE Tsr'9orp'Z S}E}S JO Say
ESE b- %8S0'0- %c06'2 %O0L8°E T99'002 OFZ %SE'ST EDO 96S GEL'80Z Aquno> ewn, euozity
PEG c- Yo6L0°0- %lLE9'0 %L68'P S6S'Et %LP'O %OS'TT %S8°E8 %59°0 LE8'SP Ayuno3 zZnd3 eyes .
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% 68h b- YerPO'O- PEO ESL L Se3' BSc %6E'0 %LELT %SP'S6 %86'0 06s‘08z Ayuno> qqam
Bee fF %62b'O- 086 e SLOG L SS ITs %SE'0 %PT'6T MLE 76 %90°E 069'2/8 AQuNO>D O8|epIH sexai
Sorer O- Sob L0O- LSS OL %8e8 E 069'S8S't %0S'P %T6'9T “le er %29 SL 861892‘ Ayuno3 siiey
%o80P E- %20b'O- 968 2 %0LL9 $9z'z08 %T6'0 %S0'tT %EO' CE %00°E 796'6S8 Ajuno3 osed [3
ESL O- Sor LO'O- %E0e 6 %S9S°E Lee’ 6rs'Z MELE %29'OT %SE OF ‘ote 6 TLO‘'pr9'Z Ajunos seyjeq
%2L0°0 %elO0 %SP8 86 %99r 0 vO0'OL8 MTL T ‘pee %S0'P £8 86 S10'r28 ayes JO [S904 e10yeq yanos
%6800° L- %elOO- SSL 08 | {897 ‘OT SC CT MeL'CL %50°9 YL L TZE‘OT AyunoD ppol
POE 0 688 b'O WCEP 26 %oL06' | j€6t'Z9T ‘8 bo %09°8 98 BT Sore 26 SOL‘0ZE'B Syeys JO 1584 Aasiar MON
YorCr c- %88 L'O- WL9oL rly F |gez's99 %6P TT MPV ES TS EP OL L LES‘669 Ayuno> uospny
S990 o9Lb°O WHLEO'9e SPS | 7BPELL %08'T ‘*TE'9 EC TE %9b'9C TZ8‘88Z ayeys JO 158y epeaan
%6ET O- %9ILL'O- WEQe EL Seo é BSZ OET‘Z %BE"E %T80T MES TE PS EL pST‘Z6T'Z AuNOD 4412/3
LEO SoLEL'O “oSE6 FB %LEO'L €v6'LET'S 56° ‘ergo 088 eB rs 68‘T6T'S s7e1s JO 1584
%LELO- LLL O- %S90'SL %EBS | 90E'TTE 89 %66'CT %09°8T %BL'SL 46L'876 AjUNOD $,981089 aoulid PHEIAIEIN
LPS 0 SorLP Oo %L60'28 %SZB'L 6cr'.88'ZT SPE MELD %TT6T %c9'98 zL0‘0@2'ST SJEIS JO [S3y epuol4
OFS E- [PLP O- 606 2b 98'S SBE'TS9'Z “SPE %08' TS %IP'B9 BE EL T2t'sts'z AjUNOD apeg-!welVy ‘
6120 L020 00S PL 008 'E 689°989'8Z LO %cO'CT MET IE bE PL |8T2'S99'6z ayes jo 1594 ejuayye>
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SoSPL a %o-B80°0- 6182 %86E°S TLp'L6T “OPC %SE°ST cE Po 962 GEL'807 Ajuno3 ewn, auozy
608 t- %L200- Yee 0 %oles'o OTL'2r LPO %99 TT %58'E8 590 LES’SP Aquno3 zni3 eques .
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Table 4A: Statewide for 2020 With Undercount Rates Due to

       

Projected » é Percent Scientia Population Estimate Statewide
ercen atewide

Population as - Non-Hispanic, Und ‘ (as of July 2020) Undercount

July 2020 meee Non-Citizen wee With Undercount Percentage

Alabama 4
Alaska 74
Arizona fi 4
3,044
California 390
Colorado 5
Connecticut 3,57
Delaware 989
Florida 22,130,39
10,786,7
Hawaii 4374
Idaho 1
Ilinois 12 11
Indiana 7

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New Hampshire
New
New Mexico
New York 19,925
North Carolina 10,61
North Dakota
Ohio 11,723,
Oklahoma 3,987,52
4 5.
Penns nia 12,820,75
Rhode Island 1
South Carolina 5,23 4
South Dakota 889
ennessee
exas 29,465,10
Utah ! 3, 1
Vermont j 621,1
ia 603
7,754
West i ; : 783
Wisconsin
574.
Ww. DC
United States
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Table 4B: Statewide Population Projections for July 2021 With Undercount Rates Due to Citizenship Question

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Projected Percent 7 Population Estimate Statewide
7 Percent . 7 Statewide
State Population Hiaoanie Non-Hispanic, tindarcoait (as of July 2021) Undercount
July 2021 Non-Citizen With Undercount Percentage
Alabama 4,921,359 4.39% 0.88% 5,189 4,916,170 0.11%
Alaska 743,860 7.41% 3.95% 1,691 742,169 0.23%
Arizona 7,448,469 32.52% 2.34% 51,934 7,396,535 0.70%
Arkansas 3,057,619 8.18% 1.37% 5,838] 3,051,780 0.19%
California 40,674,529 39.84% 5.09% 365,485 40,309,044 0.90%
Colorado 5,977,784 21.96% 2.42% 29,150 5,948,634 0.49%
Connecticut 3,572,232 17.68% 3.90% 15,421 3,556,811 0.43%
Delaware 999,168 9.86% 3.02% 2,575 996,592 0.26%
Florida 22,512,396 27.72% 3.68% 141,364 22,371,033 0.63%
Georgia 10,905,871 10.25% 3.14% 29,206 10,876,665 0.27%
Hawaii 1,440,733 11.11% 6.48% 5,068 1,435,665 0.35%
Idaho 1,838,472 12.98% 1.17% 5,202 1,833,270 0.28%
Illinois 12,695,472 17.98% 3.59% 54,767 12,640,705 0.43%
Indiana 6,766,096 7.60% 2.14% 13,183 6,752,912 0.19%
lowa 3,199,934 6.47% 2.08% 5,476 3,194,458 0.17%
Kansas 2,931,301 12.60% 1.71% 8,389 2,922,912 0.29%
Kentucky 4,513,134 3.76% 1.32% 4,580 4,508,554 0.10%
Louisiana 4,732,077 5.75% 0.99% 6,383 4,725,694 0.13%
Maine 1,345,295 1.86% 1.05% 782 1,344,513 0.06%
Maryland 6,162,919 11.30% 3.75% 18,560 6,144,359 0.30%
Massachusetts 6,997,726 13.28% 6.75% 28,027 6,969,699 0.40%
Michigan 10,026,131 5.44% 3.19% 17,303 10,008,828 0.17%
Minnesota 5,745,639 5.67% 3.44% 10,476 5,735,163 0.18%
Mississippi 2,978,138 3.16% 0.54% 2,203 2,975,935 0.07%
Missouri 6,188,234 4.67% 1.66% 7,835 6,180,399 0.13%
Montana 1,092,463 4.17% 0.48% 1,015 1,091,448 0.09%
Nebraska 1,973,371 12.11% 2.20% 5,647 1,967,724 0.29%
Nevada 3,232,808 30.22% 3.16% 21,583 3,211,225 0.67%
New Hampshire 1,361,809 4.61% 2.86% 2,037 1,359,773 0.15%
New Jersey 9,089,741 21.97% 5.78% 50,448 9,039,293 0.56%
New Mexico 2,094,569 50.27% 0.99% 21,474 2,073,095 1.03%
New York 19,950,879 20.05% 5.67% 102,643 19,848,236 0.51%
North Carolina 10,731,238 9.94% 2.52% 26,740 10,704,498 0.25%
North Dakota 778,212 4.70% 2.74% 1,157 777,055 0.15%
Ohio 11,745,584 4.19% 1.88% 14,269 11,731,314 0.12%
Oklahoma 4,006,412 11.86% 1.30% 10,544 3,995,868 0.26%
Oregon 4,396,744 13.80% 2.60% 14,424 4,382,319 0.33%
Pennsylvania 12,825,822 8.49% 2.54% 28,299 12,797,524 0.22%
Rhode Island 1,066,145 17.43% 3.61% 4,488 1,061,657 0.42%
South Carolina 5,301,528 6.21% 1.17% 7,816 5,293,712 0.15%
South Dakota 897,255 3.92% 0.67% 824 896,432 0.09%
Tennessee 6,956,934 6.04% 1.74% 10,822 6,946,111 0.16%
Texas 30,194,983 40.51% 3.11% 263,417 29,931,566 0.87%
Utah 3,331,461 14.69% 2.13% 11,207 3,320,254 0.34%
Vermont 620,988 2.20% 1.97% 518 620,471 0.08%
Virginia 8,677,936 10.10% 3.37% 23,380 8,654,556 0.27%
Washington 7,908,519 13.45% 4.83% 28,906 7,879,613 0.37%
West Virginia 1,774,229 1.17% 0.82% 706 1,773,523 0.04%
Wisconsin 5,854,884 7.46% 1.63% 10,645 5,844,239 0.18%
Wyoming 573,993 10.40% 0.81% 1,286 572,707 0.22%
Washington DC 740,426 11.94% 6.09% 2,670 737,756 0.36%
United States 335,553,518 19.09% 3.31% 1,503,050 334,050,468 0.45%

 

 

 

 

 

 

 

 
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Table 4C: Statewide Population Projections for July 2022 With Undercount Rates Due to Citizenship Question

 

Population Estimate

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Projected Percent . Statewide
. Percent . : Statewide (as of July 2022)
State Population : . Non-Hispanic, . nS : Undercount
July 2022 Hispanic MorCitaen Undercount With Siieanahip Darcasteda
Question
Alabama 4,933,012 4.45% 0.88% 5,254 4,927,758 0.11%
Alaska 744,876 7.51% 4.13% 1,735 743,141 0.23%
Arizona 7,556,519 32.78% 2.33% 53,059 7,503,460 0.70%
Arkansas 3,070,953 8.36% 1.42% 6,007 3,064,947 0.20%
California 40,958,998 40.01% 5.13% 369,804 40,589,194 0.90%
Colorado 6,070,441 22.06% 2.46% 29,766 6,040,675 0.49%
Connecticut 3,568,244 18.07% 3.80% 15,612 3,552,632 0.44%
Delaware 1,008,475 10.00% 3.03% 2,627 1,005,848 0.26%
Florida 22,894,395 28.20% 3.70% 146,060 22,748,336 0.64%
Georgia 11,024,994 10.41% 3.20% 30,002 10,994,991 0.27%
Hawaii 1,444,032 11.25% 6.38% 5,091 1,438,940 0.35%
Idaho 1,868,854 13.10% 1.16% 5,330 1,863,524 0.29%
Illinois 12,668,835 18.16% 3.68% 55,346 12,613,489 0.44%
Indiana 6,790,915 7.77% 2.24% 13,592 6,777,324 0.20%
lowa 3,213,489 6.61% 2.11% 5,606 3,207,883 0.17%
Kansas 2,935,846 12.79% 1.71% 8,511 2,927,335 0.29%
Kentucky 4,527,870 3.82% 1.32% 4,660 4,523,209 0.10%
Louisiana 4,744,012 5.89% 0.99% 6,526 4,737,486 0.14%
Maine 1,347,642 1.91% 0.98% 779 1,346,863 0.06%
Maryland 6,190,604 11.59% 3.68% 18,911 6,171,694 0.31%
Massachusetts 7,032,203 13.63% 6.93% 28,919 7,003,284 0.41%
Michigan 10,042,086 5.53% 3.32% 17,780 10,024,306 0.18%
Minnesota 5,787,898 5.76% 3.57% 10,800 5,777,097 0.19%
Mississippi 2,976,648 3.23% 0.54% 2,242 2,974,406 0.08%
Missouri 6,206,910 4.79% 1.72% 8,076 6,198,834 0.13%
Montana 1,102,956 4.28% 0.42% 1,036 1,101,920 0.09%
Nebraska 1,986,695 12.39% 2.29% 5,834 1,980,860 0.29%
Nevada 3,291,500 30.53% 3.16% 22,182 3,269,318 0.67%
New Hampshire 1,366,563 4.83% 2.96% 2,127 1,364,436 0.16%
New Jersey 9,110,765 22.35% 5.87% 51,407 9,059,358 0.56%
New Mexico 2,096,194 50.65% 0.99% 21,648 2,074,546 1.03%
New York 19,976,249 20.26% 5.62% 103,385 19,872,863 0.52%
North Carolina 10,845,692 10.07% 2.62% 27,528 10,818,164 0.25%
North Dakota 783,917 4.99% 2.88% 1,234 782,683 0.16%
Ohio 11,767,327 4.30% 1.92% 14,649 11,752,678 0.12%
Oklahoma 4,025,299 12.17% 1.30% 10,839 4,014,461 0.27%
Oregon 4,460,235 13.98% 2.61% 14,801 4,445,434 0.33%
Pennsylvania 12,830,894 8.78% 2.60% 29,206 12,801,688 0.23%
Rhode Island 1,067,771 17.93% 3.68% 4,616 1,063,155 0.43%
South Carolina 5,370,818 6.33% 1.16% 8,047 5,362,771 0.15%
South Dakota 904,152 4.00% 0.52% 818 903,334 0.09%
Tennessee 7,017,171 6.20% 1.79% 11,202 7,005,969 0.16%
Texas 30,667,580 40.77% 3.18% 269,554 30,398,025 0.88%
Utah 3,388,868 14.85% 2.18% 11,544 3,377,324 0.34%
Vermont 620,321 2.27% 1.99% 529 619,792 0.09%
Virginia 8,729,915 10.29% 3.38% 23,856 8,706,058 0.27%
Washington 8,034,213 13.62% 4.92% 29,783 8,004,430 0.37%
West Virginia 1,763,822 1.15% 0.87% 710 1,763,112 0.04%
Wisconsin 5,869,734 7.61% 1.67% 10,896 5,858,839 0.19%
Wyoming 572,663 10.49% 0.79% 1,291 571,371 0.23%
Washington DC 752,040 12.15% 6.31% 2,776 749,264 0.37%
United States 338,012,104 19.33% 3.35% 1,533,593 336,478,511 0.45%

 

 

 

 

 

 

 

 
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Table 5: Select Urbanized Areas Population Projections for April 2020 With Undercount Rates Due to Citizenship Question

 

 

 

 

 

 

 

 

 

 

 

 

 

Z Percent * Census
Urbanized Area Pregacten re mnene Non-Hispanic, Renee nnepectines Undercount
Population | Hispanic ce Undercount Census Count
Non-Citizen Percentage

Atlanta, GA Urbanized Area 5,290,847 11.97% 3.31% 16,169 5,274,678 0.31%
Houston, TX Urbanized Area 5,924,517 40.54% 11.00% 61,067 5,863,450 1.03%
Laredo, TX Urbanized Area 268,594 95.47% 19.42% 6,172 262,422 2.30%
Las Vegas--Henderson, NV Urbanized Area 2,241,788 32.76% 7.94% 18,247 2,223,540 0.81%
Los Angeles--Long Beach--Anaheim, CA Urbanized
Area 12,765,635 47.08% 9.72% 145,015 12,620,620 1.14%
McAllen, TX Urbanized Area 835,516 92.91% 17.21% 18,402 817,113 2.20%
Miami, FL Urbanized Area 6,291,588 47.31% 12.60% 75,379 6,216,209 1.20%
Phoenix--Mesa, AZ Urbanized Area 4,237,700 30.61% 5.03% 30,205 4,207,495 0.71%
Texas portion of El Paso, TX--NM Urbanized Area 785,913 83.23% 13.24% 15,163 770,750 1.93%
New Jersey portion of New York--Newark, NY--NJ--CT
Urbanized Area 6,348,055 23.33% 5.39% 36,463 6,311,592 0.57%
Maryland portion of Washington, DC--VA--MD
Urbanized Area 1,875,855 19.05% 7.32% 9,893 1,865,962 0.53%

 

 

 

 

 

 

 

 
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Table 6: Select State Population Projections for April 2020 With Undercount Rates Due to Citizenship Question

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: Percent : Census
Projected Percent : . Census Projected
State : : : Non-Hispanic, Undercount
Population Hispanic a Undercount Census Count
Non-Citizen Percentage
Arizona 7,288,368 32.18% 2.37% 50,356 7,238,012 0.69%
California 40,222,359 39.63% 5.03% 359,227 39,863,132 0.89%
Florida 22,039,435 27.08% 3.66% 135,521 21,903,914 0.61%
Georgia 10,743,754 10.06% 3.06% 28,176 10,715,578 0.26%
Maryland 6,096,795 10.15% 4.03% 17,299 6,079,496 0.28%
Nevada 3,151,890 29.81% 3.16% 20,784 3,131,106 0.66%
New Jersey 8,992,841 20.65% 5.18% 46,454 8,946,387 0.52%
Texas 29,601,688 40.19% 3.01% 255,723 29,345,965 0.86%

 

 
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EXHIBIT B
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

ROBYN KRAVITZ, et al.

Plaintiffs,

U.S. DEPARTMENT OF COMMERCE, et al.

Defendants.

 

LA UNION DEL PUEBLO ENTERO; et al.
Plaintiffs,

WILBUR L. ROSS, sued in his official capacity

as U.S. Secretary of Commerce; et al.

Defendants.

 

 

Civil Action No. 8:18-cv-01041-GJH

Hon. George J. Hazel

Civil Action No. 8:18-cv-01570-GJH

Hon. George J. Hazel

RULE 26(A)(2)(B) REBUTTAL REPORT AND DECLARATION OF KIMBALL W. BRACE
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REBUTTAL REPORT AND DECLARATION OF KIMBALL W. BRACE
OCTOBER 26, 2018

I. INTRODUCTION

I have reviewed the expert report submitted by Dr. Stuart Gurrea on behalf of the
Government. Dr. Gurrea’s report disputes the undercount assumptions that I relied on for
purposes of the calculations presented in the expert report that I submitted in this matter
on October 5, 2018 (“October 5 Report”). However, he does not otherwise dispute the
calculations or methodology in my October 5 Report.

Based on different undercount assumptions, Dr. Gurrea calculates smaller impacts
resulting from the citizenship question, though his calculations still suggest a reduction in
(i) the percentage share of statewide population for counties in which plaintiffs reside; (ii)
the percentage share of the nationwide population for states in which plaintiffs reside; and
(iii) the percentage share of statewide population for urbanized areas in which plaintiffs
reside. Because the undercount assumptions in my October 5 Report and in Dr. Gurrea’s
report are beyond the scope of my opinions, I do not address the merits of those
assumptions here. However, I submit this rebuttal report to provide several additional
calculations that show the impact of the citizenship question under a wider range of
undercount assumptions, including some of those used in Dr. Gurrea’s report.!

Il. CALCULATIONS
A. Vote Dilution

My initial Tables 3A, 3B, and 3C had calculated the reduction in the share of the
statewide population for various counties across the United States, with undercount
scenarios of 2%, 5.8%, and 8.09% as to all Hispanics and non-citizens. To challenge my
calculations, Dr. Gurrea projected the populations of these counties with a 2%, 5.8%, and
8.09% undercount as to all Hispanics and non-citizens, but mitigated with a NRFU success
rate of 98.58% (“Historical NRFU Rate”). Based on his calculations, Dr. Gurrea claimed that
in all of these undercount scenarios, each county’s share of the statewide population is “at
most one tenth of one percent.” His Table 4 appears to indicate that for many counties, the
effect is actually 0.0%. In response to this, | have performed the following additional
calculations.

First, | note that Dr. Gurrea only provided an estimation at one decimal point. I have

 

1 Due to my schedule and the limited time available to prepare this rebuttal report, I have relied on
Ashenfelter & Ashmore to assist in performing these additional calculations.
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reformatted his calculations out to 3 decimal points, which show an effect for almost every
county in question under the three undercount scenarios considered by Dr. Gurrea. Put
another way, there is a percentage reduction in the statewide share of the population for
almost every county, even under his calculations. See Gurrea’s Table 4 Reformatted.

Second, for several plaintiffs, if one looks at a smaller unit of geography, the effect
on vote dilution is even clearer. Especially for those who live in large counties that contain
multiple legislative districts (Clark County, for example), it is more appropriate to look at
smaller geographies to evaluate the vote dilution effect. | have replicated my original Table
3 for asmaller unit of geography, the PUMA.? See Tables 3A.1, 3B.1, and 3C.1. For many
PUMAs, you can see that the effect of vote dilution is even stronger than seen at their
respective county level. And almost all PUMAs experience a vote dilution effect.?

Third, using ACS PUMS microdata samples allows us to consider the impact of a
citizenship question on the undercount of individuals living in non-citizen households
regardless of whether they are themselves non-citizens. | understand that the Census
Bureau has projected that these individuals will suffer from a differentially low self-
response rate due to the citizenship question.* Thus, I have replicated these tables with an
additional undercount of individuals living in non-citizen households (who are not
Hispanic or non-citizens themselves).° I applied the undercount scenarios to this group as
well to produce Tables 3A.2, 3B.2, and 3C.2. This shows an even greater degree of vote
dilution for many PUMAs.

Fourth, | note that in calculating the effect of a 2% undercount with the Historical
NRFU Rate based on Dr. Mathiowetz’s estimates, Dr. Gurrea mistakenly applies a 1
percentage point reduction only to non-Hispanic non-citizens rather than to all non-
citizens. I have revised Dr. Gurrea’s calculations to apply the resulting 1.08% undercount

 

2 The PUMA is the Public Use Microdata Areas, which are used for disseminating ACS period
estimates. They nest within states and contain at least 100,000 people. See “Public Use Microdata
Areas (PUMAs),” U.S. Census Bureau, https://www.census.gov/geo/reference/puma.html.

3 Although this appears to reduce the vote dilution effect for the plaintiffs in Santa Cruz and Todd
County, that is because the PUMA is actually bigger than the county itself.

4+ See J. David Brown, Misty L. Heggeness, Suzanne M. Dorinki, Lawrence Warren and Moises Yi,
“Understanding the Quality of Alternative Citizenship Data Sources for the 2020 Census,” August 6,
2018, pp. 35, 39.

5 My original Tables 3A, 3B, and 3C calculated the undercount among Hispanics and non-Hispanic
non-citizens (two demographic groups that I separated out so as to avoid the double-counting of
Hispanic non-citizens). In this recreation of my tables, | include the demographic group of non-
Hispanic citizens living with non-citizens, which is also meant to prevent an overlap with the first
two demographic groups.
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to all non-citizens at the county level (the 1% undercount for all non-citizens plus a 5.8%
undercount of non-citizens mitigated by the Historical NRFU Rate) and then a 0.14%
undercount of Hispanic citizens at the county level (the 10% undercount for Hispanics,
mitigated by the Historical NRFU Rate). See Revised Gurrea Table 4. This shows a greater
degree of vote dilution than suggested by Dr. Gurrea’s original calculation. | also recreated
these tables at the PUMA level to show the added effect of a 0.08% undercount of
individuals living in non-citizen households (a 5.8% undercount mitigated by the Historical
NRFU Rate) in addition to the 1.08% undercount for non-citizens and 0.14% undercount
for Hispanic citizens. See Table 3D.

Fifth, | re-created Table 3 under two undercount scenarios that are consistent with
the Government’s own statements and/or Dr. Gurrea’s report. I first used a 5.8%
undercount for individuals living in non-citizen households (as projected in the Brown et
al. memo), mitigated by the Historical NRFU Rate. Even under this assumption, a vote
dilution effect is observable in many PUMAs where plaintiffs reside. See Table 3E. | also re-
created Table 3 with just a 0.5% undercount of non-citizens (and with no undercount for
Hispanic citizens), See Table 3F, I understand that the Government has acknowledged that
some number of noncitizens in households will not be enumerated and will not go into
NRFU. Using the low end of Dr. Mathiowetz’s estimate of the undercount of noncitizens
attributable to this phenomenon (0.5%), a vote dilution effect is still observable in many
PUMAs where plaintiffs reside.

Finally, my initial Tables 2A, 2B, and 2C showed the effect on congressional
reapportionment under the three undercount scenarios. | have replicated Table 2 with the
percent of non-Hispanic citizens living with non-citizens, for the reasons discussed above.®
See Tables 2A.1, 2B.1, and 2C.1. These tables show that there is still a reapportionment
effect, including in California.

B. Medicaid Funding

For the purposes of evaluating the effect of a 2% undercount on Medicaid funding,
my initial Tables 4A, 4B, and 4C projected the populations of states with a 2% undercount
of Hispanics and a 2% undercount of non-Hispanic, non-citizens. To challenge the

 

6 The percent Hispanic and the percent non-Hispanic, non-citizen in these tables (as well as the
other tables | provide with this report) vary slightly from the percentages | provided in Table 2
(and my other original tables). The ACS summary files at the state level, which I used for the
construction of Table 2, do not include data to allow for the calculation of the percent of non-
Hispanic citizens living with non-citizens. It was necessary to use ACS PUMS data (which is at the
individual level) to calculate that number. For the sake of using a consistent data set for all the
percentages, ACS PUMS data was used across the board.

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calculations of plaintiffs’ retained expert Lisa Carruth, which relied on my initial Tables 4A,
4B, and 4C, Dr. Gurrea estimated the reduction in the Texas FMAP for FY2025 witha 2%
undercount, but mitigated by the Historical NRFU Rate. For this rebuttal report, I
performed the following re-calculations to show that even under a range of undercount
assumptions consistent with the government’s own statements and/or Dr. Gurrea’s report,
there will be an effect on Medicaid funding.

First, | re-calculated my initial Tables 4A, 4B, and 4C using Dr. Gurrea’s corrected
undercount calculation based on Dr. Mathiowetz’s analysis — a 1.08% undercount for non-
citizens and a 0.14% undercount for Hispanics. See Tables 4A.1, 4B.1, and 4C.1.

Second, | re-calculated my initial Tables 4A, 4B, and 4C using a 5.8% undercount for
individuals living in non-citizen households (as projected in the Brown et al. memo),
mitigated by the Historical NRFU Rate. See Table 4A.2, 4B.2, and 4C.2.

Third, | re-calculated my initial Tables 4A, 4B, and 4C with just a 0.5% undercount
of non-citizens (and with no undercount for Hispanic citizens). See Tables 4A.3, 4B.3, and
4C.3.

C. Transportation Funding

For purposes of evaluating the effect of a 2% undercount on transportation funding,
(1) my initial Table 5 projected the populations of select urbanized areas with a 2%
undercount of Hispanics and a 2% undercount of non-Hispanic, non-citizens; and (2) my
initial Table 6 projected the populations of select states with a 2% undercount of Hispanics
and a 2% undercount of non-Hispanic, non-citizens. I noticed an error in Table 5 in the
calculation of the percent non-Hispanic, non-citizen, which | have corrected in the revised
Table 5, attached to this report.

To challenge the calculations of plaintiffs’ retained expert Roger Mingo, which relied
on my initial Tables 5 and 6, Dr. Gurrea estimated the reduction in the transportation
funding for select urbanized areas with a 2% undercount, but mitigated by the Historical
NRFU Rate. For this rebuttal report, I performed the following re-calculations to show that
even under a range of undercount assumptions consistent with the government’s own
statements and/or Dr. Gurrea’s report, there will be an effect on transportation funding.

First, | re-calculated my initial Tables 5 and 6 using Dr. Gurrea’s corrected
undercount calculation based on Dr. Mathiowetz’s analysis — a 1.08% undercount for non-
citizens and a 0.14% undercount for Hispanics. See Revised Gurrea Table 6.

Second, | re-calculated my initial Tables 5 and 6 using a 5.8% undercount for
individuals living in non-citizen households (as projected in the Brown et al. memo),

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mitigated by the Historical NRFU Rate. See Table 5.1; Table 6.1.

Third, | re- calculated my initial Tables 5 and 6 with just a 0.5% undercount of non-
citizens (and with no undercount for Hispanic citizens). See Table 5.2; 6.2.

* * *

I reserve the right to supplement this report if | become aware of additional
information or documentation that would require further analysis and any modification or
addition to my opinions as stated herein.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is
true and correct.

Zarb WM bovee

Kimball William Brace

 

Executed on October 26, 2018 in Washington, D.C.
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Table 4 (Reformatted)

Select Counties' Projections with Citizenship Question and Historical NRFU, Before Imputation

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Mathiowety 2% Undercount 5.8% Undercount 8.09% Underount
with Arstorical NREU with Historical NRFU with Historical NRFU
Absolute
Absolute Change in | Percentage Change Change in Percentage Change | Absolute Change | Percentage Change
Statewide Share of | in Statewide Share | Statewide Share | in Statewide Share | in Statewide Share Jin Statewide Share of
State County Population of Population of Population of Population of Population Population
Maricopa County -0,002% 0.004% 0.000% 0.000%0 0.000% 0.000%
Agieona Santa Cruz County 0,000% 0.054% 0.000% 0.042% 0,000% 058%
Yuma County 0.001% -O.04T Yo -0,001% 0.027% 0.001% -0,038%
Rest of State 0.004% 0,012% 0.001% 0,003% 0,002%0 0.004%
California Los Angeles County 0.004% -0,01 5% 0,002% 008%. -0,003% -0,011%
Rest of State 0.004% 0.005% 0.002% 0.003% 0.003% 0.004%
Horida Miami-Dade County -0,008% 0.061% 0,005% 035% -0,007% 0.049%
Rest of State 0.008% 0.009% 0.005% 0.005% 0.007% 0.008%
Marvland Prince George's County 0.003% “0.019% -0,001% 0.007% 0.002% 0.010%
. Rest of State 0.003%0 0.003% 0.001% 0.001% 0.002% 0.002%
Nevad Clark County 0.006% 0.008% -0,002% 0.002% 0.002% -0,003%0
eva TRest of State 0.006% 0.022% 0.002% 0.007% 0.002% 0.009%
New Jetsey Hudson County 1.008% 101% 0.002% 024% 1.003% ,034%
r Rest of State 0.008% 0.009% 0.002% 0.002% 0.003% 0.003%
South Dakota Todd County 0.001% 0.116% 0.000% 0.010% 0.000% 0.014%
Rest of State 0.001% 0.001% 0.000% 0.000% 0.000% 0.000%
Dallas County 0.001% 0.012% 0.000% 0.001% 0.000% -0,002%0
El Paso County 0.001% 0.041% 0,001 Ya 0.034% 0.001% “0,047 %
‘Tewa Harris County 0.004% 0.024% 0.001% 0.004% 0.001% 0.006%
Hidalgo County 0.002% 0.050% 0.001% 0.042% 0.002% -0.058%
Webb County 001% 0.054% 0.000% 0.044% -0,001% 0,062%0
Rest of State 0.008% 0.013% 0.004% 0.005% 0.005% 0.007%
Washington King County 0.014% 048% 0.000% 0,001 %o 0.001% 0.002%
Rest of State 0.014% 0.020% 0.000% 0.001% 0.001% 0.001%
Sources:

1, Brace Report.

2. NRFU Success Rate.docx

Note: Baseline population, percent Hispanic and percent non-Hispanic/ non-citizen are rounded,

 
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Table 34.1: Select PUMAs' Projections with 2% Undercount Due to Citizenship Question
Version 1: Undercount for Hispanics and Non-Citizens

 

 

 

 

 

 

 

 

 

 

 

 

; Statewide : Statewide Absolute Percentage
City of Plaintitrs  Comesponding Actual PUMA a ae of Peta “Cement Nor peenade Conteh, CASS, Sharsigh’ amen | tone ie
State PUMA ‘Alalnaee ‘County Name in Population Aroal Hispanic Hispanic, Non Citizenship Undercount Counted Share of Share of
Brace Table 3 Projection 2020 Population Citizen ‘Question Percent Population Statewide Statewide
Population Population
121 Phoenix Mancopa 156,695 2.150% 67.314% 7.690% 154,344 = 1.500% 2.132% 0.017% 0.809%
“aitaeiria 900 Nogales Santa Cruz 167,276 2.295% 49.638% 1.373% 165,570 1.020% 2.288% 0.007% 0.326%
700 Somerton Yuma 212,028 2.909% 65.996% 2.707% 209,115 1.374% 2.889% 0.020% 0.682%
Rest of State 6,752,641  92.646% 29.898% 2.521% 6,708,659 0.648% 92.697% 0.045% 0.048%
3735 Los Angeles Los Angeles 213,829 0.532% 60.876% 2.190% 211,132 1.261% 0.530% 0.002% 0.371%
Califomia 3744 Los Angeles Los Angeles 200,382 0.498% 65.606% 6.507% 197,492 1.442% 0.495% 0.003% 0.554%
Rest of State 39,808,392 98.970% 39.374% 5.061% 39,454,624 0.889% 9B.975% 0.005% 0.005%
8619 Miami Miami-Dade 104,872 0.476% 88.981% 1.163% 102,982 1.803% 0.470% 0.006% “1.195%
Florida 9904 West Palm Beach Palm Beach 146,351 0.664% 52.063% 3.437% 144,727 1.110% 0.661% 0.003% 0.497%
Rest of State 21,786,306 98.860% 26,595% 3.735% 21,654,152 0.607% 98.869% 0.009% 0.009%
1105 Bowie Prince Georges 189,951 3.102% 9.906% 3.844% 189,429 0.275% 3.103% 0,001% 0.021%
1104 District Heights Prince Georges 128,858 2.104% 4.509% 3.732% 128,645 0.165%. 2.107% 0.003% 0.132%
Maryland 1101 Hyattsville Prince Georges 121,756 1.988% 54,892% 6.498% 120,261 9 1.228% 1.970% 0.019% 0.934%
1103 Hyattsville Prince Georges 92,644 1.513% 36.158% 2.542% 91,927 O.774% 1.506% 0.007% DATION
Rest of State 5590421  91.293% 9.837% 3.750% 5,575,229 0.272% 91.315% 0.022%. 0.025%
Nevada 406 Las Vegas Clark 137,745 4.369% 54.557 % 3.604% 136,143 9 1,163% 4.347% 0.022% 0.501%
Rest of State 3,014,843 95.631% 28.711% 3.429% 2,995,463 0.643% 95.653% 0.022% 0.023%
New Jersey 601 Jersey City Hudson 141,033 1.555% 28.753% 24,102% 139,542 1.057% 1,547% 0.008% 0.515%
Rest of State 8,926,906  98.445% 21.373% 5.476% 8.878.971 0.537% 98.453% 0.008% 0.008%
South Dakota 200 No Plaintiff Address Todd 99,821 11,.276% 0.513% 0.604% 99,799 0.022% 11,285% 0,009% 0.083%
Rest of State 765,429  68.724% 4.436% 1.355% 764,519 0.116% 8.715% 0.009% 0.011%
2311 Dallas Dallas 102,864 0.347% 43,724% 0.524% 101,954 0.885% 0.347% 0.000% 0.019%
3304 El Paso El Paso 88,948 0.300% 90.923% 0.375% 87,324 1.826% 0.298% 0.003% 0.968%
4612 Houston Haris 117,589 0.397% 61,.276% 1.983% 116,101 1.265% 0.396%. 0.002% 403%
4613 Houston Hanis 125,161 0.423% 27.033% 14.456% 124,122 0.830% 0.423% 0.000% 0.036%
Texas 6804 Edinburg Hidalgo 118,076 0.399% 87.919% 2.397% 115,944 §=1,.806% 0.395% 0.004% 0.949%
6805 McAllen Hidalgo 139,987 0.473% 85.075% 0.468% 137,592 1.711% 0.469% 0.004% 0.852%
6803 Phar Hidalgo 137,347 0.464% 97.819% 0.103% 134,657 1.958% 0.459% 0.005% 1.102%
6301 Laredo Webb 138,775 0.469% 95.823% 1.403% 136,076 1.945% 0.464% 0.005% 1.088%
Rest of State 28,634,150 96.728% 39.064% 3.081% 28,392,792 0.843% 96.750% 0.022% 0.023%
11611 SeaTac King 138.865 1.794% 12.780% 12.621% 138,159 0.508% 1.791% 0.003% 0.144%
Washington 11604 Seattle King 182,041 2.352% 4.076% 5.891% 181,678 0.199% 2.356% 0.004% 0.165%
11606 Shoreline King 121,024 1.564% 16.273% 20.524% 120,133 «0.726% 1.558% 0.006% 0.373%
Rest of State 7,298,592 94.291% 13.425% 4.542% 7,272,365 (0.359% 94.295% 0.005% 0.005%
Note:

Estimates are based on 1-year ACS PUMS microdata samples, from 2014 to 2017.

The level of observation isa PUMA, Additional Geographies (City, State, and Corresponding County Name) are Included for Reference Only.

Tn general, projections rely on the growth rate observed from 2014 to 2017, which is used in turn to project forward from 2017 to April 1, 2020. However, in the 2014 ACS, PUMA #6804 has
zero “Non-Hispanic Non-Citizens" records; consequenlty, the growth rare of that figure would be infinite using the described method. Therefore, for this observation only, projections are based on
the Jevel change from 2014 to 2017, rather than the growth rare .
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Table 3B.1: Select PUMAs' Projections with 5.8% Undercount Due to Citizenship Question

Version 1: Undercount for Hispanics and Non-Citizens

 

 

 

 

 

 

 

 

 

 

 

 

5 Statewide . Statewide Absolute Percentage
City of Plains  Comesponding Actual PUMA ay ae of Peta Cement Nor (Genade Countwihy, Wanals., Sharsigh’ imac | atau ie
State PUMA ‘Adlanaee ‘County Name in Population Arua Hispanic Hispanic, Non Citizenship Undercount Counted Share of Share of
Brace Table 3 Projection 2020 Population Citizen ‘Question Percent Population Statewide Statewide
Population Population
121 Phoenix Mancopa 156,695 2.150% 67.314% 7.690% 149,878 4.350% 2.099% 0.051% 2.379%
“aitaeiria 900 Nogales Santa Cruz 167,276 2.295% 49.638% 1.373% 162,327 2.959% 2.273% 0.022% 0.959%
700 Somerton Yuma 212,028 2.909% 65.996% 2.707% 203,579 3.985% 2.851% 0.058% 2.006%
Rest of State 6,752,641  92.646% 29.898% 2.521% 6,625,672 1.860% 92.776% 0.131% 0.142%
3735 Los Angeles Los Angeles 213,829 0.532% 60.876% 2.190% 206,008 3.658% 0.526% 0.006% 1.095%
Califomia 3744 Los Angeles Los Angeles 200,382 0.498% 65.606% 6.507% 192,001 4.183% 0.490% 0.008% 1.634%
Rest of State 39,808,392 98.970% 39.374% 5.061% 38,782,460 2.577% 98.984% 0.014% 0.014%
8619 Miami Miami-Dade 104,872 0.476% 88.981% 1.163% 99,389 5.228% 0.459% 0.017% “3.506%
Florida 9904 West Palm Beach Palm Beach 146,351 0.664% 52.063% 3.437% 141,640 3.219% 0.654% 0.010% 1.460%
Rest of State 21,786,306 98.860% 26,595% 3.735% 21,403,062 1.759% 98.886% 0.026% 0.027%
1105 Bowie Prince Georges 189,951 3.102% 9.906% 3.844% 188,436 0.798% 3.104% 0.002% 0.062%
1104 District Heights Prince Georges 128,858 2.104% 4.509% 3.732% 128,242 0.478% 2.112% 0.008%. 0.384%.
Maryland 1101 Hyattsville Prince Georges 121,756 1.988% 54,892% 6.498% 117,420 «3.561% 1.934% 0.054% 2.725%
1103 Hyattsville Prince Georges 92,644 1.513% 36,158% 2.542% 90,565 2.245% 1,492% 0.021% 1.398%
Rest of State 5590421  91.293% 9.837% 3.750% 5,546,364 0.788% 91.358% 0.065%. 0.072%
Nevada 406 Las Vegas Clark 137,745 4.369% 54.557 % 3.604% 133,099 3.373% 4.305% 0.064% -14A72%
Rest of State 3,014,843  95.631% 28.711% 3.429% 2,958,642 1.864%. 95.695% 0.064%. 0.067%
New Jersey 601 Jersey City Hudson 141,033 1.555% 28.753% 24,102% 136,709 3.066% 1.532% 0,023% 1.509%
Rest of State 8926906 98.445% 21.373% 5.476% 8,787,896 1557% 98 468% 0.023%. 0.024%
South Dakota 200 No Plaintiff Address Todd 99,821 11,.276% 0.513% 0.604% 99,756 0.065% 11.303% 0.027% 0.241%
Rest of State 765,429  68.724% 4.436% 1.355% 762,791 0.336% 8.697% 0.027% 0.031%
2311 Dallas Dallas 102,864 0.347% 43,724% 0.524% 100,224 = 2.566% 0.347% 0.000% 0.057%
3304 El Paso El Paso 88,948 0.300% 90.923% 0.375% 84,238 5.295% 0.292% 0.009% 2.856%
4612 Houston Haris 117,589 0.397% 61,.276% 1,983% 113,275 3.669% 0.393% 0.005% 1.188%
4613 Houston Hanis 125,161 0.423% 27.033% 14.456% 122,149 2.406% 0.423% 0.000% 0.107%
Texas 6804 Edinburg Hidalgo 118,076 0.399% 87.919% 2.397% 111,891 9= 5.238% 0.388% 0.011% 2.797%
6805 McAllen Hidalgo 139,987 0.473% 85.075% 0.468% 133,042 4.962% 0.461% 0.012% 2.513%
6803 Phar Hidalgo 137,347 0.464% 97.819% 0.103% 129,546 5.679% 0.449% 0.015% “3.250%
6301 Laredo Webb 138,775 0.469% 95.823% 1.403% 130,949 5.639% 0.454% 0.015% 3.208%
Rest of State 28,634,150 96.728% 39.064% 3.081% 27,934,210 2.444% 96.794% 0.066% 0.068%
11611 SeaTac King 138.865 1.794% 12.780% 12.621% 136,819 1.473% 1.786% 0.008% 0.422%
Washington 11604 Seattle King 182,041 2.352% 4.076% 5.891% 180,988 0.578% 2.363% 0.011% 0.483%
11606 Shoreline King 121,024 1.564% 16.273% 20.524% 118,441 9 2.134% 1.546% 0.017% 1.090%
Rest of State 7,298,592 94.291% 13.425% 4.542% 7,222,535 1.042% 94.304% 0.013% 0.014%
Note:

Estimates are based on 1-year ACS PUMS microdata samples, from 2014 to 2017,
The level of observation isa PUMA, Additional Geographies (City, State, and Corresponding County Name) are Included for Reference Only.
Tn general, projections rely on the growth rate observed from 2014 to 2017, which is used in turn to project forward from 2017 to April 1, 2020. However, in the 2014 ACS, PUMA #6804 has

zero "Non-Hispanic Non-Citizens” records; consequenlty, the growth rate of that figure would be infinite using the described method. Therefore, for this observation only, projections are based on

the Jeve! change from 2014 to 2017, rather than the growth rare .
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Table 3C.1: Select PUMAs' Projections with 8.09% Undercount Due to Citizenship Question
Version 1: Undercount for Hispanics and Non-Citizens

 

 

 

 

 

 

 

 

 

 

 

 

; Statewide . Statewide Absolute Percentage
City of Plaintiff's Comesponding Actual PUMA Share of Percent Percent Non-|Census Count with Census Share of Change in Change in
State PUMA ‘Adlalnaee ‘County Name in Population Arua Hispanic Hispanic, Non Citizenship Undercount Counted Share of Share of
Brace Table 3 Projection 2020 Population Citizen ‘Question Percent Population Statewide Statewide
Population Population
121 Phoenix Mancopa 156,695 2.150% 67.314% 7.690% 147,187 = 6.068% 2.078% 0.072% “3.945%
“aitaeiria 900 Nogales Santa Cruz 167,276 2.295% 49.638% 1.373% 160,373 9 4.127% 2.264% 0.031% “1.348%
700 Somerton Yuma 212,028 2.909% 65.996% 2.707% 200,243 5.558% 2.827% 0.082% 2.821%
Rest of State 6,752,641  92.646% 29.898% 2.521% 6,575,541 2.623% 92.831% 0.185% 0.200%
3735 Los Angeles Los Angeles 213,829 0.532% 60.876% 2.190% 202,919 5.102% 0.523% 0.008% 1.544%
Califomia 3744 Los Angeles Los Angeles 200,382 0.498% 65.606% 6.507% 188,692 5.634% 0.487% 0.011% 2.303%
Rest of State 39,808,392 98.970% 39.374% 5.061% 38,377,992 3.595% 98.990% 0.020% 0.020%
8619 Miami Miami-Dade 104,872 0.476% 88.981% 1.163% 97,224 8 =7.293% 0.452% 0.023% 4.925%
Florida 9904 West Palm Beach Palm Beach 146,351 0.664% 52.063% 3.437% 139,780 4.490% 0.650% 0.014% 2.051%
Rest of State 21,786,306 98.860% 26,595% 3.735% 21,251,746 2.454% 98.897% 0.037% 0.037%
1105 Bowie Prince Georges 189,951 3.102% 9.906% 3.844% 187,838 1.112% 3.105% 0.003% 0.087%
1104 District Heights Prince Georges 128,858 2.104% 4.509% 3.732% 127,999 0.667% 2.116% 0.011%. 0.538%
Maryland 1101 Hyattsville Prince Georges 121,756 1.988% 54.892% 6.498% 115,709 4.966% 1.912% 0.076% 3.814%
1103 Hyattsville Prince Georges 92,644 1.513% 36,158% 2.542% 89,744 3.131% 1.483% 0.030% “1.956%
Rest of State 5590421  91.293% 9.837% 3.750% 5,528,970 1.099%. 91.384% 0.091%. 0.100%
Nevada 406 Las Vegas Clark 137,745 4.369% 54.557 % 3.604% 131,264 4.705% 4.279% 0.090% 2.069%
Rest of State 3,014,843 95.631% 28.711% 3.429% 2,936,452 2.600% 95.721% 0.090% 0.095%
New Jersey 601 Jersey City Hudson 141,033 1.555% 28.753% 24,102% 135,002 4.276% 1.522% 0.033% 2.118%
Rest of State 8926906 98.445% 21.373% 5.476% 8.733,011 2.172% 96 476% 0.033%. 0.033%
South Dakota 200 No Plaintiff Address Todd 99,821 11,.276% 0.513% 0.604% 99,731 0.090% 11,314% 0.038% 0.337%
Rest of State 765,429  68.724% 4.436% 1.355% 761,749 0.469% §6.686% 0.038% 0.043%
2311 Dallas Dallas 102,864 0.347% 43,724% 0.524% 99,182 3.580% 0.347% 0.000% 0.080%
3304 El Paso El Paso 88,948 0.300% 90.923% 0.375% 82,378 7.386% 0.288% 0.012% 4.024%
4612 Houston Haris 117,589 0.397% 61,.276% 1.983% 141,571 5.118% 0.391%. 0,007 % 1.674%
4613 Houston Hanis 125,161 0.423% 27.033% 14.456% 120,960 3.956% 0.423% 0.001% 0.151%
Texas 6804 Edinburg Hidalgo 118,076 0.399% 87.919% 2.397% 109,449 7.307% 0.383% 0.016% 3.942%
6805 McAllen Hidalgo 139,987 0.473% 85.075% 0.468% 130,299 6.920% 0.456% D.017% 3.542%
6803 Phar Hidalgo 137,347 0.464% 97.819% 0.103% 126,467 7.922% 0.443% 0.021% 4A.580%
6301 Laredo Webb 138,775 0.469% 95.823% 1.403% 127,860 7.866% 0.448% 0.021% 4.521%
Rest of State 28,634,150 96.728% 39.064% 3.081% 27,657,856 3.410% 96.821% 0.093% 0.096%
11611 SeaTac King 138.865 1.794% 12.780% 12.621% 136.011 2.055% 1.783% 0.011% 0.591%
Washington 11604 Seattle King 182,041 2.352% 4.076% 5.891% 180,573 0.806% 2.368% 0.016% 0.677%
11606 Shoreline King 121,024 1.564% 16.273% 20.524% 117,421 2.977% 1.540% 0.024% “1.526%
Rest of State 7,298,592 94.291% 13.425% 4.542% 7,192,505 1.454% 94.309% 0.019% 0.020%
Note:

Estimates are based on 1-year ACS PUMS microdata samples, from 2014 to 2017,
The level of observation isa PUMA, Additional Geographies (City, State, and Corresponding County Name) are Included for Reference Only.
Tn general, projections rely on the growth rate observed from 2014 to 2017, which is used in turn to project forward from 2017 to April 1, 2020. However, in the 2014 ACS, PUMA #6804 has

zero "Non-Hispanic Non-Citizens” records; consequenlty, the growth rate of that figure would be infinite using the described method. Therefore, for this observation only, projections are based on

the Jeve! change from 2014 to 2017, rather than the growth rare .
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Table 34.2: Select PUMAs' Projections with 2% Undercount Due to Citizenship Question

Version 2: Undercount for Hispanics, Ni

on-Citizens, and People in Households with Non-Citizens.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

; Statewide Percent Non, Statewide Absolute Percentage
City of Plaintiffs Corresponding Actual PUMA Share of | Percent Percent Non- Hispanic, | Census Count Census Share of Change in Change in
State PUMA Wades County Name in Population Actual Hispanic Hispanic, Citizen, with Citizenship Undercount Counted Share of Share of
Brace Table 3. Projection 2020 Population Non-Gitizean Living With ‘Question Percent Population Statewide Statewide
Non-Citizens. Population Population
121 Phoenix Maricopa 156,695 2.150% | 67.314% 7.690% 9.639% 154,042 1.693% 2.129% 0.021% 0.967%
Anzona 900 Nogales Santa Cruz 167,276 2.295% | 49.638% 1.373% 1.486% 165,520 1.050% 2.288% 0.007% 0.919%
700 Somerton Yuma 212,028 2.909% | 65.996% 2.707% 0.971% 209,074 1.393% 2.890%  -0.019% -0.665%
Rest of State 6,752,641 92.646% | 29.698% 2.521% 1.696% 6706568 0.682% 92.694% 0.047% 0.051%
3735 Los Angeles Los Angeles 213,829 0.532% | 60.876% 2.190% 4.050% 210,959 1.342% 0.530% 0.002% 0.358%
Califomia 3744 Los Angeles Los Angeles 200,382 0.498% | 65.606% 6.507% 2.603% 197,388 1.494% 0.496% 0.003% 0.512%
Rest of State 39,808,392 98.970% | 39.374% 5.061% 4.734% 39,416,932 0.983% —98.975% 0.004% 0.004%
8619 Miami Miami-Dade 104,872 0.476% | 88.981% 1.163% 1.094% 102,959 1.825% 0.470% 0.005% -1.143%
Florida 9904 West PalmBeach Palm Beach 146,351 0.664% | 52.063% 3.437% 3.277% 144,631 1.176% 0.661% 0.003% 0.489%
Rest of State 21,786,306 98.860% | 26.595% 3.735% 3.740% 21,637,854 0.681% —98.869% —0.009%. 0.009%
1105 Bowie Prince Georges 189,951 3.102% 9.906% 3.844% 7.232% 189,154 0.420% 3.100% 0.002%  -0.049%
1104 District Heights Prince Georges 128,858 2.104% 4.509% 3.732% 3.928% 128,544 0.243% 2.107% 0.003% 0.128%
Maryland 1101 Hyattsville Prince Georges 121,756 1.988% | 54.892% 6.498% 7.727% 120,072 1.382% 1.968% 0.020%  -1.015%
1103 Hyattsville Prince Georges 92,644 1.513% | 36,158% 2.542% 2.773% 91,876 0.829% 1.506% 0.007% 0.461%
Rest of State 5,590,421 91.293% | 9.837% 3.750% 3.525% 5,571,288 0.342% —91.319% 0.026% 0.028%
ieee 406 Las Vegas Clark 137,745 4.369% | 54.557% 3.604% 1.330% 136,107 = 1.190% 4.349% -0.020%  O.467%
Rest of State 3,014,843 95.631% | 28.711% 3.429% 3.086% 2,993,602 0.705% _—95.651% 0.020% 0.021%
New Jersey 601 Jersey City Hudson 141,033 1.555% | 28.753% 24.102% 7.331% 139,335 1.204% 1.547% -0.009% 0.559%
Rest of State 8.926.906 98.445% | 21.373%. 5.476% 5.109% 8.869.849 0.639% _98.453% _—0.009% 0.009%
South Dakota 229 No Plaintiff Address Todd 99,821 11.276% | 0.513% 0.604% 2.587% 99,747 0.074%  11.284% 0.008% 0.073%
Rest of State 785,429 88.7245 4.436% 1.555% 1.995% 784,206 0.156% 68.716%  ~0.008% 0.009%
2311 Dallas Dallas 102,864 0.347% | 43.724% 0.524% 9.682% 101,755 1.079% 0.347% 0.001% 0.163%
3304 El Paso El Paso $8,948 0.300% | 90.923% 0.375% 0.206% 87,320 1.830% 0.298% -0.003% 0.922%
4612 Houston Haris 117,589 0.397% | 61,276% 1.983% 2.843% 116,034 1.322% 0.396% 0.002%  -0.409%
4613 Houston Haris 125,161 0.423% | 27.033% 14.456% 4.706% 124,005 0.924% 0.423% 0.000% 0.007%
Texas 6804 Edinburg Hidalgo 118,076 0.399% | 87.919% 2.397% 4.618% 115,835 1.899% 0.395% 0.004% 0.991%
6805 McAllen Hidalgo 139,987 O.473% | 85.075% 0.468% 3.602% 137,491 1.783% 0.469% 0.004% 0.874%
6803 Phar Hidalgo 137,347 = 0.464% 97.819% 0.103% 1.414% 134,618 1.987% 0.459% 0.005% 1.080%
6301 Laredo Webb 138,775 0.469% | 95.823% 1.403% 0.244% 136,070 1.949% 0.464% 0.005% -1.042%
Rest of State 28,634,150 96.728% | 39.064% 3.081% 2.526% 28,378,324 0.893% _—96.750% _—0.023% 0.024%
11611 SeaTac King 138,865 1.794% | 12.780%  12.621% 13.603% 137,781 0.780% 1.788% —0.006% 0.935%
Washington 11604 Seattle King 182,041 2.352% 4.076% 5.891% 7.644% 181,399 0.352% 2.354% 0.002% 0.095%
11606 Shoreline King 121,024 1.564% | 16.273% 20.524% 4.973% 120,013 0.835% 1.557% 0.006% 0.390%
Rest of State 7,298,592 94.291% | 13.425% 4.542% 3.849% 7,266,747 0.436% —94.301% 0.010% 0.010%
Note:

Estimates are based on 1-year ACS PLMS microdata samples, from 2014 to 2017.
The level of observation isa PUMA, Additional Geographies (City, State, and Corresponding County Name) are Included for Reference Only.
Tn general, projections rely on the growth rate observed from 2014 to 2017, which is used in turn to project forward from 2017 to April 1, 2020. However, in the 2014 ACS, PUMA #6804 has zero
"Non-Hispanic Non-Citizens” records; consequenlty, the growth rate of that figure would be infinite using the described method. Therefore, for this observation only, projections are based on the

Jevel change from 2014 to 2017, rather than the growth rare.
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Table 3B.2: Select PUMAs’ Projections with 5.8% Undercount Due to Citizenship Question

Version 2: Undercount for Hispanics, Non-Citizans, and People in Households with Non-Citizens

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

i Statewide Percent Non, Statewide Absolute Percentage
City of Plaintift's Coresponding Actual PUMA Share of Parent Percent Non- Hispanic, | Census Count Census Share of Change in Change in
State PUMA Address ‘County Name in Population Aetual Hispanic Hispanic, Citizen, with Citizenship Undercount Counted Share of Share of
Brace Table 3 Projection 2020 Population Non-Gitizean Living With ‘Question Percent Population Statewide Statewide
Non-Citizens. Population Population
121 Phoenix Maricopa 156,695 2.150% | 67.314% 7.690% 9.639% 149,002 4.909% 2.089% 0.061%  -2.844%
Artoria 900 Nogales Santa Cruz 167,276 2.295% | 49.638% 1.373% 1.486% 162,183 3.045% 2.273% 0.022% 0.939%
700 Somerton Yuma 212,028 2.909% | 65.996% 2.707% 0.971% 203,460 4.041% 2.852% 0.057% -1,957%
Rest of State 6,752,641 92.646% | 29.898% 2.521% 1.696% 6,619,029 1.979% 92.786% 0.140% 0.151%
3735 Los Angeles Los Angeles 213,829 0.532% | 60.876% 2.190% 4.050% 205,505 3.893% 0.526% 0.006% -1.058%
Califomia 3744 Los Angeles Los Angeles 200,382 0.498% | 65.606% 6.507% 2.603% 191,699 4.333% 0.491% 0.008% -1.512%
Rest of State 39,808,392 98.970% | 39.374% 5.061% 4.734% 38,673,156 2.852% — 98.983% 0.013% 0.013%
8619 Miami Miami-Dade 104,872 0.476% | 88.981% 1.163% 1.094% 99,323 5.292% 0.460% 0.016%  -3.358%
Florida 9904 West PalmBeach Palm Beach 146,351 0.664% | 52.063% 3.437% 3.277% 141,362 3.409% 0.655% 0.010%  -1.496%
Rest of State 21,786,306 98.860% | 26.595% 3.735% 3.740% 21,355,798 1.976%  98.886% 0.026% 0.026%
1105 Bowie Prince Georges 189,951 3.102% 9.906% 3.844% 7.232% 187,640 = 1.217% 3.097%  -0.004%  -0.144%
1104 District Heights Prince Georges 128,858 2.104% 4,509% 3.732% 3,928% 127,948 0.706% 2.112% 0.008% 0.373%
Maryland 1101 Hyattsville Prince Georges 121,756 1.988% | 54.892% 6.498% 7.727% 116,875 4.009% 1.929% 0.059%  -2.966%
1103 Hyattsville Prince Georges 92,644 1.513% | 36,158% 2.542% 2.773% 90,416 2.405% 1.493% 0.020% -1,345%
Rest of State 5,590,421 91.293% | 9.837% 3.750% 3.525% 5,534,936 0.992% _—91.369% _—0.076% 0.083%
Nevada 406 Las Vegas Clark 137,745 4.369% 54.557 % 3.604% 1.330% 132,993 3.450% 4.309%  -0.060% -1,375%
Rest of State 3,014,843 95.631% | 28.711% 3.429% 3.086% 2,953,245 2.043% —95.691% 0.060% 0.063%
New Jersey 601 Jersey City Hudson 141,033 1.555% | 28.753% 24,102% 7.331% 136,110 3.491% 1.530%  -0.026%  -1.643%
Rest of State 6,926,906 98.445% | 21.373% 5.476% 5.109% 8761442 1.854% 98.470% 0.026% 0.026%
South Dakota 220 No Plaintiff Address Todd 99,821 11.276% | 0.513% 0.604% 2.587% 99,607 0.215%  11.300% 0.024% 0.211%
Rest of State 785,429 88.7245 4.436% 1.555% 1.995% 781,882 0.45256 68.700%  ~0.024% 0.027%
2311 Dallas Dallas 102,864 0.347% | 43.724% 0.524% 9.682% 99,647 3.128% 0.346% 0.002% 0.482%
3304 El Paso El Paso 88,948 0.300% | 90.923% 0.375% 0.206% 84,227 5.307% 0.292% 0.008% -2.720%
4612 Houston Hanis 117,589 0.397% | 61.276% 1.983% 2.843% 113,081 3.834% 0.392% 0.005%  -1.207%
4613 Houston Haris 125,161 0.423% | 27.033% 14.456% 4.706% 121,808 2.679% 0.423% 0.000% 0.021%
Texas 6804 Edinburg Hidalgo 118,076 0.399% | 87.919% 2.397% 4.618% 111,575 5.506% 0.387% 0.012%  -2.925%
6805 McAllen Hidalgo 139,987 0.473% | 85.075% 0.468% 3.602% 132,749 5.170% 0.461% -0.012%  -2.580%
6803 Phar Hidalgo 137,347 = 0.464% 97.819% 0.103% 1.414% 129,434 5.761% 0.449% 0.015% “3.187%
6301 Laredo Webb 138,775 0.469% | 95.823% 1.403% 0.244% 130,930 5.653% 0.454% 0.014% 3.076%
Rest of State 28,634,150 96.728% | 39.064% 3.081% 2.526% 27,892,256 2.591% _—96.795% _—0.068% o.070%
11611 SeaTac King 138.865 1.794% 12.780% 12.621% 13.603% 135,723 2.262% 1.776% 0.018% 0.979%
Washington 11604 Seattle King 182,041 2.352% 4.076% 5.891% 7.644% 180,181 1.021% 2.358% 0.007% 0.278%
11606 Shoreline King 121,024 1.564% 16.273% 20.524% 4.973% 118,092 2.423% 1.546% 0.018% -1.142%
Rest of State 7,298,592 94.291% | 13.425% 4.542% 3.849% 7,206,243 1.265% —94.320% _—*0.029% 0.031%
Note:

Estimates are based on 1-year ACS PUMS microdata samples, from 2014 to 2017.
The level of observation isa PUMA, Additional Geographies (City, State, and Corresponding County Name) are Included for Reference Only.
Tn general, projections rely on the growth rate observed from 2014 to 2017, which is used in turn to project forward from 2017 to April 1, 2020. However, in the 2014 ACS, PUMA #6804 has zero
"Non-Hispanic Nou-Citizens" records, consequenlty, the growth rate of that figure would be infinite using the described method. Therefore, for this observation only, projections are based on the

evel change from 2014 to 2017, rather than the growth rate .
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Table 3C.2: Select PUMAs' Projections with 8.09% Undercount Due to Citizenship Question

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Version 2: Undercount for Hispanics, Non-Citizans, and People in Households with Non-Citizens
5 Percent Non4 : Absolute Percentage
City of Plaintifs Corresponding Actual PUMA Shere Percent PeteentNon- Hispanic, | Census Count Census er Change in Change in
State PUMA Wades ‘County Name in Population Actual Hispanic Hispanic, Citizen, with Citizenship Undercount Counted Share of Share of
Brace Table 3. Projection 2020 Population Non-Citizan Living With Question Percent Population Statewide Statewide
Non-Citizens Population Population
121 Phoenix Maricopa 156,695 2.150% | 67.314% 7.690% 9.639% 145,965 6.848% 2.064% 0.086%  ~4.001%
Anzona 900 Nogales Santa Cruz 167,276 2.295% | 49.638% 1.373% 1.486% 160,172 4.247% 2.265% 0.030% -1.921%
700 Somerton Yuma 212,028 2.909% | 65.996% 2.707% 0.971% 200,077 5.637% 2.829% -0.080%  -2.753%
Rest of State 6,752,641 92.646% | 29.898% 2.921% 1.696% 6,566,275 2.760% 92.642% 0.196% 0.212%
3735 Los Angeles Los Angeles 213,829 0.532% | 60.876% 2.190% 4.050% 202,219 = 5.430% 0.524% 0.008%  -1.494%
Califomia 3744 Los Angeles Los Angeles 200,382 0.498% | 65.606% 6.507% 2.603% 188,270 = 6.044% 0.488% 0.011%  -2.134%
Rest of State 39,808,392 98.970% | 39.374% 5.061% 4.734% 38,224,936 3.978% —98.989% 0.019% 0.019%
8619 Miami Miami-Dade 104,872 0.476% | 88.981% 1.163% 1.094% 97,132 7.381% 0.453% 0.022%  <4.721%
Florida 9904 West PalmBeach Palm Beach 146,351 0.664% | 52.063% 3.437% 3.277% 139,392 4.755% 0.651% 0.013% -2.020%
Rest of State 21,786,306 98.860% | 26.595% 3.735% 3.740% 21,185,820 2.756% _—*98.896% —-0..036% 0.036%
1105 Bowie Prince Georges 189,951 3.102% 9.906% 3.844% 7.232% 186,727 1.698% 3.096%  -0.006% 0.201%
1104 District Heights Prince Georges 128,858 2.104% 4.509% 3.732% 3.928% 127,589 0.984% 2.115% 0.011% 0.523%.
Maryland 1101 Hyattsville Prince Georges 121,756 1.988% | 54.892% 6.498% 7.727% 114,947 5.592% 1.906% 0.083% 4.155%
1103 Hyattsville Prince Georges 92,644 1.513% | 36,158% 2.542% 2.773% 89,536 3.355% 1.484% 0.029%  -1.884%
Rest of State 5,590,421 91.293% | 9.837% 3.750% 3.525% 5,513,029 1.384% —«491.399% 0.106% 0.117%
ieee 406 Las Vegas Clark 137,745 4.369% | 54.557% 3.604% 1,330% 131,116 4.813% 4.285% 0.084% -1,934%
Rest of State 3,014,843 95.631% | 28.711% 3.429% 3.086% 2,928,924 2.850% _—*95.715% __—0.085% 0.088%
New Jersey 601 Jersey City Hudson 141,033 1.555% | 28.753%  24.102% 7.331% 134,166 4.869% 1.519%  -0.036% -2.309%
Rest of State 8.926.906 98.445% | 21.373% 5.476% 5.109% 8.696.112 2.585% _—98.481% 0.036% 0.036%
South Dakota 229 No Plaintiff Address Todd 99,821 11.276% | 0.513% 0.604% 2.587% 99,522 0.300%  11.309% 0.033% 0,295%
Rest of State 785,429  86.724% 4.436% 1.355% 1.995% 780,482 0.630% 88.691%  -~0.033% 0.037%
2311 Dallas Dallas 102,864 0.347% | 43.724% 0.524% 9.682% 98,376 4.363% 0.345% 0.002% 0.679%
3304 El Paso El Paso 88,948 0.300% | 90.923% 0.375% 0.206% 82,363 7.403% 0.289%  -0.012%  -3.836%
4612 Houston Haris 117,589 0.397% 61.276% 1.983% 2.843% 111,301 5.348% 0.390% 0.007% “1.702%
4613 Houston Haris 125,161 0.423% | 27.033%  14.456% 4.706% 120,484 3.737% 0.423% 0.000% 0.029%
Texas 6804 Edinburg Hidalgo 118,076 0.399% | 87.919% 2.397% 4.618% 109,008 7.680% 0.382% 0.016% 4.124%
6805 McAllen Hidalgo 139,987 O.473% | 85.075% 0.468% 3.602% 129,891 7.212% O456% 0.017% -3.638%
6803 Pharr Hidalgo 137,347 0.464% 97.819% 0.103% 1.414% 126,309 §.036% 0.443% 0.021% 4.494%
6301 Laredo Webb 138,775 0.469% | 95.823% 1.403% 0.244% 127,832 7.685% 0.448% 0.020%  ~4.937%
Rest of State 28,634,150 96.728% | 39.064% 3.081% 2.526% 27,599,336 3.614% _—*96.823% _—0..096% 0.099%
11611 SeaTac King 138,865 1.794% | 12.780%  12.621% 13.603% 134.483 3.155% 1.769% 0.025% -1.373%
Washington 11604 Seattle King 182,041 2.352% 4.076% 5.891% 7.644% 179,447 1.425% 2.361% 0.009% 0.389%
11606 Shoreline King 121,024 1.564% | 16.273% 20.524% 4.973% 116,934 3.379% 1.598% 0.025% -1.601%
Rest of State 7,298,592 94.291% | 13.425% 4.542% 3.849% 7,169,781 1.765% —94.331% _—*0.041% 0.043%
Note:

Estimates are based on 1-year ACS PUMS microdata samples, from 2014 to 2017,

The level of observation isa PUMA, Additional Geographies (City, State, and Corresponding County Name) are Included for Reference Only.

In general, projections rely on the growth rate observed from 2014 to 2017, which is used in turn to project forward from 2017 to April 1, 2020. However, in the 2014 ACS, PUMA #6804 has zero
"Non-Hispanic Non-Citizens” records; consequenlty, the growth rate of that figure would be infinite using the described method. Therefore, for this observation only, projections are based on the
Jevel change from 2014 to 2017, rather than the growth rare.
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Revised Gurrea Table 4
Select Counties’ Projections with Citizenship Question and Historical NRFU, Before Imputation

Correcting Application of "Mathiowetz 2% Undercount" Calculation

 

Mathiowetz 24% Undercount
with Historical NRFU

 

Absolute Change in
Statewide Share of

Percentage Change in
Statewide Share of

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

State County Population Population

Maricopa County -0.005% -0.009%
' Santa Cruz County -0,001% 0.111%

Arizona
Yuma County -0.004% -0.121%
Rest of State 0.010% 0.028%
! r gj 0 0 ;
California Los angeles County 0.010% -0.040%
Rest of State 0.010% 0.014%
Flotida Miami-Dade County -0.025% -0.184%
Rest of State 0.025% 0.028%

j =! r aJ oO 0
Maryland Prince George's County 0.010% -0.065%
Rest of State 0.010% 0.012%
A s r =| 0 0, 1
Nevada Clark County 0.011% 0.015%
Rest of State 0.011% 0.043%
Hudson County -0.013% 0.168%
New Jersey
: Rest of State 0.013% 0.014%
0 0,
inte Tak oes Todd County -0.001% -0.114%
Rest of State 0.001% 0.001%
Dallas County -0.005% -0.059%
El Paso County -0,003% -0,090%
, Harris County -0.011% -0.066%
Texas -
Hidalgo County -0.005% -0.152%
Webb County -0.001% -0.143%
Rest of State 0.025% 0.038%
King County -0.014% -0.045%
Washington
Rest of State 0.014% 0.019%
Sources:

1. Brace Report.

2. NRFU Success Rate.docx

Note: Baseline population, percent Hispanic and percent non-Hispanic/non-citizen are rounded.

REVISION NOTE: This table was modified by using the percent of non-citizens rather than the percent of
non-Hispanic non-citizens when calculating the "Mathiowetz 2% Undercount with Historical NRFU"

 
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1.08% Undercount for Non-Citizens

Table 3D: Select PUMAs' Projections with Varying Undercount Due to Citizenship Question

. 10% Undercount for Hispanics (Mitigated with 98.58% NRFU), 5.896 Undercount for Citizens living with non-Citizens (Mitigated with 98.58% NRFU)

 

 

 

 

 

 

 

 

 

 

: Percent Non4 és Absolute Percentage
City of Plaintits §— COmesponding “pepnintion, ‘Ghare of [Percent Non- Pefeent Hispanic | ou, Census “Shay Change in Change in
State PUMA "ha County Name in Projecti ‘Achial Cit Hispanic Citizen Citi hi Undercount Counted Share of Share of
“ace Totes MORS utan| MO” Clzen twa vam | eaten? Pacant gong, Statewide Siatewte
P Non-Citizens PI Population Population
1.08% 0.14% 0.08%
Undercount Undercount _ Undercount
121 Phoenix Maricopa 156,695 2.150% 22.579% 50.314% 9.639% 156,187 0.324% 2.145% 0.004% 0.207%
Arcane 900 Nogales Santa Cruz 167,276 2.295% 5.686% 45.745% 1.486% 167,063 0.128% 2.295% 0.000% 0.010%
700 Somerton Yuma 212,028 2.909% 15.638%. 53.093% 0.971% 211,508 0.245% 2.905% 0.004%. 0.128%
Rest of State 6,752,641 92. 646% 6.455% 26.107% 1.696% 6.745.326 0.108% 92.655% 0.008% 0.009%
3735 Los Angeles Los Angeles 213,829 0.532% 13.355% 49.848% 4.050% 213,361 0.219% 0.531% 0.000% 0.036%
Califormia 3744 Los Angeles Los Angeles 200,382 0.495% 21.342% 31,394% 2.603% 199,769 0.306% 0.498% 0.001%. 0.124%
Rest of State 39,808,392  98.970% 12.202% 32.326% 4.734% 39,735,992 0.182% 98.971% 0.001% 0.001%
8619 Miami Miami-Dade 104,872 O.476% 29.677% 60.605% 1.094% 104,444 0.408% 0.475% 0.001% 0.274%
Florida 9904 West PalmBeach Palm Beach 146,351 0.664% 22.780% 32.259% 3.277% 145,919 0.295% 0.663%. 0.001% 0.161%
Rest of State 21,786,306 98.860% 9.113% 21.258% 3.740% 21,757,568 0.132% 98.862% 0.002% 0.002%
1105 Bowie Prince George's 189,951 3.102% 8.379% 5.023% 7.232% 189,754 0.104% 3.102% 0.000% 0.012%
1104 District Heights Prince George's 128,858 2.104% 4.203% 3.208% 3.928% 128,789 0.053% 2.105% 0.001% 0.039%
Maryland 1101 Hyattsville Prince George's 121,756 1.988% 29.707% 32.000% 7.727% 121,301 0.373% 1.983% 0.006% 0.281%
1103 Hyattsville Prince George's 92,644 1.513% 16.232% 21.934% 2.773% $2,450 0.209% 1.511% 0.002% 0.117%
Rest of State 5,590,421 91.293% 6.633% 5.946% 3.525% 5,585,693 0.085% 91.300% _ 0.007% 0.008%
Nevada 406 Las Vegas Clark 137,745 4.369% 19.230% 39.418% 1.330% 137,380 0.265% 4.364% 0.005% 0.122%
Rest of State 3,014,843 95.631% 9.483% 22.696% 3.086% 3,010,700 0.137% 95.636% 0.005% 0.006%
New Jersey 601 Jersey City Hudson 141,033 1.555% | 28.477%  24.385% 7.331% 140,541 0.349% 1.552% 0.003% 0.208%
Rest of State 8,926,906  98.445% 10.157% 16.701% 5.109% 8.914.600 0.138% 98.448% 0.003% 0.003%
South Dakota 200 No Plaintiff Address Todd 99.821 11.276% 0.280% 0.519% 2.587% 99,815 0.006% 11.279% 0.003% 0.028%
Rest of State 785,429 88.724% 2.911% 2.965% 1.995% 785,136 0.037% 88.721% 0.003% 0.004%
2311 Dallas Dallas 102,864 0.347% 25.300% 18.353% 9.682% 102,548 0.908% 0.347% 0.001% 0.144%
3304 El Paso El Paso 88,948 0.300% 16.418% 75.429% 0.206% 88,694 0.285% 0.300% 0.000% 0.121%
4612 Houston Haris 126,161 0.423% 20.011% 22.652% 4.706% 124,845 0.253% 0.422% 0.000% 0.089%
4613 Houston Haris 117,589 0.397% 27.787% 35.128% 2.843% W74174 8 =0.953% 0.396% 0.001% 0.190%
Texas 6804 Edinburg Hidalgo 118,076 0.399% 15.046% 75.269% 4.618% 117,753 = (0.274% 0.398% 0.000% 0.110%
6805 McAllen Hidalgo 139,987 0.473% 20.152% 65.636% 3.602% 139,547 0.914% 0.472% 0.001% 0.161%
6803 Phar Hidalgo 137,347 0.464% 12.078% 88.351% 1.414% 136,994 0.257% 0.464% 0.000% 0.094%
6301 Laredo Webb 138,775 0.469% 23.516% 73.635% 0.244% 138,276 0.959% 0.468% 0.001% 0.196%
Rest of State 28,634,150  96.728% 10.336% 31.806% 2.526% 28,588,588 0.159% 96.732% 0.005% 0.005%
11611 SeaTac King 138,865 1.794% 17.994% 7.004% 13.603% 138,565 0.216% 1.792% 0.002% 0.112%
Washington 11604 Seattle King 182,041 2.352% 4.639% 5.670%. 7.644% 181,923 0.065% 2.353% 0.001% 0,040%
11606 Shoreline King 121,024 1.564% 30.216% 9.454% 4.973% 120,607 0.345% 1.560% 0.004%. 0.241%
Rest of State 7.298.592 94 .291% Ags 10.476% 3.849% 7.291 356 0.099% 94 296% 0.005% 0.005%

Note:

 

 

 

Estimates are based on l-year ACS PUMS microdata samples, from 2014 to 2017.
The level of observation isa PUMA - Additional Geographies (City, State, and Corresponding County Name) are Included for Reference Only.
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5.8% Undercount for non-Citizens or Citizens living with non-Citizens (Mitigated with 98.58% NRFU)

Table 3E: Select PUMAs' projections with 0.08% Undercount

Absolute Percentage

 

 

 

 

 

 

 

 

 

 

 

 

. 5 Corresponding Actual PUMA Statewide Perment Norn Census Count Census Statewide Change in Change in

State PUMA Say or Blaintite County Name in Population Bhale-ot eee or | with Citizenship Undercount Shiare.oF Share of Share of
Address Brace Table 3. Projection 2020 Pp Avie Roots Question Percent se Statewide Statewide
opulation | Non-tatizen opuletion Population Population

121 Phoenix Maricopa 156,695 2.150% 52.064% 156,628 0.043% 2.149% 0.001% 0.030%

Aazeria 900 Nogales Santa Cruz 167,276 2.295% 19.123% 167,250 0.016% 2.295% 0.000% 0.003%
700 Somerton Yuma 212,028 2.909% 34.411% 211,968 0.028% 2.909% 0.000% 0.015%

Rest of State 6,752,641 92.646% 14.466% 6,751,837 0.012% 92.647% 0.001% 0.001%

3735 Los Angeles Los Angeles 213,829 0.532% 30.742% 213,775 0.025% 0.532% 0.000% -0.003%

Califomia 3744 Los Angeles Los Angeles 200,382 0.498% 45.544% 200,307 0.038% 0.498% 0.000% 0.015%
Rest of State 39,808,392 98.970% | 26.932% 39,799,564 0.022% 98.970% 0.000% 0.000%

8619 Miami Miami-Dade 104,872 O476% 56.627% 104,824 0.047% 0.476% 0.000% -0.032%

Florida 9904 West PalmBeach Palm Beach 146,351 0.664% 32.647% 146,312 0.027% 0.664% 0.000% 0.012%
Rest of State 21,786,306 98.860% | 17.183% 21,783,222 0.014%  _98.860% 0.000% 0.000%

1105 Bowie Prince Georges 189,951 3.102% 17.306% 189,924 0.014% 3.102% 0.000% 0.003%

1104 District Heights Prince Georges 128,858 2.104% 8.418% 128,849 0.007% 2.104% 0.000% 0.005%

Maryland 1101 Hyattsville Prince Georges 121,756 1.988% 60.005% 121,695 0.049% 1.988% -0.001% -0.038%
1103 Hyattsville Prince Georges 92,644 1.513% 33.749% 92,618 0.028% 1.513% 0.000% 0.016%

Rest of State 5.590.421 91.293% | 12.690% 5,589,836 0.010%  91.294% 0.001% 0.001%

Nevada 406 Las Vegas Clark 137,745 4.369% 41.349% 137,699 0.034% 4.369% 0.001% 0.017%
Rest of State 3,014,843  95.631% | 19.510% 3,014,358 0.016%  95.631% 0.001% 0.001%

New Jersey 601 Jersey City Hudson 141,033 1.555% 40.401% 140.986 0.033% 1.555% 0.000% 0.017%
Rest of State 8,926,906 98.445% | 19.816% 8925.449 0.016% 98.445% 0.000% 0.000%

South Dakota 200 No Plaintiff Address Todd 99,821 11.276% 1.156% 99,820 0.001% 11.276% 0.000% 0.003%
Rest of State 785,429 88.724% 4.621% 785,399 0.004% 88.724% 0.000% 0.000%

2311 Dallas Dallas 102,864 0.347% 43.544% 102,827 0.036% 0.347% 0.000% 0.018%

3304 El Paso El Paso 88,948 0.300% 30.112% 88,926 0.025% 0.300% 0.000% -0.007%

4612 Houston Haris 117,589 0.397% 52.947% 117,538 0.044% 0.397% 0.000% -0.025%

4613 Houston Hanis 125,161 0.423% 28.304% 125,132 0.023% 0.423% 0.000% -0.005%

Texas 6804 Edinburg Hidalgo 118,076 0.399% 43.501% 118,034 0.036% 0.399% 0.000% 0.018%
6805 McAllen Hidalgo 139,987 0.473% 39.972% 139,941 0.033% 0.473% 0.000% -0.015%

6803 Phar Hidalgo 137,347 0.464% 30.376% 137,313 0.025% 0.464% 0.000% 0.007%

6301 Laredo Webb 138,775 0.469% 65.865% 138,700 0.054% 0.469% 0.000% 0.036%

Rest of State 28,634,150 96.728% 21.324% 28,629,122 0.018% 96.728% 0.001% 0.001%

11611 SeaTac King 138,865 1.794% 33.137% 138,827 0.027% 1.794% 0.000% -0.015%

Washington 11604 Seattle King 182,041 2.352% 10.532% 182,025 0.009% 2.352% 0.000% 0.004%
11606 Shoreline King 121,024 1.564% 39.528% 120,984 0.033% 1.563% 0.000% 0.020%

Rest of State 7.298.592 94.291% 14.781% 7,297,703 0.012% 94.291% 0.000% 0.001%

Note:

Estimates are based on |-year ACS PUMS microdata samples, from 2014 to 2017.
The level of observation is a PUMA - Additional Geographies (City, State, and Corresponding County Name) are Included for Reference Only.
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Table 3F: Select PUMAS' projections with 0.5% Undercount for Non-Citizens

 

Absolute Percentage

 

 

 

 

 

 

 

 

 

 

 

 

: Statewide Statewide \
= fa Corresponding Actual PUMA Census Count Census Change in Change in
State PUMA City of Plaintiff's County Name in Population share of Pareyt Non with Citizenship Undercount Shere ot Share of Share of
Address Brace Table 3° Projection 2020 Actual Steen Question Percent counted Statewide Statewide
Population Population Populati Populati

opulation Population

121 Phoenix Maricopa 156,695 2.150% 22.579% 156,518 0.113% 2.148% -0.002%  -0.078%

‘Aiona 900 Nogales Santa Cuz 167,276 2.295% 5.686% 167,229 0.028% 2.295% 0.000% 0.007%
700 Somerton Yuma 212,028 2.909% 15.638% 211,862 0.078% 2.908% 0.001% 0.043%

Rest of State 6,752,641 92.646% 6.455% 6,750,462 0.032% 92.649% 0.003% 0.003%

3735 Los Angeles Los Angeles 213,829 0.532% 13.355% 213,686 0.067% 0.532% 0.000% 0.006%

Califomia 3744 Los Angeles Los Angeles 200,382 0.498% 21.342% 200,169 0.107% 0.498% 0.000% ~0.045%
Rest of State 39,808,392 98.970% | 12.202% 39,784,104 0.061%  _98.970% 0.000% 0.000%

8619 Miami Miami-Dade 104,872 0.476% 29.677% 104,717 0.148% 0.475% 0.000% 0.102%

Florida 9904 West Palm Beach Palm Beach 146,351 0.664% | 22.780% 146,184 0.114% 0.664% 0.000% 0.067%
Rest of State 21,786,306  98.860% 9.113% 21,776,378 0.046% —98.861% 0.001% 0.001%

1105 Bowie Prince Georges 189,951 3.102% 8.379% 189,872 0.042% 3.102% 0.000% 0.006%

1104 District Heights Prince Georges 128,858 2.104% 4.203% 128,831 0.021% 2.105% 0.000% 0.015%

Maryland 1101 Hyattsville Prince Georges 121,756 1.988% 29.707% 121,575 0.149% 1.986% 0.002% 0.112%
1103 Hyattsville Prince Georges 92,644 1.513% 16.232% 92,569 0.081% 1.512% 0.001% 0.045%

Rest of State 5,590,421 91.293% 6.633% 5,588,567 0.033%  91.295% 0.003% 0.003%

Nevada 406 Las Vegas Clark 137,745 4.369% 19.230% 137,613 0.096% 4.367% 0.002% 0.047%
Rest of State 3,014,843 95.631% 9.483% 3,013,413 0.047% 95.633% 0.002% 0.002%

New Jersey 601 Jersey City Hudson 141,033 1.555% 28.477% 140,832 0.142% 1.554% 0.001% 0.090%
Rest of State 8,926,906 98.445% | 10.157% 6922,373 0.051% 98.446% 0.001% 0.001%

South Dakota 200 No Plaintiff Address Todd 99,621 11.276% 0.280% 99,820 0.001% 11.277% 0.001% 0.012%
Rest of State 785,429  88.724% 2.911% 785,315 0.015%  88.723% —0.001% -0.001%

2311 Dallas Dallas 102,864 0.347% 25.300% 102,734 0.127% 0.347% 0.000% -~0,073%

3304 El Paso El Paso $6,948 0.300% 16.418% 88,875 0.082% 0.300% 0.000% 0.029%

4612 Houston Harris 117,589 0.397% 27.787% 117,425 0.139% 0.397% 0.000% -0.086%

4613 Houston Harris 125,161 0.423% 20.011% 125,036 0.100% 0.423% 0.000% 0.047%

Texas 6804 Edinburg Hidalgo 118,076 0.399% 15.046% 117,988 0.075% 0.399% 0.000% 0.022%
6805 McAllen Hidalgo 139,987 0.473% 20.152% 139,846 0.101% 0.473% 0.000% 0.048%

6803 Phar Hidalgo 137,347 0.464% 12.078% 137,264 0.060% 0.464% 0.000% 0.007%

6301 Laredo Webb 138,775 0.469% 23.516% 138,612 0.118% 0.468% 0.000% 0.064%

Rest of State 28,634,150 96.728% | 10.336% 26,619,352 0.052% 96.729% 0.002% 0.002%

11611 SeaTac King 138,865 1.794% 17.994% 138,740 0.090% 1.793% 0.001%  -0.050%

Washington 11604 Seattle King 182,041 2.352% 4.639% 181,998 0.023% 2.352% 0.000% 0.017%
11606 Shoreline King 121,024 1.564% 30.216% 120,841 0.151% 1.562% -0.002% -0.111%

Rest of State 7,298,592  94.291% 7.493% 7,295,857 0.037%  94.293% 0.002% 0.002%

Note:

Estimates are based on |-year ACS PUMS microdata samples, from 2014 to 2017.
The level of observation is a PUMA - Additional Geographies (City, State, and Corresponding County Name) are Included for Reference Only.
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Table 2A.1: Reapportionment Projections for 2020 2% Undercount Due to Citizenship Question

 

 

 

 

 

 

Percent Non- Change in
State Saanee Percent Hispanic ceeiein é Hispanic, Citizen, naan Census Statewide | Congressional Congressional
Projection 2020 Citizen Living: With Non- Question Undercount seals Seats ftom

Citizens Baseline
Alabama 4,906,793 4.350% 1.063% 0.844% 4,900,652 -6,141 6 0
Alaska 742,589 7.367% 2.950% 4.806% 740,343 -2,246 1 0
Arizona 7,313,407 32.202% 2.547% 1.776% 7,259,982 63,425 10 oO
Arkansas 3,040,950 7.953% 1.390% 1.034% 3,034,639 6,311 4 0
Califomia 40,318,943 39.619% 5.051% 4.720% 39,920,672 -398,271 52 1
Colorado 5,861,962 21,801% 2.408% 2.355% 5,830,820 “31,143 8 0
Connecticut 3,577,217 17.234% 3.838% 3.997% 3,559,281 -17,936 5 0
Delaware 987,534 9.830% 2.633% 2.421% 984,594 -2,940 1 0
Florida 22,034,897 27.058% 3.715% 3.713% 21,882,918 “151,979 23 0
Georgia 10,756,967 10.043% 3.100% 2.639% 10,723,014 -33,953 14 0
Hawaii 1,436,609 11.039% 6.729% 8.141% 1,429,166 -7,444 2 0
Idaho 1,800,494 12.834% 0.891% 1.494% 1,795,014 -5,481 2 0
Illinois 12,728,769 17.733% 3.487% 2.585% 12,668,167 60,602 17 0
Indiana 6,735,072 7.371% 2.049% 1.693% 6,720,102 -14,970 9 0
lowa 3,182,989 6.352% 2.052% 1.642% 3,176,594 6,395 4 0
Kansas 2,925,620 12.457% 1.683% 1.384% 2,916,537 -9,084 4 0
Kentucky 4,494,713 3.715% 1.439% 1.281% 4,488,930 -5,784 6 0
Louisiana 4,717,157 5.617% 1.030% 0.877% 4,710,058 -7,099 6 0
Maine 1,342,361 2.096% 1.144% 2.601% 1,340,793 -1,568 2 0
Maryland 6,128,312 10.966% 3.746% 3.675% 6,105,776 22,536 8 0
Massachusetts 6,954,630 12.835% 6.690% 4.539% 6,921,160 -33,470 9 o
Michigan 10,006,187 5.278% 2.937% 2.086% 9,985,574 -20,613 13 0
Minnesota 5,692,816 5.554% 2.891% 3.128% 5,679,640 “13,176 7 0
Mississippi 2,980,001 3.083% 0.573% 0.366% 2,977,604 -2,397 4 0
Missouri 6,164,890 4.535% 1.443% 0.916% 6,156,390 8,500 8 0
Montana 1,079,348 4.251% 0.646% 1.211% 1,078,029 -1,319 2 1
Nebraska 1.956,716 11.748% 2.724% 2.717% 1,949,989 6,727 3 0
Nevada 3,159,442 29.850% 3.438% 2.984% 3,136,523 -22,920 4 0
New Hampshire 1,355,867 4.376% 3.029% 1.670% 1,353,407 -2,461 2 0
New Jersey 9,063,461 21.487% 5.765% 5.141% 9,004,741 -58,720 12 0
New Mexico 2,092,538 49.773% 1.053% 0.827% 2,070,921 -21,617 3 0
New York 19,919,166 19.781% 5.740% 5.756% 19,794,564 -124,602 26 0
North Carolina 10,588,169 9.752% 2.383% 1.752% 10,558,761 -29,408 14 0
North Dakota 771,081 5.090% 1.908% 1.179% 769,820 1,261 1 0
Ohio 11,718,404 4.044% 1.732% 1.382% 11,701,626 -16,778 15 0
Oklahoma 3,982,803 11.530% 1.401% 1.104% 3,971,623 -11,180 5 0
Oregon 4,317,379 13.549% 2.728% 2.840% 4,300,872 -16,507 6 0
Pennsylvania 12,819,483 8.124% 2.430% 1.632% 12,788,240 -31,243 17 0
Rhode Island 1,064,112 16.710% 2.998% 2.372% 1,059,413 4,699 1 0
South Carolina 5,214,916 6.036% 1.264% 1.029% 5,206,228 8,688 7 0
South Dakota 888,634 3.671% 1.240% 1.832% 887,435 -1,198 1 0
Tennessee 6,881,637 5.845% 1.627% 1.404% 6,869,421 “12,216 9 0
Texas 29,604,237 40,209% 3.062% 2.537% 29,333,016 -271,221 39 0
Utah 3,259,702 14.591% 1.947% 2.286% 3,247,431 “12,271 4 0
Vermont 621,822 2.412% 2.744% 1.303% 621,019 803 1 0
Virginia 8,612,962 9.872% 3.232% 3.869% 8,583,723 -29,239 11 0
Washington 7,751,401 13.183% 4.880% 4.101% 7,717,042 -34,360 10 0
Washington DC 725,909 11,758% 6.064% 5.690% 722,496 3,414 0 0
West Virginia 1,787 238 1.275% 0.901% 1.434% 1,785,948 -1,290 2 0
Wisconsin 5,836,321 7.149% 1.727% 1.393% 5,624,335 -11,986 8 0
Wyoming 575,656 10.151% 0.695% 1.706% 574,211 -1,445 1 0
United States 332,480,287 18.780% 3.271% 2.929% 330,819,251 -1,661,037 435 1

 

Nate:

Projections of population levels are based on trends in population levels in the ACS |-year summary files, from 2014 to 2017
Projections of population ratios (e.g. "Percent Hispanic") are based on trends in those ratios in the ACS |-year PUMS files, from 2014 to 2017,

The "Change in Congressional Seats from Baseline" for the United States as a whole is the net number of seats that move from one state to another, avoiding double counting.

It is equal to the total number of seats lost by all states that lose seats: equivalently, it is equal to the total number of seats gained by all states that gain seats.
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Table 2B.1: Reapportionment Projections for 2020 5.8% Undercount Due to Citizenship Question

 

 

 

 

 

 

Actual State Percent Non- ‘Pamant Nort: Census Count : , Shange i
State Population Percent Hispanic Hispanic, Non- Hispanic, Giizan, with Citizenship Cerisus Statewide | Pongressional Congressional
Projection 2020 Citizen Living: With Non- Question Undercount seals Seats ftom
Citizens Baseline
Alabama 4,906,793 4.350% 1.063% 0.844% 4,888,985 -17,808 6 0
Alaska 742,589 7.367% 2.950% 4.806% 736,076 6,514 1 0
Arizona 7,313,407 32.202% 2.547% 1.776% 7,158,475 -154,932 10 0
Arkansas 3,040,950 7.953% 1.390% 1.034% 3,022,648 -18,302 4 0
Califomia 40,318,943 39.619% 5.051% 4.720% 39,163,956 -1,154,987 52 -1
Colorado 5,861,962 21.801% 2.408% 2.355% 5,771,649 90,313 8 0
Connecticut 3,577,217 17.234% 3.838% 3.997% 3,525,204 -52,014 5 0
Delaware 987,534 9.830% 2.633% 2.421% 979,009 8,525 1 0
Florida 22,034,897 27.058% 3.715% 3.713% 21,594,160 440,737 23 0
Georgia 10,756,967 10.043% 3.100% 2.639% 10,658,504 98,463 14 0
Hawaii 1,436,609 11.039% 6.729% 8.141% 1,415,022 -21,587 2 0
Idaho 1,800,494 12.834% 0.891% 1.494% 1,784,600 -15,894 2 0
Illinois 12,728,769 17.733% 3.487% 2.585% 12,553,022 “175,747 17 0
Indiana 6,735,072 7.371% 2.049% 1.693% 6,691,660 43,412 9 0
lowa 3,182,989 6.352% 2.052% 1.642% 3,164,443 -18,547 4 0
Kansas 2,925,620 12.457% 1.683% 1.384% 2,899,278 -26,343 4 0
Kentucky 4,494,713 3.715% 1.439% 1.281% 4,477,940 -16,773 6 0
Louisiana 4,717,157 5.617% 1.030% 0.877% 4,696,569 -20,588 6 0
Maine 1,342,361 2.096% 1.144% 2.601% 1,337,814 4,547 2 0
Maryland 6,128,312 10.966% 3.746% 3.675% 6,062,958 65,354 8 QO
Massachusetts 6,954,630 12.835% 6.690% 4 539% 6,857 568 -97,063 9 Oo
Michigan 10,006,187 5.278% 2.937% 2.086% 9,946,408 59,779 13 0
Minnesota 5,692,816 5.554% 2.891% 3.128% 5,654,605 -38,211 8 1
Mississippi 2,980,001 3.083% 0.573% 0.366% 2,973,050 6,952 4 0
Missoun 6,164,890 4.535% 1.443% 0.916% 6,140,240 -24,650 8 0
Montana 1,079,348 4.251% 0.646% 1.211% 1,075,524 -3,824 2 1
Nebraska 1,956,716 11.748% 2.724% 2.717% 1,937,208 -19,508 3 0
Nevada 3,159,442 29.850% 3.438% 2.984% 3,092,975 66,468 4 0
New Hampshire 1,355,867 4.376% 3.029% 1.670% 1,348,731 “7,137 2 0
New Jersey 9,063,461 21.487% 5.765% 5.141% $893,174 -170,287 12 0
New Mexico 2,092,538 49.773% 1.053% 0.827% 2,029,849 62,689 3 Oo
New York 19,919,166 19.781% 5.740% 5.756% 19,557,818 -361,348 26 Oo
North Carolina 10,588,169 9.752% 2.383% 1.752% 10,502,886 85,283 14 0
North Dakota 771,081 5.090% 1.908% 1.179% 767 424 -3,657 1 0
Ohio 11,718,404 4.044% 1.732% 1.382% 11,669,747 48,657 15 0
Oklahoma 3,982,803 11.530% 1.401% 1.104% 3,950,381 32,422 5 0
Oregon 4,317,379 13.549% 2.728% 2.840% 4,269,510 47,869 6 0
Pennsylvania 12,819,483 8.124% 2.430% 1.632% 12,728,877 -90,606 17 0
Rhode Island 1,064,112 16.710% 2.998% 2.372% 1,050,484 -13,627 1 0
South Carolina 5,214,916 6.036% 1.264% 1.029% 5,189,722 -25,194 7 0
South Dakota 888,634 3.671% 1.240% 1.832% 885,159 -3,475 1 0
Tennessee 6,881,637 5.845% 1.627% 1.404% 6,846,210 -35,427 9 0
Texas 29,604,237 40.209% 3.062% 2.537% 28,817,694 -786,543 38 1
Utah 3,259,702 14.591% 1.947% 2.286% 3,224,115 -35,587 4 0
Vermont 621,822 2.412% 2.744% 1.303% 619,493 -2,330 1 QO
Virginia 8,612,962 9.872% 3.232% 3.869% 8,528,170 84,792 11 0
Washington 7,751,401 13.183% 4.880% 4.101% 7,651,758 -99,643 10 Oo
Washington DC 725,909 11,758% 6.064% 5.690% 716,010 9,899 0 0
West Virginia 1,787 238 1.275% 0.901% 1.434% 1,783,496 “3,742 2 0
Wisconsin 5,836,321 7.149% 1.727% 1.393% 5,801,561 -34,761 8 0
Wyoming 575,656 10.151% 0.695% 1.706% 571,465 4,191 1 0
United States 332,480,287 18.780% 3.271% 2.929% 327,663,280 4,817,007 435 2

 

Nate:

Projections of population levels are based on trends in population levels in the ACS |-year summary files, from 2014 to 2017
Projections of population ratios (e.g. "Percent Hispanic") are based on trends in those ratios in the ACS |-year PUMS files, from 2014 to 2017.

The "Change in Congressional Seats from Baseline" for the United States as a whole is the net number of seats that move from one state to another, avoiding double counting.
It is equal to the total number of seats lost by all states that lose seats: equivalently, it is equal to the total number of seats gained by all states that gain seats.
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Table 2C.1: Reapportionment Projections for 2020 8.09% Undercount Due to Citizenship Question

 

 

 

 

 

 

Percent Non- Change in
State Seance Percent Hispanic para d é Hispanic, Citizen, means Census Statewide | Congressional Congressional
Projection 2020 Citizen Living: With Non- Question Undermount eats Seats ftom

Citizens Baseline
Alabama 4,906,793 4.350% 1.063% 0.844% 4,881,954 -24,839 # 1
Alaska 742,589 7.367% 2.950% 4.806% 733,504 -9,085 1 0
Arizona 7,313,407 32.202% 2.547% 1.776% 7,097,304 -216,103 9 -1
Arkansas 3,040,950 7.953% 1.390% 1.034% 3,015,422 -25,528 4 0
Califomia 40,318,943 39.619% 5.051% 4.720% 38,707,936 -1,611,007 51 2
Colorado 5,861,962 21,801% 2.408% 2.355% 5,735,991 -125,971 8 0
Connecticut 3,577,217 17.234% 3.838% 3.997% 3,504,667 -72,550 5 0
Delaware 987,534 9.830% 2.633% 2.421% 975,643 -11,891 1 0
Florida 22,034,897 27.058% 3.715% 3.713% 21,420,144 614,753 23 0
Georgia 10,756,967 10.043% 3.100% 2.639% 10,619,629 -137,338 14 0
Hawaii 1,436,609 11.039% 6.729% 8.141% 1,406,499 -30,110 2 0
Idaho 1,800,494 12.834% 0.891% 1.494% 1,778,325 22,169 2 0
Illinois 12,728,769 17.733% 3.487% 2.585% 12,483,632 -245,137 17 0
Indiana 6,735,072 7.371% 2.049% 1.693% 6,674,520 60,552 9 0
lowa 3,182,989 6.352% 2.052% 1.642% 3,157,120 -25,869 4 0
Kansas 2,925,620 12.457% 1.683% 1.384% 2,888,877 -36,744 4 0
Kentucky 4,494,713 3.715% 1.439% 1.281% 4,471,317 -23,396 6 0
Louisiana 4,717,157 5.617% 1.030% 0.877% 4,688,441 “28,716 6 0
Maine 1,342,361 2.096% 1.144% 2.601% 1,336,019 6,343 2 0
Maryland 6,128,312 10.966% 3.746% 3.675% 6,037,155 -91,158 8 0
Massachusetts 6,954,630 12.835% 6.690% 4.539% 6,819,244 “135,386 9 oO
Michigan 10,006,187 5.278% 2.937% 2.086% 9,922,805 83,382 13 0
Minnesota 5,692,816 5.554% 2.891% 3.128% 5,639,518 -63,298 8 1
Mississippi 2,980,001 3.083% 0.573% 0.366% 2,970,305 -9,696 4 0
Missoun 6,164,890 4.535% 1.443% 0.916% 6,130,507 -34,383 8 0
Montana 1,079,348 4.251% 0.646% 1.211% 1,074,014 5,333 2 1
Nebraska 1.956,716 11.748% 2.724% 2.717% 1,929,506 -27,210 3 0
Nevada 3,159,442 29.850% 3.438% 2.984% 3,066,731 “92,711 4 0
New Hampshire 1,355,867 4.376% 3.029% 1.670% 1,345,913 -9,954 2 0
New Jersey 9,063,461 21.487% 5.765% 5.141% 8,825,941 -237,520 12 0
New Mexico 2,092,538 49.773% 1.053% 0.827% 2,005,098 87,440 3 Oo
New York 19,919,166 19.781% 5.740% 5.756% 19,415,148 -504,018 26 0
North Carolina 10,588,169 9.752% 2.383% 1.752% 10,469,214 -118,955 14 0
North Dakota 771,081 5.090% 1.908% 1.179% 765,980 5,101 1 0
Ohio 11,718,404 4.044% 1.732% 1.382% 11,650,535 67,869 16 1
Oklahoma 3,982,803 11.530% 1.401% 1.104% 3,937,580 45,223 5 0
Oregon 4,317,379 13.549% 2.728% 2.840% 4,250,610 66,769 6 0
Pennsylvania 12,819,483 8.124% 2.430% 1.632% 12,693,104 -126,379 17 0
Rhode Island 1,064,112 16.710% 2.998% 2.372% 1,045,104 -19,008 1 0
South Carolina 5,214,916 6.036% 1.264% 1.029% 5,179,774 -35,142 7 0
South Dakota 888,634 3.671% 1.240% 1.832% 883,787 4,847 1 0
Tennessee 6,881,637 5.845% 1.627% 1.404% 6,832,223 49,414 9 0
Texas 29,604,237 40,209% 3.062% 2.537% 28,507,144 -1,097,093 38 -1
Utah 3,259,702 14.591% 1.947% 2.286% 3,210,064 49,638 4 0
Vermont 621,822 2.412% 2.744% 1.303% 618,573 3,250 1 0
Virginia 8,612,962 9.872% 3.232% 3.869% 8,494,691 -118,271 11 0
Washington 7,751,401 13.183% 4.880% 4.101% 7,612,416 -138,985 10 0
Washington DC 725,909 11,758% 6.064% 5.690% 712,101 -13,808 0 0
West Virginia 1,787 238 1.275% 0.901% 1.434% 1,782,018 -5,220 2 0
Wisconsin 5,836,321 7.149% 1.727% 1.393% 5,787,836 48,485 8 0
Wyoming 575,656 10.151% 0.695% 1.706% 569,810 -5,846 1 0
United States 332,480,287 18.780% 3.271% 2.929% 325,761,392 6,718,895 435 4

 

Nate:

Projections of population levels are based on trends in population levels in the ACS |-year summary files, from 2014 to 2017
Projections of population ratios (e.g. "Percent Hispanic") are based on trends in those ratios in the ACS |-year PUMS files, from 2014 to 2017.

The "Change in Congressional Seats from Baseline" for the United States as a whole is the net number of seats that move from one state to another, avoiding double counting.

It is equal to the total number of seats lost by all states that lose seats; or, equivalently, it is equal to the total number of seats gained by all states that gain seats.
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Table 44.1: Statewide Population Projections for July 2020 with Undercount Rates Due to Citizenship Question
Version 1: 1.08% Undercount for Non-Citizens, 10% Undercount for Hispanics (Mitigated with 98.58% NRFU)

 

 

 

 

, Population :
State eee ie Percent Non- hse Statewide Estimate (As of ion ‘
Citizen oe Undercount = July 2020) with
2020 Citizen Percentage
Undercount
1.08% 0.14%
Undercount Undercount
Alabama 4,909,706] 2.402% 3.038% -1,488 4,908,218 0.030%
Alaska 742,844 3.433% 6.917% -349 742,495 0.047%
Arizona 7,340,419] 6.962% 27.996% 8,450 7,931,970 0.115%
Arkansas 3,044,284| 2.985% 6.562% -1,267 3,043,017 0.042%
California 40,390,060] 12.192% 32.650% 72,024 40,318,036 0.178%
Colorado §,885,126| 5.398% 18.874% -5,015 5,880,111 0.085%
Connecticut 3,576,220] 6.977% 14.124% -3,418 3,572,802 0.096%
Delaware 989,861] 5.422% 7.074% 680 989,180 0.069%
Florida 22,130,397 9.302% 21.659% -29,087 22,101,310 0.131%
Georgia 10,786,748 5.783% 7.455% -7,894 10,778,854 0.073%
Hawaii 1,437,434 7.222% 10.578% -1,340 1,436,095 0.093%
Idaho 1,808,090 2.516% 11.439% -786 1,807,304 0.043%
Illinois 12,722,110] 7.330% 13.951% -12,614 12,709,496 0.099%
Indiana 6,741,276] 3.596% 5.878% -3,187 6,738,090 0.047%
lowa 3,186,378] 3.006% 5.492% -1,285 3,185,093 0.040%
Kansas 2,926,757| 3.785% 10.502% -1,636 2,925,121 0.056%
Kentucky 4,498,397 2.372% 2.823% -1,335 4,497 062 0.030%
Louisiana 4,720,141| 2.446% 4.253% “1,535 4,718,606 0.033%
Maine 1,342,948 1.298% 1.943% -226 1,342,722 0.017%
Maryland 6,135,233 7.187% 7.584% 5,433 6,129,801 0.089%
Massachusetts 6,963,249] 8.705% 10.981% -7,646 6,955,603 0.110%
Michigan 10,010,176 3.831% 4.431% -4,780 10,005,396 0.048%
Minnesota 5,703,381] 3.987% 4.526% -2,828 5,700,553 0.050%
Mississippi 2,979,629 1.036% 2.731% -450 2,979,179 0.015%
Missouri 6,169,559 2.204% 3.818% -1,806 6,167,753 0.029%
Montana 1,081,971 1.165% 3.713% -193 1,081,777 0.018%
Nebraska 1,960,047) 5.128% 9.350% -1,348 1,958,699 0.069%
Nevada 3,174,115] 9.891% 23.567% -4,460 3,169,655 0.141%
New Hampshire 1,357,056] 3.349% 4.189% 573 1,356,483 0.042%
New Jersey 9,068,717] 10.469% 16.922% -12,455 9,056,262 0.137%
New Mexico 2,092,944| 4.342% 46.905% -2,378 2,090,567 0.114%
New York 19,925,509] 9.669% 15.921% -25,357 19,900,152 0.127%
North Carolina 10,616,783] 4.871% 7.367% -6,709 10,610,074 0.063%
North Dakota 772,507 2.634% 4.494% -270 772,238 0.035%
Ohio 11,723,840] 2.212% 3.606% -3,407 11,720,433 0.029%
Oklahoma 3,987,525] 3.611% 9.495% -2,096 3,985,429 0.053%
Oregon 4,333,252| 4.865% 11.617% -2,997 4,330,255 0.069%
Pennsylvania 12,820,751] 3.458% 7.193% 6,108 12,814,643 0.048%
Rhode Island 1,064,518] 5.664% 14.304% 869 1,063,650 0.082%
South Carolina §,232,238 2.604% 4.799% -1,831 5,230,408 0.035%
South Dakota 890,358] 2.681% 2.454% -289 890,069 0.033%
Tennessee 6,896,696] 3.099% 4.491% -2,753 6,893,943 0.040%
Texas 29,722,386] 10.626% 32.746% 48,004 29,674,382 0.162%
Utah 3,274,054 §.423% 11.178% -2,441 3,271,613 0.075%
Vermont 621,655] 2.868% 2.384% 214 621,441 0.034%
Virginia 8,625,957] 5.626% 7.615% -6,186 8,619,771 0.072%
Washington 7,782,825 7.840% 10.299% 7,742 7,775,083 0.099%
Washington DC 728,813] 9.663% 8.311% 848 727,964 0.116%
West Virginia 1,784,636 0.763% 1.419% -183 1,784,453 0.010%
Wisconsin 5,840,034) 2.651% 6.282% -2,197 5,837,837 0.038%
Wyoming 575,324] 1.912% 9.015% -193 575,131 0.033%
United States 333,094,933| 6.825% 15.345% -318,659 332,776,274 0.096%

 

 

 

Note:

Projections of population levels are based on trends in population levels in the ACS 1-year summary files, from
2014 to 2017

Projections of population ratios (e.g. "Percent Hispanic") are based on trends in those ratios in the ACS 1-year
PUMS files, from 2014 to 2017.
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Table 4B.1: Statewide Population Projections for July 2021 with Undercount Rates Due to Citizenship Question
Version 1; 1.08% Undercount for Non-Citizens, 10% Undercount for Hispanics (Mitigated with 98.58% NRFU)

 

 

 

 

 

 

Population
Projected ; Estimate (As Statewide
State Population Earont Non . Pament Statewide of July 2021) Undercount
July 2021 Citizen Hispanic Citizen | Undercount with Ramantage
Undercount
1.08% 0.14%
Undercount Undercount
Alabama 4,921,359 2.457% 3.086% -1,524 4,919,835 0.031%
Alaska 743,860 3.452% 7.032% -352 743,507 0.047%
Arizona 7,448,469 6.767% 28.579% -8,478 7,439,991 0.114%
Arkansas 3,057,619 2.914% 6.978% -1,267 3,056,352 0.041%
California 40,674,529 11.948% 33.200% 71,777 =40,602,752 0.176%
Colorado 5,977,784 5.322% 19.143% -5,068 5,972,716 0.085%
Connecticut 3,572,232 6.947% 14.445% -3,419 3,568,814 0.096%
Delaware 999,168 5.596% 7.019% -705 998,463 0.071%
Florida 22,512,396 9.304% 22.272% -29,790 22,482,606 0.132%
Georgia 10,905,871 5.791% 7.724% -8,032 10,897,839 0.074%
Hawaii 1,440,733 7.227% 10.732% -1,346 1,439,386 0.093%
Idaho 1,838,472 2.328% 11.815% -772 1,837,700 0.042%
Illinois 12,695,472 7.434% 14.148% -12,766 12,682,706 0.101%
Indiana 6,766,096 3.710% 6.056% -3,299 6,762,797 0.049%
lowa 3,199,934 2.986% 5.737% “1,295 3,198,639 0.040%
Kansas 2,931,301 3.708% 10.880% -1,629 2,929,672 0.056%
Kentucky 4,513,134 2.377% 2.936% -1,349 4,511,785 0.030%
Louisiana 4,732,077 2.462% 4.413% -1,558 4,730,519 0.033%
Maine 1,345,295 1.227% 2.126% -219 1,345,076 0.016%
Maryland 6,162,919 7.133% 7.879% -5,447 6,157,472 0.088%
Massachusetts 6,997,726 8.927% 11.401% -7,895 6,989,832 0.113%
Michigan 10,026,131 3.959% 4.502% 4,937 10,021,194 0.049%
Minnesota 5,745,639 3.988% 4.705% -2,864 6,742,775 0.050%
Mississippi 2,978,138 0.994% 2.920% -444 2,977,694 0.015%
Missouri 6,188,234 2.254% 3.941% -1,856 6,186,379 0.030%
Montana 1,092,463 1.162% 3.835% -197 1,092,267 0.018%
Nebraska 1,973,371 5.330% 9.725% -1,411 1,971,960 0.071%
Nevada 3,232,808 9.819% 24.124% 4,543 3,228,265 0.141%
New Hampshire 1,361,809 3.479% 4.523% ~600 1,361,209 0.044%
New Jersey 9,089,741 10.578% 17.335% -12,645 9,077,096 0.139%
New Mexico 2,094,569 4.058% 47.760% -2,340 2,092,229 0.112%
New York 19,950,879 9.572% 16.202% -25,261 19,925,618 0.127%
North Carolina 10,731,238 4.851% 7.685% 6,806 10,724,432 0.063%
North Dakota 778,212 2.674% 6.150% -282 777,930 0.036%
Ohio 11,745,584 2.232% 3.735% 3,461 9 11,742,123 0.029%
Oklahoma 4,006,412 3.570% 9.952% -2,114 4,004,298 0.053%
Oregon 4,396,744 4.735% 12.080% -3,008 4,393,736 0.068%
Pennsylvania 12,825,822 3.533% 7.499% 6,270 12,819,552 0.049%
Rhode Island 1,066,145 5.571% 14.988% -870 1,065,275 0.082%
South Carolina 5,301,528 2.564% 5.033% -1,850 5,299,678 0.035%
South Dakota 897,255 2.967% 2.366% -318 896,937 0.035%
Tennessee 6,956,934 3.084% 4.759% -2,793 6,954,141 0.040%
Texas 30,194,983 10.584% 33.194% -48,823 30,146,160 0.162%
Utah 3,331,461 5.445% 11.387% -2,502 3,328,959 0.075%
Vermont 620,988 3.063% 2.583% -229 620,760 0.037%
Virginia 8,677,936 5.524% 7.949% -6,168 8,671,768 0.071%
Washington 7,908,519 7.973% 10.506% -8,005 7,900,514 0.101%
Washington DC 740,426 9.846% 8.746% -881 739,545 0.119%
West Virginia 1,774,229 0.760% 1.508% -184 1,774,045 0.010%
Wisconsin 5,854,884 2.664% 6.504% -2,229 5,852,656 0.038%
Wyoming 573,993 1.809% 9.190% -187 573,806 0.033%
United States 335,553,518 6.805% 15.719% -322,064 335,231,454 0.096%

 

Note:

Projections of population levels are based on trends in population levels in the ACS 1-year summary files, from
2014 to 2017

Projections of population ratios (e.g. "Percent Hispanic") are based on trends in those ratios in the ACS 1-year
PUMS files, from 2014 to 2017.
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Table 4C.1: Statewide Population Projections for July 2022 with Undercount Rates Due to Citizenship Question
Version 1: 1.08% Undercount for Non-Citizens, 10% Undercount for Hispanics (Mitigated with 98.58% NRFU)

 

 

 

 

‘ Population .
St Pobded Percent Non- Percent Hispanic Statewide Estimate (As of StatewKie
ate Population July a “a: ; Undercount
2022 Citizen Citizen Undercount July 2022) with Paicantaga
Undercount
1.08% 0.14%
Undercount Undercount
Alabama 4,933,012 2.514% 3.135% -1,562 4,931,450 0.032%
Alaska 744,876 3.472% 7.148% 355 744,520 0.048%
Arizona 7,556,519 6.576% 29.173% -8,509 7,548,010 0.113%
Arkansas 3,070,953 2.844% 7.420% -1,269 3,069,685 0.041%
California 40,958,998 11.709% 33.759% -71,546 40,887,452 0.175%
Colorado 6,070,441 5.248% 19.416% -5,121 6,065,320 0.084%
Connecticut 3,568,244 6.917% 14.773% -3,420 3,564,824 0.096%
Delaware 1,008,475 5.775% 6.964% -730 1,007,745 0.072%
Florida 22,894,395 9.307% 22.902% -30,507 22,863,888 0.133%
Georgia 11,024,994 5.799% 8.003% -8,173 11,016,821 0.074%
Hawaii 1,444,032 7.231% 10.888% -1,354 1,442,678 0.094%
Idaho 1,868,854 2.153% 12.203% -759 1,868,095 0.041%
Illinois 12,668,835 7.540% 14.349% -12,921 12,655,914 0.102%
Indiana 6,790,915 3.828% 6.239% -3,415 6,787,500 0.050%
lowa 3,213,489 2.967% 5.993% -1,305 3,212,184 0.041%
Kansas 2,935,846 3.633% 11.271% -1,624 2,934,221 0.055%
Kentucky 4,527,870 2.381% 3.053% -1,363 4,526,507 0.030%
Louisiana 4,744,012 2.478% 4.578% -1,581 4,742,432 0.033%
Maine 1,347,642 1.161% 2.326% -214 1,347 428 0.016%
Maryland 6,190,604 7.079% 8.185% -5,463 6,185,142 0.088%
Massachusetts 7,032,203 9.155% 11.837% -8,150 7,024,053 0.116%
Michigan 10,042,086 4.091% 4.575% -5,099 10,036,987 0.051%
Minnesota 5,787,898 3.989% 4.891% -2,901 5,784,997 0.050%
Mississippi 2,976,648 0.954% 3.122% -439 2,976,209 0.015%
Missouri 6,206,910 2.305% 4.068% -1,907 6,205,003 0.031%
Montana 1,102,956 1.159% 3.962% -200 1,102,756 0.018%
Nebraska 1,986,695 5.539% 10.115% -1,476 1,985,218 0.074%
Nevada 3,291,500 9.747% 24.695% -4,627 3,286,873 0.141%
New Hampshire 1,366,563 3.614% 4.883% 629 1,365,934 0.046%
New Jersey 9,110,765 10.688% 17.759% -12,837 9,097,928 0.141%
New Mexico 2,096,194 3.791% 48.630% -2,308 2,093,886 0.110%
New York 19,976,249 9.477% 16.488% -25,167 19,951,082 0.126%
North Carolina 10,845,692 4.831% 8.017% -6,905 10,838,787 0.064%
North Dakota 783,917 2.713% 5.902% -296 783,621 0.038%
Ohio 11,767,327 2.252% 3.868% -3,515 11,763,812 0.030%
Oklahoma 4,025,299 3.529% 10.431% -2,134 4,023,166 0.053%
Oregon 4,460,235 4.608% 12.560% -3,020 4,457,216 0.068%
Pennsylvania 12,830,894 3.610% 7.817% -6,437 12,824,457 0.050%
Rhode Island 1,067,771 5.479% 15.705% -871 1,066,900 0.082%
South Carolina 5,370,818 2.524% 5.279% -1,870 5,368,948 0.035%
South Dakota 904,152 3.284% 2.282% -351 903,802 0.039%
Tennessee 7,017,171 3.070% 5.044% -2,834 7,014,337 0.040%
Texas 30,667,580 10.543% 33.648 % -49,650 30,617,930 0.162%
Utah 3,388 868 5.467% 11,.601% -2,563 3,386,305 0.076%
Vermont 620,321 3.271% 2.798% -244 620,077 0.039%
Virginia 8,729,915 5.423% 8.297% 6,153 8,723,762 0.070%
Washington 8,034,213 8.109% 10.717% -8,274 8,025,939 0.103%
Washington DC 752,040 10.032% 9.205% -915 751,125 0.122%
West Virginia 1,763,822 0.757% 1.602% -185 1,763,638 0.010%
Wisconsin 5,869,734 2.677% 6.734% -2,262 5,867,473 0.039%
Wyoming 572,663 1.711% 9.369% -182 572,481 0.032%
United States 338,012,104 6.787% 16.103% -325,593 337,686,511 0.096%

 

 

 

Note:

Projections of population levels are based on trends in population levels in the ACS 1-year summary files, from 2014 to 2017

Projections of population ratios (e.g. "Percent Hispanic") are based on trends in those ratios in the ACS 1-year PUMS files, from 2014

to 2017.
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Table 4A.2: Statewide Population Projections for July 2020 with Undercount Rates Due to Citizenship Question

 

 

 

Version 2: 0.08% Undercount for all Non-Citizens and Households that Include Non-Citizens

Projected Percent Non- Statewide cari ue f Statewide

State Population July | Citizen or Living . Undercount

2020 with Non-Citizen Dagerolnt Huby 20281) ith Percentage

Undercount

Alabama 4,909,706 4.622% -187 4,909,519 0.004%
Alaska 742,844 8.654% -53 742,791 0.007%
Arizona 7,340,419 15.880% -960 7,339,459 0.013%
Arkansas 3,044,284 6.109% -153 3,044,131 0.005%
California 40,390,060 26.968% -8,972 40,381,088 0.022%
Colorado 5,885,126 11.307% -548 5,884,579 0.009%
Connecticut 3,576,220 13.965% 411 3,575,809 0.012%
Delaware 989,861 10.548% -86 989,775 0.009%
Florida 22,130,397 17. 497% -3,189 22,127,208 0.014%
Georgia 10,786,748 11.280% -1,002 10,785,746 0.009%
Hawaii 1,437,434 16.465% -195 1,437,239 0.014%
Idaho 1,808,090 6.220% -93 1,807,997 0.005%
Illinois 12,722,110 14.959% -1,567 12,720,543 0.012%
Indiana 6,741,276 7.159% -397 6,740,879 0.006%
lowa 3,186,378 6.222% -163 3,186,215 0.005%
Kansas 2,926,757 7.554% -182 2,926,575 0.006%
Kentucky 4,498,397 4.551% -168 4,498,229 0.004%
Louisiana 4,720,141 4.365% -170 4,719,971 0.004%
Maine 1,342,948 3.741% 41 1,342,907 0.003%
Maryland 6,135,233 13.954% -705 6,134,529 0.011%
Massachusetts 6,963,249 14.829% -850 6,962,399 0.012%
Michigan 10,010,176 6.770% -558 10,009,618 0.006%
Minnesota 5,703,381 8.691% 408 5,702,973 0.007%
Mississippi 2,979,629 2.026% -50 2,979,579 0.002%
Missouri 6,169,559 4.087% -208 6,169,351 0.003%
Montana 1,081,971 2.509% -22 1,081,948 0.002%
Nebraska 1,960,047 10.174% -164 1,959,883 0.008%
Nevada 3,174,115 20.414% -534 3,173,582 0.017%
New Hampshire 1,357,056 5.009% -56 1,357,000 0.004%
New Jersey 9,068,717 20.211% -1,510 9,067,207 0.017%
New Mexico 2,092,944 10.283% -177 2,092,767 0.008%
New York 19,925,509 19.531% -3,205 19,922,304 0.016%
North Carolina 10,616,783 9.391% -821 10,615,962 0.008%
North Dakota 772,507 4.540% -29 772,478 0.004%
Ohio 11,723,840 4.010% -387 11,723,453 0.003%
Oklahoma 3,987,525 6.829% -224 3,987,301 0.006%
Oregon 4,333,252 11.132% -397 4,332,855 0.009%
Pennsylvania 12,820,751 6.100% -644 12,820,107 0.005%
Rhode Island 1,064,518 10.454% -92 1,064,427 0.009%
South Carolina 5,232,238 5.005% -216 5,232,023 0.004%
South Dakota 890,358 4.242% “31 890,327 0.003%
Tennessee 6,896,696 6.128% -348 6,896,348 0.005%
Texas 29,722,386 21.968% -5,378 29,717,008 0.018%
Utah 3,274,054 10.933% -295 3,273,759 0.009%
Vermont 621,655 4.054% 21 621,635 0.003%
Virginia 8,625,957 11.562% -821 8,625,136 0.010%
Washington 7,782,825 15.368% -985 7,781,840 0.013%
Washington DC 728,813 18.478% -111 728,702 0.015%
West Virginia 1,784,636 2.180% -32 1,784,604 0.002%
Wisconsin 5,840,034 5.208% -250 5,839,784 0.004%
Wyoming 575,324 6.361% -30 575,294 0.005%
United States 333,094,933 13.887 % -38,098 333,056,836 0.011%

 

 

 

Note:

Projections of population levels are based on trends in population levels in the ACS 1-year summary files, from
2014 to 2017

Projections of population ratios (e.g. "Percent Hispanic") are based on trends in those ratios in the ACS 1-year
PUMS files, from 2014 to 2017.
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Table 4B.2: Statewide Population Projections for July 2021 with Undercount Rates Due to Citizenship Question

 

 

 

Version 2: 0.08% Undercount for all Non-Citizens and Households that Include Non-Citizens
. sn Population :
Projected Percent Non-Citizen : . Statewide
State Population July or Living with Non- Statewrle Estimate yates aly Undercount
2021 Citizen Unsloroount 2021) wath Percentage
Undercount

Alabama 4,921,359 4.747% -192 4,921,167 0.004%
Alaska 743,860 9.189% -56 743,803 0.008%
Arizona 7,448,469 15.747% -966 7,447,503 0.013%
Arkansas 3,057,619 6.054% -152 3,057,466 0.005%
Califomia 40,674,529 26.669% -8,933 40,665,596 0.022%
Colorado 5,977,784 11.199% -551 5,977,233 0.009%
Connecticut 3,572,232 14.167% 417 3,571,815 0.012%
Delaware 999,168 10.865% -89 999,078 0.009%
Florida 22,512,396 17.609% -3,264 22,509,132 0.015%
Georgia 10,905,871 11.283% -1,014 10,904,857 0.009%
Hawaii 1,440,733 16.570% -197 1,440,536 0.014%
Idaho 1,838,472 5.984% -91 1,838,381 0.005%
Illinois 12,695,472 15.188% -1,588 12,693,884 0.013%
Indiana 6,766,096 7.481% 417 6,765,679 0.006%
lowa 3,199,934 6.280% -165 3,199,768 0.005%
Kansas 2,931,301 7.359% -178 2,931,123 0.006%
Kentucky 4,513,134 4.630% -172 4,512,962 0.004%
Louisiana 4,732,077 4.413% -172 4,731,905 0.004%
Maine 1,345,295 3.869% 43 1,345,252 0.003%
Maryland 6,162,919 13.982% -710 6,162,209 0.012%
Massachusetts 6,997,726 15.032% -866 6,996,860 0.012%
Michigan 10,026,131 6.948% -574 10,025,557 0.006%
Minnesota 5,745,639 8.904% 421 5,745,218 0.007%
Mississippi 2,978,138 1.958% 48 2,978,090 0.002%
Missouri 6,188,234 4.158% -212 6,188,023 0.003%
Montana 1,092,463 2.551% -23 1,092,440 0.002%
Nebraska 1,973,371 10.607% -172 1,973,199 0.009%
Nevada 3,232,808 20.201% -538 3,232,270 0.017%
New Hampshire 1,361,809 4.931% -55 1,361,754 0.004%
New Jersey 9,089,741 20.526% -1,537 9,088,204 0.017%
New Mexico 2,094,569 9.857% -170 2,094,399 0.008%
New York 19,950,879 19.532% -3,209 19,947,670 0.016%
North Carolina 10,731,238 9.374% -829 10,730,409 0.008%
North Dakota 778,212 4.628% -30 778,182 0.004%
Ohio 11,745,584 4.073% -394 11,745,190 0.003%
Oklahoma 4,006,412 6.757% -223 4,006,189 0.006%
Oregon 4,396,744 11.067% 401 4,396,343 0.009%
Pennsylvania 12,825,822 6.178% -~652 12,825,170 0.005%
Rhode Island 1,066,145 10.232% -90 1,066,055 0.008%
South Carolina 5,301,528 4.946% -216 5,301,312 0.004%
South Dakota 897,255 4.474% -33 897,222 0.004%
Tennessee 6,956,934 6.159% -353 6,956,581 0.005%
Texas 30,194,983 21.961% -5,461 30,189,522 0.018%
Utah 3,331,461 10.913% -299 3,331,162 0.009%
Vermont 620,988 4.116% 21 620,967 0.003%
Virginia 8,677,936 11.578% -828 8,677,108 0.010%
Washington 7,908,519 15.686% -1,022 7,907,497 0.013%
Washington DC 740,426 19.438% -119 740,308 0.016%
West Virginia 1,774,229 2.407% -35 1,774,194 0.002%
Wisconsin 5,854,884 5.247% -253 5,854,631 0.004%
Wyoming 573,993 6.649% -31 573,962 0.005%
United States 335,553,518 13.925% -38,482 335,515,036 0.011%

 

 

 

Note:

Projections of population levels are based on trends in population levels in the ACS 1-year summary files, from 2014 to 2017
Projections of population ratios (e.g. "Percent Hispanic") are based on trends in those ratios in the ACS 1-year PUMS files,
from 2014 to 2017.
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Table 4C.2: Statewide Population Projections for July 2022 with Undercount Rates Due to Citizenship Question

 

 

 

Version 2: 0.08% Undercount for all Non-Citizens and Households that Include Non-Citizens
‘ Population :
Projected Percent Non- : “ Statewide
State Population July | Citizen or Living stiaiewiell aKa Asics Undercount
2022 with Non-Citizen Hndercaunt duly 2022) with Percentage
Undercount
Alabama 4,933,012 4.874% -198 4,932,814 0.004%
Alaska 744,876 9.758% -60 744,816 0.008%
Arizona 7,556,519 15.615% 972 7,555,547 0.013%
Arkansas 3,070,953 5.999% -152 3,070,802 0.005%
Califomia 40,958,998 26.373% 8,898 40,950,100 0.022%
Colorado 6,070,441 11.091% -554 6,069,887 0.009%
Connecticut 3,568,244 14.373% 422 3,567,822 0.012%
Delaware 1,008,475 11.192% -93 1,008,382 0.009%
Florida 22,894,395 17.722% -3,341 22,891,054 0.015%
Georgia 11,024,994 11.285% -1,025 11,023,969 0.009%
Hawaii 1,444,032 16.676% -198 1,443,833 0.014%
Idaho 1,868,854 5.757% -89 1,868,766 0.005%
Illinois 12,668,835 15.421% -1,609 12,667,226 0.013%
Indiana 6,790,915 7.817% 437 6,790,478 0.006%
lowa 3,213,489 6.338% -168 3,218,022 0.005%
Kansas 2,935,846 7.169% -173 2,935,672 0.006%
Kentucky 4,527,870 4.710% -176 4,527,694 0.004%
Louisiana 4,744,012 4.461% -174 4,743,838 0.004%
Maine 1,347,642 4.002% 44 1,347,598 0.003%
Maryland 6,190,604 14.010% 714 6,189,890 0.012%
Massachusetts 7,032,203 15.238% 882 7,031,321 0.013%
Michigan 10,042,086 7.130% -590 10,041,496 0.006%
Minnesota 5,787,898 9.123% 435 5,787,463 0.008%
Mississippi 2,976,648 1.892% -46 2,976,602 0.002%
Missouri 6,206,910 4.230% 216 6,206,694 0.003%
Montana 1,102,956 2.593% -24 1,102,932 0.002%
Nebraska 1,986,695 11.058% -181 1,986,514 0.009%
Nevada 3,291,500 19.990% -542 3,290,958 0.016%
New Hampshire 1,366,563 4.855% -55 1,366,509 0.004%
New Jersey 9,110,765 20.846% -1,564 9,109,201 0.017%
New Mexico 2,096,194 9.449% -163 2,096,031 0.008%
New York 19,976,249 19.533% -3,215 19,973,034 0.016%
North Carolina 10,845,692 9.358% 836 10,844,856 0.008%
North Dakota 783,917 4.718% -30 783,886 0.004%
Ohio 11,767,327 4.138% -401 11,766,926 0.003%
Oklahoma 4,025,299 6.687% -222 4,025,078 0.006%
Oregon 4,460,235 11.003% -404 4,459,832 0.009%
Pennsylvania 12,830,894 6.258% -662 12,830,232 0.005%
Rhode Island 1,067,771 10.015% -88 1,067,683 0.008%
South Carolina 5,370,818 4.888% -216 5,370,602 0.004%
South Dakota 904,152 4.718% -35 904,117 0.004%
Tennessee 7,017,171 6.190% -358 7,016,813 0.005%
Texas 30,667,580 21.954% -5,546 30,662,034 0.018%
Utah 3,388,868 10.892% -304 3,388,564 0.009%
Vermont 620,321 4.179% -21 620,300 0.003%
Virginia 8,729,915 11.593% 834 8,729,081 0.010%
Washington 8,034,213 16.011% -1,060 8,033,153 0.013%
Washington DC 752,040 20.448% -127 751,913 0.017%
West Virginia 1,763,822 2.657% -39 1,763,784 0.002%
Wisconsin 5,869,734 5.286% -255 5,869,479 0.004%
Wyoming 572,663 6.951% -33 572,630 0.006%
United States 338,012,104 13.965% -38,880 337,973,223 0.012%

 

 

 

Note:

Projections of population levels are based on trends in population levels in the ACS 1-year summary files, from
2014 to 2017

Projections of population ratios (e.g. "Percent Hispanic") are based on trends in those ratios in the ACS 1-year
PUMS files, from 2014 to 2017.
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Table 4A.3: Statewide Population Projections for July 2020 with Undercount Rates Due to Citizenship Question
Version 3: 0.5% Undercount for all Non-Citizens

 

 

 

 

 

5 Population i
State Sa sietig ail Pelbenr tin: va siaabiied Bothnia (rim.oF ieoeee
2020 Citizen Undercount July 2020) with Percentage
Undercount
Alabama 4,909,706 2.400% -589 4,909,117 0.010%
Alaska 742,844 3.430% -128 742,716 0.020%
Anzona 7,340,419 6.960% -2,555 7,337,864 0.030%
Arkansas 3,044,284 2.990% ~154 3,043,829 0.010%
Califomia 40,390,060 12.190% -24,624 40,365,436 0.060%
Colorado 5,885,126 5.400% -1,588 5,883,538 0.030%
Connecticut 3,576,220 6.980% -1,248 3,574,973 0.030%
Delaware 989,861 5.420% -268 989,592 0.030%
Florida 22,130,397 9.300% -10,293 22,120,104 0.050%
Georgia 10,786,748 5.780% -3,119 10,783,629 0.030%
Hawaii 1,437,434 7.220% 519 1,436,915 0.040%
Idaho 1,808,090 2.520% -228 1,807,862 0.010%
Illinois 12,722,110 7.330% -4,663 12,717,447 0.040%
Indiana 6,741,276 3.600% -1,212 6,740,064 0.020%
lowa 3,186,378 3.010% 479 3,185,899 0.020%
Kansas 2,926,757 3.780% -554 2,926,203 0.020%
Kentucky 4,498,397 2.370% 533 4,497,864 0.010%
Louisiana 4,720,141 2.450% 577 4,719,564 0.010%
Maine 1,342,948 1.300% -87 1,342,861 0.010%
Maryland 6,135,233 7.190% -2,204 6,133,029 0.040%
Massachusetts 6,963,249 8.700% -3,031 6,960,219 0.040%
Michigan 10,010,176 3.830% -1,917 10,008,259 0.020%
Minnesota 5,703,381 3.990% -1,137 5,702,244 0.020%
Mississippi 2,979,629 1.040% -154 2,979,474 0.010%
Missouri 6,169,559 2.200% 680 6,168,879 0.010%
Montana 1,081,971 1.160% 63 1,081,908 0.010%
Nebraska 1,960,047 5.130% -503 1,959,545 0.030%
Nevada 3,174,115 9.890% -1,570 3,172,546 0.050%
New Hampshire 1,357,056 3.350% -227 1,356,829 0.020%
New Jersey 9,068,717 10.470% 4,747 9,063,970 0.050%
New Mexico 2,092,944 4.340% -454 2,092,490 0.020%
New York 19,925,509 9.670% -9,633 19,915,876 0.050%
North Carolina 10,616,783 4.870% -2,586 10,614,197 0.020%
North Dakota 772,507 2.630% -102 772,405 0.010%
Ohio 11,723,840 2.210% -1,296 11,722,544 0.010%
Oklahoma 3,987,525 3.610% -720 3,986,805 0.020%
Oregon 4,333,252 4.860% -1,054 4,332,198 0.020%
Pennsylvania 12,820,751 3.460% “2,216 12,818,535 0.020%
Rhode Island 1,064,518 5.660% -301 1,064,217 0.030%
South Carolina 5,232,238 2.600% -681 5,231,557 0.010%
South Dakota 890,358 2.680% -119 890,239 0.010%
Tennessee 6,896,696 3.100% -1,069 6,895,628 0.020%
Texas 29,722,386 10.630% -15,790 29,706,596 0.050%
Utah 3,274,054 5.420% 888 3,273,166 0.030%
Vermont 621,655 2.870% -89 621,566 0.010%
Virginia 8,625,957 5.630% -2,427 8,623,530 0.030%
Washington 7,782,825 7.840% -3,051 7,779,774 0.040%
Washington DC 728,813 9.660% -352 728,460 0.050%
West Virginia 1,784,636 0.760% -68 1,784,568 0.000%
Wisconsin 5,840,034 2.650% -774 5,839,260 0.010%
Wyoming 575,324 1.910% -55 575,269 0.010%
United States 333,094,933 6.830% -113,678 332,981,256 0.030%

 

Note:
Projections of population levels are based on trends in population levels in the ACS 1-year summary files, from
2014 to 2017

Projections of population ratios (e.g. "Percent Hispanic") are based on trends in those ratios in the ACS 1-year
PUMS files, from 2014 to 2017.
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Table 4B.3: Statewide Population Projections for July 2021 with Undercount Rates Due to Citizenship Question
Version 3: 0.5% Undercount for all Non-Citizens

 

 

 

: Population :
State feccnsteia ly Percent Non- Statewide Estimate (As of ee t
2021 Citizen Undercount July 2021) with Percentage
Undercount
Alabama 4,921,359 2.457% -605 4,920,754 0.012%
Alaska 743,860 3.452% -128 743,731 0.017%
Arizona 7,448,469 6.767% -2,520 7,445,949 0.034%
Arkansas 3,057,619 2.914% -445 3,057,173 0.015%
Califomia 40,674,529 11.948% -24,301 40,650,228 0.060%
Colorado 5,977,784 5.322% -1,590 5,976,194 0.027%
Connecticut 3,572,232 6.947% -1,241 3,570,991 0.035%
Delaware 999,168 5.596% -280 998,888 0.028%
Florida 22,512,396 9.304% -10,472 22,501,924 0.047%
Georgia 10,905,871 5.791% -3,158 10,902,713 0.029%
Hawaii 1,440,733 7.227% -521 1,440,212 0.036%
Idaho 1,838,472 2.328% -214 1,838,258 0.012%
Illinois 12,695,472 7.434% -4,719 12,690,753 0.037%
Indiana 6,766,096 3.710% -1,255 6,764,841 0.019%
lowa 3,199,934 2.986% 478 3,199,456 0.015%
Kansas 2,931,301 3.708% -544 2,930,758 0.019%
Kentucky 4,513,134 2.377% -536 4,512,598 0.012%
Louisiana 4,732,077 2.462% -583 4,731,494 0.012%
Maine 1,345,295 1.227% -83 1,345,212 0.006%
Maryland 6,162,919 7.133% -2,198 6,160,721 0.036%
Massachusetts 6,997,726 8.927% -3,124 6,994,603 0.045%
Michigan 10,026,131 3.959% -1,985 10,024,146 0.020%
Minnesota 5,745,639 3.988% -1,146 5,744,494 0.020%
Mississippi 2,978,138 0.994% -148 2,977,990 0.005%
Missouri 6,188,234 2.254% -697 6,187,537 0.011%
Montana 1,092,463 1.162% -64 1,092,400 0.006%
Nebraska 1,973,371 5.330% -526 1,972,845 0.027%
Nevada 3,232,808 9.819% -1,587 3,231,221 0.049%
New Hampshire 1,361,809 3.479% -237 1,361,573 0.017%
New Jersey 9,089,741 10.578% -4,808 9,084,933 0.053%
New Mexico 2,094,569 4.058% 425 2,094,144 0.020%
New York 19,950,879 9.572% -9,549 19,941,330 0.048%
North Carolina 10,731,238 4.851% -2,603 10,728,635 0.024%
North Dakota 778,212 2.674% -104 778,108 0.013%
Ohio 11,745,584 2.232% -1,311 11,744,273 0.011%
Oklahoma 4,006,412 3.570% -715 4,005,697 0.018%
Oregon 4,396,744 4.735% -1,041 4,395,703 0.024%
Pennsylvania 12,825,822 3.533% -2,265 12,823,557 0.018%
Rhode Island 1,066,145 5.571% -297 1,065,848 0.028%
South Carolina 5,301,528 2.564% -680 5,300,849 0.013%
South Dakota 897,255 2.967% -133 897,122 0.015%
Tennessee 6,956,934 3.084% -1,073 6,955,861 0.015%
Texas 30,194,983 10.584% -15,979 30,179,004 0.053%
Utah 3,331,461 5.445% -907 3,330,554 0.027%
Vermont 620,988 3.063% -95 620,893 0.015%
Virginia 8,677,936 5.524% -2,397 8,675,539 0.028%
Washington 7,908,519 7.973% -3,153 7,905,366 0.040%
Washington DC 740,426 9.846% -365 740,062 0.049%
West Virginia 1,774,229 0.760% -67 1,774,162 0.004%
Wisconsin 5,854,884 2.664% -780 5,854,105 0.013%
Wyoming 573,993 1.809% -52 573,941 0.009%
United States 335,553,518 6.805% -114,179 335,439,339 0.034%

 

 

 

Note:

Projections of population levels are based on trends in population levels in the ACS 1-year summary files, from
2014 to 2017

Projections of population ratios (e.g. "Percent Hispanic") are based on trends in those ratios in the ACS 1-year
PUMS files, from 2014 to 2017.
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Table 4C.3: Statewide Population Projections for July 2022 with Undercount Rates Due to Citizenship Question
Version 3: 0.5% Undercount for all Non-Citizens

 

 

 

: Population ‘
State Sgeattan Aiy Percent Non- Statewide Estimate (As of Ta t
2022 Citizen Undercount July 2022) with Percantage
Undercount
Alabama 4,933,012 2.514% -620 4,932,392 0.013%
Alaska 744,876 3.472% -129 744,747 0.017%
Arizona 7,556,519 6.576% -2,485 7,554,034 0.033%
Arkansas 3,070,953 2.844% -437 3,070,517 0.014%
Califomia 40,958,998 11.709% -23,982 40,935,016 0.059%
Colorado 6,070,441 5.248% -1,593 6,068,849 0.026%
Connecticut 3,568,244 6.917% -1,234 3,567,010 0.035%
Delaware 1,008,475 5.775% -291 1,008,184 0.029%
Florida 22,894,395 9.307% -10,653 22,883,742 0.047%
Georgia 11,024,994 5.799% -3,197 11,021,797 0.029%
Hawaii 1,444,032 7.231% -522 1,443,509 0.036%
Idaho 1,868,854 2.153% -201 1,868,653 0.011%
Illinois 12,668,835 7.540% -4,777 12,664,058 0.038%
Indiana 6,790,915 3.828% -1,300 6,789,616 0.019%
lowa 3,213,489 2.967% 477 3,213,013 0.015%
Kansas 2,935,846 3.633% -533 2,935,312 0.018%
Kentucky 4,527,870 2.381% -§39 4,527,331 0.012%
Louisiana 4,744,012 2.478% -588 4,743,425 0.012%
Maine 1,347,642 1.161% 78 1,347,564 0.006%
Maryland 6,190,604 7.079% -2,191 6,188,413 0.035%
Massachusetts 7,032,203 9.155% -3,219 7,028,984 0.046%
Michigan 10,042,086 4.091% -2,054 10,040,032 0.020%
Minnesota 5,787,898 3.989% -1,155 5,786,743 0.020%
Mississippi 2,976,648 0.954% -142 2,976,506 0.005%
Missouri 6,206,910 2.305% 715 6,206,195 0.012%
Montana 1,102,956 1.159% -64 1,102,892 0.006%
Nebraska 1,986,695 5.539% -550 1,986,144 0.028%
Nevada 3,291,500 9.747% -1,604 3,289,896 0.049%
New Hampshire 1,366,563 3.614% -247 1,366,316 0.018%
New Jersey 9,110,765 10.688% -4,869 9,105,896 0.053%
New Mexico 2,096,194 3.791% -397 2,095,797 0.019%
New York 19,976,249 9.477% -9,467 19,966,782 0.047%
North Carolina 10,845,692 4.831% -2,619 10,843,073 0.024%
North Dakota 783,917 2.713% -106 783,810 0.014%
Ohio 11,767,327 2.252% -1,325 11,766,002 0.011%
Oklahoma 4,025,299 3.529% 710 4,024,589 0.018%
Oregon 4,460,235 4.608% -1,027 4,459,208 0.023%
Pennsylvania 12,830,894 3.610% -2,316 12,828,578 0.018%
Rhode Island 1,067,771 5.479% -293 1,067,479 0.027%
South Carolina 5,370,818 2.524% -678 5,370,140 0.013%
South Dakota 904,152 3.284% -148 904,004 0.016%
Tennessee 7,017,171 3.070% -1,077 7,016,094 0.015%
Texas 30,667,580 10.543% -16,166 30,651,414 0.053%
Utah 3,388,868 5.467% -926 3,387,942 0.027%
Vermont 620,321 3.271% -101 620,220 0.016%
Virginia 8,729,915 5.423% -2,367 8,727,548 0.027%
Washington 8,034,213 8.109% -3,257 8,030,956 0.041%
Washington DC 752,040 10.032% -377 751,662 0.050%
West Virginia 1,763,822 0.757% -67 1,763,756 0.004%
Wisconsin 5,869,734 2.677% -785 5,868,949 0.013%
Wyoming 572,663 1.711% -49 572,614 0.009%
United States 338,012,104 6.787% -114,706 337,897,398 0.034%

 

 

 

Note:

Projections of population levels are based on trends in population levels in the ACS 1-year summary files, from

2014 to 2017

Projections of population ratios (e.g. "Percent Hispanic") are based on trends in those ratios in the ACS 1-year
PUMS files, from 2014 to 2017.
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Table 5 (Corrected): Select Urbanized Areas Po

pulation Projections for April 2020 With Undercount Rates Due to Citizenship Question

 

 

 

 

 

 

 

 

 

 

 

 

 

: Projected Percent marceck = Census Projected Connie
Urbanized Area x 2 r Non-Hispanic, Undercount
Population Hispanic as Undercount Census Count
Non-Citizen Percentage

Atlanta, GA Urbanized Area 5,290,847 11.97% 5.23% 18,202 5,272,645 0.34%
Houston, TX Urbanized Area 5,924,517 40.54% 4.31% 53,152 5,871,365 0.90%
Laredo, TX Urbanized Area 268,594 95.47% 0.24% 5,141 263,453 1.91%
Las Vegas—Henderson, NV Urbanized Area 2,241,788 32.76% 3.80% 16,395 2,225,392 0.73%
Los Angeles—Long Beach—Anaheim, CA Urbanized Area 12,765,635 47.08% 5.59% 134,474 12,631,161 1.05%
McAllen, TX Urbanized Area $35,516 92.91% 0.36% 15,586 819,930 1.87%
Miami, FL Urbanized Area 6,291,588 47.31% 5.19% 66,062 6,225,526 1.05%
Phoenix—Mesa, AZ Urbanized Area 4,237,700 30.61% 3.04% 28,523 4,209,177 0.67%
Texas portion of El Paso, TX-NM Urbanized Area 785,913 83.23% 0.81% 13,209 772,704 1.68%
New Jersey portion of New York—Newark, NY-NJ-CT
Urbanized Area 6,348,055 23.33% 6.35% 37,679 6,310,377 0.59%
Maryland portion of Washington, DC-VA-MD Urbanized
Area 1,875,855 19.05% 6.69% 9,659 1,866,196 0.51%

 

 

 

 

 

 

 

 
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Revised Gurrea Table 6
2020 Projected Undercounts Due to Citizenship Question by Jurisdiction, Before Imputation
Correcting Application of "Mathiowetz 2% Undercount"' Calculation

Jurisdiction Undercount Percentage

 

Brace 2% Scenario with

 

 

Jurisdiction Brace 2% Scenario Historical NRFU
Urbanized Area
Adanta, GA 0.344% 0.105%
Houston, TX 0.897% 0.208%
Laredo, TX 1.914% 0.321%
Las Vegas—Henderson, NV 0.731% 0.162%
Los Angeles-Long Beach—Anaheim, CA 1.053% 0.219%
McAllen, TX 1.865% 0.298%
Miami, FL 1.050% 0.242%
Phoenix—Mesa, AZ 0.673% 0.124%
Texas portion of El Paso, TX-NM 1.681% 0.251%
New Jersey portion of New York—-Newark, NY—NJ—CT 0.594% 0.153%
Maryland portion of Washington, DC-VA-MD 0.515% 0.168%
State
Arizona 0.691% 0.113%
California 0.893% 0.180%
Florida 0.615% 0.132%
Georgia 0.262% 0.073%
Maryland 0.284% 0.089%
Nevada 0.659% 0.137%
New Jersey 0.517% 0.127%
Texas 0.864% 0.161%
Sources:

1, Brace Report.
2. NRFU Success Rate.docx.

Notes:

1, Baseline population, percent Hispanic and percent non-Hispanic/ non-citizen are rounded.

2. If the 2 percent undercount assumption is interpreted as decline in self-response rates before NRFU, and if the
Historical NRFU rate is applied, undercounts are smaller than in the two scenarios reported.

REVISION NOTE: This table was modified by using the percent of non-citizens rather than the percent of non-Hispanic non-
citizens when calculating the "Mathiowetz 2% Undercount with Historical NRFU"
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Table 5.1: Select Urbanized Areas' Population Projections for April 2020 with Undercount Rates Due to Citizenship
Version 1: 0.08% Undercount for all Non-Citizens and Households that Include Non-Citizens

 

Percent Non-

 

Biotected Cheer oe ben Projected Census
Urbanized Area p ase Liv - a U te te t Census Undercount
oOpulation ening ere naercoun Count Percentage
Non-Citizen
Atlanta, GA Urbanized Area 5,290,.847| 16.584% "723. 5,290,125. 0.014%
Houston, TX Urbanized Area 5,924,517| 30.312% 1,479 5,923,038 0.025%
Laredo, TX Urbanized Area 268,594| 59.907% 133 268,462 + 0.049%
Las Vegas--Henderson, NV Urbanized Area 2,241,788} 25.238% 466 2,241,322 0.021%
Lie Aly Rise CADE eae nna, GA 12,765,635| 33.180% 3,489 12,762,146 0.027%
Urbanized Area
McAllen, TX Urbanized Area 835,516| 42.617% 293 835,222 (0.035%
Miami, FL Urbanized Area 6,291,588] 32.852% 1,702 6,289,886 0.027%
Phoenix-Mesa, AZ Urbanized Area 4,237,700] 19.498% 681 4,237,019 0.016%
Texas portion of El Paso, TX Urbanized Area 785,913| 26.601% 172. - 785,741 0.022%
Big TAPS POTION Been Tite pear. Nd 6,348,055| 23.725% 1,240 6,346,815 0.020%
Urbanized Area
Maryl ttion Washington, MD
afyiand ponion Washington, MD Umanized: aa. gen! sa @RG% -386 1,875,469 0.021%

Area

 

 

 

Note:

Projections of population levels are based on trends in population levels in the ACS 1-year summary files, from 2014

to 2017

Projections of population ratios (e.g. "Percent Hispanic") are based on trends in those ratios in the ACS 1-year PUMS

files, from 2014 to 2017.

ACS micro-data is available at the PUMA level, which are converted to Urbanized Areas by applying “allocation
factors" from a PUMA-to-Urbanized Area crosswalk derived from the MABLE geographic database
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Table 6.1: Select State Population Projections for April 2020 with Undercount Rates Due to Citizenship Question
Version 1: 0.08% Undercount for all Non-Citizens and Households that Include Non-Citizens

 

 

 

 

 

S Projected Fement Non- Census Projected Census Genet:
tate Population Citizen or Living Undercourt Count Undercount
with Non-Citizen Percentage
Arizona 7,288,368 15.914% -955 7,287,413 0.013%
California 40,222,359 27.043% -8,959 40,213,400 0.022%
Florida 22,039,435 17.469% -3,171 22,036,264 0.014%
Georgia 10,743,754 11.280% -998 10,742,756 0.009%
Maryland 6,096,795 13.947% -700 6,096,095 0.011%
Nevada 3,151,890 20.468% -531 3,151,359 0.017%
New Jersey 8,992,841 20.133% -1,491 8,991,350 0.017%
Texas 29,601,688 21.970% -5,356 29,596,332 0.018%
Note:

Population Projections are as in Expert Report of Kimball Brace.
Projections of population ratios (e.g. "Percent Hispanic") are based on trends in those ratios in the ACS 1-year
PUMS files, from 2014 to 2017.
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Table 5.2: Select Urbanized Areas’ Population Projections for April 2020 with Undercount Rates Due to Citizenship Question

Version 2: 0.5% Undercount for all Non-Citizens

 

 

; . Census
Urbanized Area ee ee oo ig i C hie ae nit Undercount
opulato 2 ercou ensus Cou Percentage
Atlanta, GA Urbanized Area 5,290,847| 8.672% 2,294 5,288,553 0.043%
Houston, TX Urbanized Area 5,924,517| 14.810% 4,387 5,920,130 0.074%
Laredo, TX Urbanized Area 268,594|  21.651% 291 268,303 0.108%
Las Vegas~Henderson, NV Urbanized Area 2,241,788|  12.273% -1,376 2,240,412 0.061%
Los Angeles—torig Beart-anahein, CA 12,765,635]  15.026% 9,591 12,756,044 0.075%
Urbanized Area
McAllen, TX Urbanized Area 835,516] 16.705% 698 834,818 0.084%
Miami, FL Urbanized Area 6,291,588| 17.534% 5,516 6,286,073 0.088%
Phoenix-Mesa, AZ Urbanized Area 4,237,700] 8.524% -1,806 4,235,894 0.043%
Texas portion of El Paso, TX Urbanized Area 785,913 11.003% 432 785,481 0.055%
RSW RRS PeOttiaT NeW CONE MWK, Bad 6,348,055]  12.344% 3,918 6,344,138 0.062%
Urbanized Area
Marland portion Washington, MB: Urbanizad 1,875,855|  12.712% 4,192 1,874,663 0.064%

Area

 

 

 

Note:

Projections of population levels are based on trends in population levels in the ACS 1-year summary files, from 2014 to 2017
Projections of population ratios (e.g. "Percent Hispanic") are based on trends in those ratios in the ACS 1-year PUMS files, from 2014 to 2017.

ACS micro-data is available at the PUMA level, which are converted to Urbanized Areas by applying “allocation factors" from a PUMA-to-
Urbanized Area crosswalk derived fram the MABLE geographic database
Table 6.2: Select State Population Projections for April 2020 with Undercount Rates Due to Citizenship Question

Version 2: 0.5% Undercount for all Non-Citizens

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S Projected Percent Non- Census Projected Census Ceneds
tate é ae Undercount
Population Citizen Undercount Count p

ercentage
Arizona 7,288,368 7.012% -2,555 7,285,813 0.035%
California 40,222,359 12.254% -24,643 40,197,716 0.061%
Florida 22,039,435 9.301% -10,249 22,029,186 0.047%
Georgia 10,743,754 5.781% -3,106 10,740,648 0.029%
Maryland 6,096,795 7.200% -2,195 6,094,600 0.036%
Nevada 3,151,890 9.909% -1,562 3,150,329 0.050%
New Jersey 8,992,841 10.442% -4,695 8,988,146 0.052%
Texas 29,601,688 10.636% -15,742 29,585,946 0.053%
Note:

Population Projections are as in Expert Report of Kimball Brace.
Projections of population ratios (e.g. "Percent Hispanic") are based on trends in those ratios in the ACS 1-year
PUMS files, from 2014 to 2017.
